          Case 1:20-cv-07269-VEC-OTW Document 167 Filed 01/24/23 Page 1 of 147



1                              IN THE UNITED STATES DISTRICT COURT
2

3                         FOR THE SOUTHERN DISTRICT OF NEW YORK

4    THE NATIONAL ACADEMY OF                         Case No.: 20-cv-07269-VEC-OTW
5    TELEVISION ARTS AND SCIENCES, INC.
6    and ACADEMY OF TELEVISION ARTS &                NOTICE OF MOTION FOR RELIEF
                                                     FROM JUDGMENT
7    SCIENCES
8    Plaintiffs,
9    v.
10   MULTIMEDIA SYSTEM DESIGN, INC. d/b/a
11   “CROWDSOURCE THE TRUTH”,

12             Defendant
     JASON GOODMAN
13             Proposed
14             Defendant-Intervenor

15
             Please take notice that Proposed Defendant-Intervenor Jason Goodman, by and for
16

17   himself pro se, with the attached memorandum and exhibits respectfully moves the Court for

18   Relief from Judgment, to vacate the default and allow Goodman to intervene and to substitute
19
     Goodman as the proper defendant.
20

21
     Signed this 24th day of January 2023
22

23   Respectfully submitted,

24                                  ____________________________________________________
                                                             Jason Goodman, Plaintiff, Pro Se
25
                                                                       252 7th Avenue Apt 6s
26                                                                     New York, NY 10001
                                                                              (323) 744-7594
27                                                             truth@crowdsourcethetruth.org
28
     NOTICE OF MOTION FOR RELIEF FROM JUDGMENT - 1
          Case 1:20-cv-07269-VEC-OTW Document 167 Filed 01/24/23 Page 2 of 147



1                            IN THE UNITED STATES DISTRICT COURT
2

3                         FOR THE SOUTHERN DISTRICT OF NEW YORK

4    THE NATIONAL ACADEMY OF                          Case No.: 20-cv-07269-VEC-OTW
5    TELEVISION ARTS AND SCIENCES, INC.
6    and ACADEMY OF TELEVISION ARTS &                 MEMORANDUM IN SUPPORT OF
                                                      MOTION FOR RELIEF FROM
7    SCIENCES                                         JUDGMENT
8    Plaintiffs,
9    v.
10   MULTIMEDIA SYSTEM DESIGN, INC. d/b/a
11   “CROWDSOURCE THE TRUTH”,

12             Defendant
     JASON GOODMAN
13             Proposed
14             Defendant-Intervenor

15
             Proposed Defendant-Intervenor Jason Goodman, by and for himself pro se, respectfully
16

17   submits this memorandum in support of the Motion for Relief from Judgment, to vacate the

18   default and allow Goodman to intervene and to substitute Goodman as the proper Defendant.
19
                                     FACTUAL BACKGROUND
20
             On June 12, 2020, at his personal discretion and on his own accord, Goodman published
21
     a video entitled “The Crony Awards” on a YouTube channel bearing the name “Jason Goodman”
22

23   which was controlled solely by Goodman. Separately, Goodman owns a dormant New York

24   Corporation, Multimedia System Design, Inc., (“MSD”) that is unaffiliated with Goodman’s
25
     YouTube channel, internet posts and intellectual property including images and videos created
26
     and owned exclusively by Goodman. MSD has two assumed names granted by the New York
27
     Secretary of State, D.B.A. Multimedia Software Design granted in 1998, and 21st Century 3D
28
     MEMORANDUM IN SUPPORT OF MOTION FOR RELIEF FROM JUDGMENT - 1
         Case 1:20-cv-07269-VEC-OTW Document 167 Filed 01/24/23 Page 3 of 147



1    granted in 2002 (EXHIBIT A). Goodman is also the creator of the well-known news, media,
2
     and entertainment brand Crowdsource the Truth and its associated social media properties.
3
            During or prior to 2020, vexatious non-party David George Sweigert (“Sweigert”)
4
     invented a fictional non-existent corporate entity he named Multimedia System Design, INC.,
5

6    D/B/A/ Crowdsource the Truth, (“MSDI”). Sweigert did this concurrent with his efforts to extort

7    money from Goodman via ceaseless, ongoing, vexatious litigation. Goodman alleges Sweigert
8
     concocted the false corporate entity MSDI in an effort to tie Goodman’s unrelated activity to the
9
     fictional corporation so Goodman could be sued but denied the ability to defend the suit pro se.
10
     This was intended to force Goodman to endure the expense of hiring counsel, who Sweigert
11

12   harassed in violation of 18 U.S. Code § 1503, forcing the withdrawal of counsel and ultimately

13   the default. Sweigert did this in furtherance of a scheme together with Plaintiffs to extort money
14
     from Goodman and with the specific intent of denying Goodman the right to a fair trial.
15
            Goodman further alleges Sweigert shared the false corporate name MSDI as well as other
16
     information with Plaintiffs either directly or indirectly and conspired with them via deceptive,
17

18   clandestine means in furtherance of a common goal to disable Goodman’s ability to broadcast on

19   YouTube and to financially destroy Goodman by suing the false corporation MSDI.
20
            Newly discovered evidence of fraud, misrepresentation and misconduct presented herein,
21
     is likely to prove Plaintiffs conspired with Sweigert and were allowed to do so with the full
22
     knowledge of Judge Valerie Caproni. Overwhelming evidence already presented has been
23

24   ignored or proactively denied by Judge Caproni either due to incompetence, pure malice toward

25   Goodman, or deliberate complicity with Sweigert and Plaintiffs. Newly discovered evidence that
26
     is likely to prove a prior relationship between the judge and Plaintiff’s CEO Adam Sharp
27
     (“Sharp”) gives rise to this motion for relief from judgment pursuant to FRCP Rule 60(b)(3).
28
     MEMORANDUM IN SUPPORT OF MOTION FOR RELIEF FROM JUDGMENT - 2
         Case 1:20-cv-07269-VEC-OTW Document 167 Filed 01/24/23 Page 4 of 147



1           New realizations derived from evidence in Plaintiffs’ original complaint are likely to
2
     prove premeditated coordination between Sweigert and Plaintiffs calculated to abuse regularly
3
     issued process with the intent to harm Goodman by coercing him into discontinuing broadcasts,
4
     financially crippling him and removing his access to social media upon which his business relies.
5

6                                         LEGAL STANDARD

7           Rule 60(b)(3) of the Federal Rules of Civil Procedure allows relief from final judgment
8
     for fraud, misrepresentation, or misconduct by an opposing party. On timely motion and upon a
9
     showing of exceptional circumstances the judgment is void and is released or discharged. The
10
     purpose of Rule 60(b) is to strike a balance "between serving the ends of justice and preserving
11

12   the finality of judgments." Harris v. City of New York, 2012 WL 5464576, at *4 (S.D.N.Y. Nov.

13   9, 2012) (quoting Nemaizer v. Baker, 793 F.2d 58, 61 (2d Cir. 1986)). Rule 60(b), however, is
14
     available only upon a showing of exceptional circumstances because it allows "extraordinary
15
     judicial relief." Nemaizer, 793 F.2d at 61. A party must make a Rule 60(b) motion within a
16
     reasonable time. Fed. R. Civ. P. 60(c)(1). If a party moves under Rule 60(b) subsections 1, 2, or
17

18   3, then it must move no more than one year after the entry of judgment. Id.

19          The party seeking to vacate, “bear[s] the burden of demonstrating that their default was
20
     not willful, that they have meritorious defenses, and that no prejudice would result from
21
     reopening the judgment.” State Street Bank and Trust Co. v. Inversiones Errazuriz, Limitada,
22
     230 F. Supp. 2d 313, 316 (S.D.N.Y. 2002) (citing Sony Corp. v. Elm State Electronics, Inc., 800
23

24   F.2d 317, 320 (2d Cir. 1986)). “This burden is not trivial: if the moving party fails to make even

25   one of the three aforementioned showings, vacatur should be denied.” Id. (citation omitted).
26

27

28
     MEMORANDUM IN SUPPORT OF MOTION FOR RELIEF FROM JUDGMENT - 3
         Case 1:20-cv-07269-VEC-OTW Document 167 Filed 01/24/23 Page 5 of 147



1       I.      EXTRAORDINARY CIRCUMSTANCES
2
        It is difficult to imagine a clearer example of extraordinary circumstances than those existent
3
     in this case. From the outset, even before the complaint was filed, Goodman warned Plaintiffs
4
     that it was extremely likely that non-party Sweigert was deliberately attempting to draw them
5

6    into this litigation. Even if the Plaintiffs had no prior contact with Sweigert, and even if they did

7    not believe Goodman initially, they have subsequently received communications from Sweigert
8
     and utilized the information provided by him in their litigation against Goodman. On or about
9
     May 12, 2021, Sweigert sent an email message to Goodman and included counsel for Plaintiffs.
10
     Sweigert referred to the attorneys as his “team” and informed them of his plans to communicate
11

12   with Judge Caproni about his false allegations concerning his belief that Goodman deliberately

13   deactivated his most valuable asset, the Jason Goodman YouTube channel. (EXHIBIT B)
14
        Even if there was no preconceived plan, shortly after the receipt of this email, Plaintiffs in the
15
     course of discovery, sought emails they alleged Goodman sent or received using the email
16
     address CSTT72@gmail.com (“CSTT72”). However, this is not an email address owned or
17

18   controlled by Goodman. This email address is believed to belong to another Sweigert associate,

19   a British citizen James Bembridge (“Bembridge”). Bembridge has participated in Sweigert’s
20
     cyberstalking campaign for years and has harassed Goodman persistently with messages sent
21
     from CSTT72 and other email addresses. Sweigert inadvertently revealed his association with
22
     Bembridge when he included CSTT72 as a recipient on an email message sent to Goodman
23

24   (EXHIBIT C).

25      Just as Plaintiffs will fail to demonstrate how they even knew Goodman owned the
26
     corporation they intended to sue, they will also fail to demonstrate that they learned of CSTT72
27
     from anyone other than Sweigert. Plaintiffs should be compelled to provide specific evidence
28
     MEMORANDUM IN SUPPORT OF MOTION FOR RELIEF FROM JUDGMENT - 4
         Case 1:20-cv-07269-VEC-OTW Document 167 Filed 01/24/23 Page 6 of 147



1    describing how they came to learn of the nonexistent false corporate entity MSDI and the email
2
     address CSTT72. Goodman alleges these details could only be learned from direct or indirect
3
     communication with Sweigert similar to the “anonymous” email that was the genesis of this
4
     action. The simple fact is, Multimedia System Design, Inc., DBA Crowdsource the Truth, is a
5

6    fallacy invented by Sweigert and capitalized upon by Plaintiffs. The likelihood that Plaintiffs

7    could guess and come up with the same fictional business entity imaged by Sweigert is zero.
8
     The probability of this being random coincidence is zero.
9
        Plaintiffs have cooperated with Sweigert for the wrongful purpose of deceiving the Court
10
     into allowing them to sue a false corporate entity in order to compel Goodman to forego pro se
11

12   defense and forcing him to hire outside counsel. Goodman told MSD’s former counsel that

13   Plaintiffs had sued a non-entity and that Goodman wanted to address this with the Court, but
14
     Goodman was repeatedly told that important detail “didn’t matter”.
15
        Email evidence that judge Caproni proactively and wrongfully blocked is likely to prove
16
     Plaintiffs were in communication with Sweigert ab initio and continued throughout these
17

18   proceedings for the improper purpose of gaining an unfair advantage. Plaintiffs and Sweigert

19   have been named as defendants in a separate civil RICO case pending before the Honorable
20
     Analisa Torres. (EXHIBIT D)
21
        II.     COERCED DEFAULT
22
        Default in this case was not willful. Default in this case was forced through extortion in
23

24   violation of 18 U.S. Code § 1503 when Sweigert posted threats on his website and elsewhere that

25   were the proximate cause of attorney Snyder’s withdrawal. After which, Goodman contacted
26
     many attorneys who refused to take the case. Goodman had additionally been so financially
27
     damaged he could not afford to pay the retainer demanded even if an attorney would have agreed
28
     MEMORANDUM IN SUPPORT OF MOTION FOR RELIEF FROM JUDGMENT - 5
         Case 1:20-cv-07269-VEC-OTW Document 167 Filed 01/24/23 Page 7 of 147



1    to take the case. Goodman attempted to intervene pro se as a last resort so he might defend the
2
     case on the merits and was refused by right or permission to do so. Goodman is prepared to
3
     enter this case as the proper defendant and mount a pro se defense against the claims asserted.
4
     This case should resume and be adjudicated on the merits once the default is set aside.
5

6       Since filing his application to intervene, Goodman has learned that ending cases in default is

7    so disfavored, judges frequently make decisions at their own discretion to avoid defaults even in
8
     extreme cases. Default is an extreme and disfavored sanction. Enron Oil Corp. v. Diakuhara, 10
9
     F.3d 90, 96 (2d Cir. 1993); Meehan v. Snow, 652 F.2d 274, 275, 277 (2d Cir. 1981). Where
10
     default has already been entered, the Court may set aside entry of default for good cause.
11

12   Fed.R.Civ.P. 55(c). “Good cause” should be construed generously. Enron Oil Corp., 10 F.3d at

13   96. See Goodman v. Bouzy, 21 Civ. 10878 (AT), (S.D.N.Y. Dec. 20, 2022). Given the totality
14
     of circumstances Goodman should have been permitted to intervene.
15
        III.      MERITORIOUS DEFENSES
16
                  a. Fair Use Exception
17

18             The primary defense is the limitation on exclusive rights afforded by the fair use doctrine

19   pursuant to 17 U.S. Code § 107. The image in question was inarguably a parody and should be
20
     protected. The entire broadcast was a parody, and any reasonable observer would be likely to
21
     arrive at that conclusion upon first glance. No legitimate broadcast from any real organization
22
     would impugn itself by openly admitting it was awarding cronies. It is also obviously a parody
23

24   award show because no nominees were invited, no voting for winners took place, no actual

25   awards were given, and Goodman and his Crowdsource the Truth brand are not engaged in the
26
     business of creating or granting awards, and do not aspire to do so. Further, Goodman
27
     substituted a medical illustration of a SARS CoV-2 molecule for the sphere representing
28
     MEMORANDUM IN SUPPORT OF MOTION FOR RELIEF FROM JUDGMENT - 6
         Case 1:20-cv-07269-VEC-OTW Document 167 Filed 01/24/23 Page 8 of 147



1    electrons orbiting the nucleus of an atom in the statue’s hands. This medical illustration had
2
     become so universally recognizable by June 2020, it would be plainly obvious to any reasonable
3
     observer that this was a parody, and not the original statue.
4
                 b. Abuse of Process
5

6             Defendant also alleges this action was an abuse of regularly issued process, intended to

7    do harm without legitimate justification, and a perverted use of the process to achieve the
8
     collateral objective of terminating Goodman’s broadcasts. No other description of Plaintiffs’
9
     actions can explain the long delay in filing the initial YouTube complaint, followed by the rush
10
     to sue once Goodman initiated the process of restoring his ability to broadcast by appealing the
11

12   YouTube complaint.

13               c. 47 U.S. Code § 230 Indemnifies Any Corporation for Goodman’s Posts
14
        47 U.S. Code § 230 precludes a suit against MSDI, MSD or any corporate entity for internet
15
     postings made by Goodman. The statute does not specify immunity for social media providers
16
     exclusively, or carve out posts made by corporate executives, but clearly states that one provider
17

18   or user of an interactive computer service shall not be treated as the publisher or speaker of any

19   information provided by another information content provider. By the letter of the statute,
20
     because the natural person Goodman is one legal entity, and the corporation MSD another, even
21
     if the Court determines that Goodman acted in his capacity as CEO in making the posts at
22
     controversy in this action, which he did not, the corporation would still be indemnified.
23

24      IV.      VACATING THE DEFAULT WILL NOT PREJUDICE PLAINTIFFS

25            Vacating the default judgment and substituting Goodman as the proper defendant would
26
     not prejudice Plaintiffs. Plaintiffs are represented by a sophisticated law firm and several bar
27
     members with decades of litigation experience between them. They would be at no disadvantage
28
     MEMORANDUM IN SUPPORT OF MOTION FOR RELIEF FROM JUDGMENT - 7
         Case 1:20-cv-07269-VEC-OTW Document 167 Filed 01/24/23 Page 9 of 147



1    to carry on the case against Goodman and allow it to be decided on its merits. Goodman should
2
     have been the defendant from the outset and therefore setting aside the default and resuming the
3
     case is the only outcome that would properly serve justice in this matter.
4
        V.      HIDDEN RELATIONSHIP BETWEEN PLAINTIFFS AND THE JUDGE
5

6       Shortly after being appointed FBI General Counsel in 2003, Judge Caproni began speaking

7    publicly about the FBI’s desire to penetrate and monitor all digital communications. She coined
8
     the phrase “Going Dark” and made numerous public appearances and statements about the issue.
9
     One such appearance was on C-SPAN3 in June of 2009. This was coincidentally during the time
10
     that Sharp was the Executive Producer and Primetime Programming Manager for C-SPAN 3.
11

12      C-SPAN is a non-profit public service television network that broadcasts proceedings of the

13   United States federal government that launched in 1979 and televises proceedings in the House
14
     of Representatives. C-SPAN2 launched in 1986 with coverage of Senate proceedings. The
15
     much smaller C-SPAN3 arrived in 2001 and focuses on public policy and government-related
16
     events. It is difficult to imagine the executive producer of such a specialized and relatively small
17

18   organization would not have met and coordinated with such an important guest as the FBI

19   General Counsel.
20
        Even if Sharp and Caproni had no meeting or interaction whatsoever, Sharp would certainly
21
     be familiar with the content of Judge Caproni’s presentation and the FBI’s desire to penetrate
22
     U.S. citizens personal electronic communications. In 2010 Sharp would become Twitter’s first
23

24   Government Liaison. Recent revelations from Twitter’s new management allege inappropriate

25   first and fourth amendment violations and provide supportive evidence in the form of email
26
     communications between several FBI employees and executives at Twitter. Failure to reveal this
27
     information during these proceedings gives rise to suspicion and warrants further investigation.
28
     MEMORANDUM IN SUPPORT OF MOTION FOR RELIEF FROM JUDGMENT - 8
        Case 1:20-cv-07269-VEC-OTW Document 167 Filed 01/24/23 Page 10 of 147



1       VI.      WRONGFUL PUROPOSE FOR FRAUDULENT COPYRIGHT CLAIM
2
        Even if the Court determines that Goodman has failed to provide a sufficient argument for
3
     relief pursuant to Rule 60(b)(3), FRCP Rule 60(b)(6) allows for relief to be granted for any other
4
     reason that justifies it. Upon further consideration of facts already on the record and cited in the
5

6    original complaint, evidence is likely to prove Plaintiffs calculated and delayed their YouTube

7    copyright complaint with the specific intent and for the wrongful purpose of disabling broadcasts
8
     on the Jason Goodman YouTube channel during the 2020 Presidential election.
9
              a. On June 12, 2020, Goodman published the Crony Awards video.
10
              b. According to Plaintiffs’ complaint, on July 28, 2020, they were alerted by an
11

12               “anonymous” email that Goodman alleges was sent by Sweigert or else on his behalf.

13            c. More than three weeks later on August 28, 2020, Plaintiffs filed a copyright
14
                 complaint with YouTube resulting in a ninety-day penalty blocking Goodman from
15
                 broadcasting during the 2020 Presidential election on November 3, 2020.
16
              d. Had the YouTube complaint been filed before August 3, 2020, the broadcasting
17

18               penalty would have expired prior to the November 3, 2020, Presidential election.

19            e. On or around August 22, 2020, Goodman filed an appeal with YouTube citing the fair
20
                 use exemption under the U.S. Copyright Act and initiating a process that would
21
                 eliminate the penalty and restore the ability to broadcast, absent legal action.
22
              f. On or around August 24, 2022, Goodman and counsel for Plaintiffs had a phone call
23

24               during which Goodman offered to permanently remove the parody image at no cost.

25            g. Less than two weeks later, without entertaining Goodman’s offer, Plaintiffs initiated
26
                 this instant action, ensuring the ninety-day penalty and preventing future broadcasts.
27

28
     MEMORANDUM IN SUPPORT OF MOTION FOR RELIEF FROM JUDGMENT - 9
        Case 1:20-cv-07269-VEC-OTW Document 167 Filed 01/24/23 Page 11 of 147



1                                              CONCLUSION
2
            Plaintiffs will fail to show good cause for their three-week delay in filing the initial
3
     YouTube complaint and the contrasting urgency in bringing this instant action once Goodman
4
     initiated an appeal with YouTube. The totality of evidence indicates that there was an ulterior
5

6    purpose, and their motivation was to prevent Goodman from broadcasting, rather than removing

7    the allegedly infringing image. Plaintiffs will also fail to show that they did not learn of the false
8
     corporation MSDI from Sweigert. Plaintiffs conspired with Sweigert to abuse regularly issued
9
     process, with the malicious intent to harm Goodman and without a legitimate excuse or propre
10
     justification. Plaintiffs perverted the use of process to achieve the collateral objective of
11

12   forcibly terminating Goodman’s first amendment protected broadcasts. Proposed Intervenor-

13   Defendant Goodman respectfully requests the Court vacate the default judgement and substitute
14
     Goodman as the proper defendant pursuant to FRCP Rule 60(b)(3) or 60(b)(6) for the reasons
15
     stated herein and any other reasons the Court may find.
16

17

18   Signed this 24th day of January 2023

19   Respectfully submitted,
20
                                       ____________________________________________________
21                                                              Jason Goodman, Plaintiff, Pro Se
                                                                          252 7th Avenue Apt 6s
22                                                                        New York, NY 10001
                                                                                 (323) 744-7594
23
                                                                  truth@crowdsourcethetruth.org
24

25

26

27

28
     MEMORANDUM IN SUPPORT OF MOTION FOR RELIEF FROM JUDGMENT - 10
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                            (EXHIBIT A)
                 Case 1:20-cv-07269-VEC-OTW Document 167 Filed 01/24/23 Page 13 of 147


                                                               Department of State
                                                                 Division of Corporations

                                                              Entity Assumed Name History

                                                                    Return to Results       Return to Search

                                                                                                                                                                                 󰅀
 Entity Details


ENTITY NAME: MULTIMEDIA SYSTEM DESIGN, INC.                                               DOS ID: 1830828
FOREIGN LEGAL NAME:                                                                       FICTITIOUS NAME:
ENTITY TYPE: DOMESTIC BUSINESS CORPORATION                                                DURATION DATE/LATEST DATE OF DISSOLUTION:
SECTIONOF LAW: 402 BCL - BUSINESS CORPORATION LAW                                         ENTITY STATUS: ACTIVE
DATE OF INITIAL DOS FILING: 06/21/1994                                                    REASON FOR STATUS:
EFFECTIVE DATE INITIAL FILING: 06/21/1994                                                 INACTIVE DATE:
FOREIGN FORMATION DATE:                                                                   STATEMENT STATUS: PAST DUE DATE
COUNTY: NEW YORK                                                                          NEXT STATEMENT DUE DATE: 06/30/1996
JURISDICTION: NEW YORK, UNITED STATES                                                     NFP CATEGORY:



                                      ENTITY DISPLAY     NAME HISTORY    FILING HISTORY          MERGER HISTORY   ASSUMED NAME HISTORY




 Search




     File Date              Assumed Name                                                Assumed Name ID                 Status                    Principal Location

     10/10/2002             21ST CENTURY 3D                                             206900                          Active
     05/15/1998             MULTIMEDIA SOFTWARE DESIGN                                  206899                          Active

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                            (EXHIBIT B)
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  From:    Jason Goodman truth@crowdsourcethetruth.org
Subject:   Re: NATAS vs. MSDI
   Date:   May 12, 2021 at 11:30 AM
     To:   Spoliation Notice spoliation-notice@mailbox.org
    Cc:    ad1-agc@nycourts.gov, john@jhsnyderlaw.com, heavnerb@finnegan.com, samuel.eichner@finnegan.com,
           Letitia.james@ag.ny.gov


       What “team” are you referring to? My attorney and I are not on the team with you & your friends at Finnegan

           On May 12, 2021, at 11:23 AM, Spoliation Notice <spoliation-notice@mailbox.org> wrote:

           Team,

           If there are no objections, I will forward an e-mail message to federal Judge Valerie E. Caproni, NATAS vs. MSDI, based on the
           defendant's urging (see below).

           Best,


             On 05/12/2021 5:08 PM Jason Goodman <truth@crowdsourcethetruth.org> wrote:


             I think that would be an excellent idea

                   On May 12, 2021, at 11:06 AM, Spoliation Notice <spoliation-notice@mailbox.org> wrote:

               Sir,

               Would you like me to send a e-mail message to Judge Caproni about the so-called lack of availability of the JASON
               GOODMAN YouTube channel, which you blamed on the undersigned.

               Is this the point of your e-mail?

               Best,
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                            (EXHIBIT C)
           Case 1:20-cv-07269-VEC-OTW Document 167 Filed 01/24/23 Page 17 of 147


  From:    Spoliation Notice spoliation-notice@mailbox.org
Subject:   Re: Amended ANSWER
   Date:   May 12, 2021 at 11:06 AM
     To:   Jason Goodman truth@crowdsourcethetruth.org, Spoliation Notice spoliation-notice@mailbox.org, cstt72@protonmail.com

       Sir,

       Would you like me to send a e-mail message to Judge Caproni about the so-called lack of availability of the JASON GOODMAN
       YouTube channel, which you blamed on the undersigned.

       Is this the point of your e-mail?

       Best,


           On 05/11/2021 11:16 PM Jason Goodman <truth@crowdsourcethetruth.org> wrote:


           I made no representation that I would be emailing you anything. That presumption is a manifestation of your own misguided
           thinking. You made up a ridiculous lie accusing me of embedding malicious software in a PDF document and strongly stating that
           you didn’t want documents emailed from me. I think now would be a good time to write a letter to the judge admitting you
           deliberately fabricated that for no purpose other than to increase the proceedings and burden me with print and mailing expenses.

              On May 11, 2021, at 2:30 PM, Spoliation Notice <spoliation-notice@mailbox.org> wrote:

              Sir,

              It was a surprise you did not e-mail the Amended ANSWER?

              Everything OK?

              Best,
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                            (EXHIBIT D)
           Case
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                                                                               127147



1                                 IN THE UNITED STATES DISTRICT COURT
2

3                           FOR THE SOUTHERN DISTRICT OF NEW YORK

4    JASON GOODMAN                                      Case No.: 1:21-cv-10878-AT-JLC
5                    Plaintiff,
6
     vs.                                                AMENDED COMPLAINT FOR FRAUD,
                                                        DEFAMATION, ABUSE OF PROCESS,
7                                                       CIVIL CONSPIRACY, AND
     CHRISTOPHER ELLIS BOUZY, BOT
8    SENTINEL, INC, GEORGE WEBB                         RACKETEERING
     SWEIGERT, DAVID GEORGE SWEIGERT,
9
     BENJAMIN WITTES, NINA JANKOWICZ,                   JURY TRIAL DEMANDED
10   ADAM SHARP, MARGARET ESQUENET,
     THE ACADEMY OF TELEVISION ARTS
11   AND SCIENCES, SETH BERLIN,
     MAXWELL MISHKIN
12
                     Defendants
13

14
              Pro Se plaintiff Jason Goodman (“Goodman”) alleges as follows, upon actual knowledge
15

16
     with respect to himself and his own acts, and upon information and belief as to all other matters.

17                                      NATURE OF THE ACTION
18            1. This is an action alleging fraud, defamation, conspiracy to commit fraud, conspiracy
19
                 to defame, abuse of process, and racketeering, all arising from a scheme between
20
                 Defendants that was calculated and implemented to financially damage Plaintiff,
21

22
                 destroy his news broadcasting business, destroy his valuable branded social media

23               accounts, deprive him of income and prevent him from reporting well founded claims
24               that allege criminal activity on the part of the Defendants and others.
25
              2. Defendants worked together toward a common purpose by filing mass complaints
26
                 with social media providers using inauthentic accounts, making false claims, and
27
     AMENDED COMPLAINT FOR FRAUD, DEFAMATION, ABUSE OF PROCESS, CIVIL
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1               fraudulent misrepresentations intended to forcibly terminate Goodman's video
2
                broadcasting business, and to extort money from him through vexatious litigation
3
                including multiple simultaneous lawsuits based on frivolous and fraudulent claims.
4
             3. Defendants engaged in a pattern of racketeering activity including the formation of an
5

6               association-in-fact enterprise (the “Enterprise”) for the purpose of harassing Plaintiff,

7               destroying his business and public reputation, and preventing him from broadcasting
8
                findings of his investigations by wrongfully terminating his access to social media.
9
             4. Defendants worked toward a common purpose, with a common goal and continuity
10
                for more than five years, up to today, violating 18 U.S. Code § 1962(a)(b)(c) and (d).
11

12           5. Defendants’ pattern of related racketeering activities caused proximate financial

13              damage to Goodman beginning in 2020, continuously up to and including today.
14
             6. Defendants abused regularly issued civil process with the intent to harm Goodman
15
                without excuse or justification and used regularly issued civil process in a perverted
16
                manner to achieve the collateral objective of financially destroying Goodman.
17

18           7. Defendants repeatedly published known false statements to third parties without

19              privilege or authorization and with the sole intent of defaming and harming Plaintiff.
20
             8. Defendants worked together, sharing information between one another and additional
21
                non-parties over the internet, telephones and by other means, amplifying each other’s
22
                messages on social media, and inappropriately assisting one another across a range of
23

24              vexatious legal actions filed in numerous divisions of multiple U.S. District Courts.

25

26

27
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1            9. Defendants conspired to damage Goodman’s business and reputation by exposing
2
                him to public hatred, contempt, and aversion, and by inducing an unsavory opinion in
3
                the minds of social media users and the general public with known false statements.
4
             10. Defendants’ defamatory statements are inherently harmful to Goodman’s reputation
5

6               due to the heinous nature of the fabricated allegations which included terrorism, rape,

7               and other capital crimes. Such false claims rise to the level of defamation per se and
8
                damages to Goodman’s reputation and business are presumed.
9
             11. Defendants conspired to commit fraud on the court in their ongoing effort to
10
                overwhelm Goodman with abusive litigation and financially crippling legal expenses.
11

12           12. Goodman seeks to find all Defendants jointly and severally liable to the extent of,

13                  a. treble the damages incurred due to Defendants’ unlawful activity including
14
                         attorneys’ fees and costs associated with defending Goodman’s dormant
15
                         corporation pursuant to Federal RICO statutes,
16
                    b. costs and expenses spent bringing and defending this and other lawsuits
17

18                       caused by Defendants and,

19                  c. $2,200,000 in lost business revenue and,
20
                    d.   $20,000,000 or an amount otherwise to be decided by a jury in the form of
21
                         punitive damages for Defendants’ illegal, fraudulent and defamatory actions.
22
                                     PARTIES AND NON-PARTIES
23

24           13. Plaintiff – pro se Jason Goodman is a New York citizen, an investigative journalist,

25              documentary filmmaker, talk show host, and founder of the widely trusted news,
26
                information, and entertainment brand Crowdsource the Truth. He is separately the
27
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1               owner of Multimedia System Design, Inc., (“MSD”) a dormant New York
2
                corporation with no employees, no regular revenue, and no ongoing business activity.
3
             14. Defendant – Christopher Ellis Bouzy (“Bouzy”) is a New Jersey citizen and CEO of
4
                Bot Sentinel, Inc., which claims to be an artificial intelligence technology company
5

6               that identifies and eliminates so called “disinformation” as determined by Bouzy.

7            15. Defendant – Bot Sentinel, Inc., (“Bot Sentinel”) is a New Jersey Corporation that
8
                claims to be an online platform intended to detect and eliminate untrustworthy
9
                internet activity using artificial intelligence and machine learning among other things.
10
             16. Defendant – David George Sweigert ("Sweigert") is believed to be a homeless
11

12              vagrant, a retired Air Force radio communications and Information Technology

13              specialist, a professional hacker, the author of the Ethical Hacker’s Field Operations
14
                Guide, a self-proclaimed contractor to the U.S. Department of Homeland Security and
15
                other government agencies, and an aggressive, persistent, vexatious pro se litigant.
16
                Sweigert is the author of the online blog www.sdny.org which purports to engage in
17

18              “Disinformation Governance in the Southern District of New York” but is actually a

19              platform for amplifying false claims against Goodman. (EXHIBIT A)
20
             17. Defendant – George Webb Sweigert (“Webb”) is a homeless vagrant who currently
21
                claims to be a citizen of Georgia and a journalist. Webb and Sweigert are brothers
22
                (collectively hereinafter “Sweigerts” or “Sweigert Brothers”).
23

24           18. Defendant Benjamin Wittes (“Wittes”) is a self-proclaimed legal journalist, a Senior

25              Fellow in Governance Studies at the non-profit think tank the Brookings Institution
26
                and the Editor in Chief of the website Lawfareblog.com (“Lawfareblog”).
27
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1            19. Defendant Nina Jankowicz (“Jankowicz”) is the sole proprietor of Sophias Strategies,
2
                LLC, (“Sophias Strategies”) the former Director of the U.S. Department of Homeland
3
                Security Disinformation Governance Board (“Disinfo Board”), and a self-proclaimed
4
                expert in so called “disinformation” and Russian internet activity including hacking
5

6               and internet “bot” deployment.

7            20. Defendant - Adam Sharp ("Sharp") is the founder and CEO of Sharp Things, LLC,
8
                the President and CEO of the National Academy of Television Arts and Sciences,
9
                (“NATAS”) the former Government Liaison for Twitter, a widely recognized social
10
                media expert, and self-proclaimed “Democrat Political Operative”.
11

12           21. Defendant – Margaret Esquenet ("Esquenet") is an attorney with Finnegan,

13              Henderson, Farabow, Garrett & Dunner, LLP (“Finnegan”) who represented
14
                Defendants in prior action against Goodman’s dormant corporation MSD.
15
             22. Defendant – The Academy of Television Arts and Sciences ("ATAS" or “Television
16
                Academy”) is one of the key plaintiffs in a vexatious suit wrongfully brought against
17

18              Goodman’s dormant corporation MSD for an improper purpose.

19           23. Defendant – Seth Berlin ("Berlin") is an attorney with Ballard Spahr and counsel for
20
                Bouzy and Bot Sentinel in this case.
21
             24. Defendant – Maxwell Mishkin ("Miskin") is an attorney with Ballard Spahr and
22
                counsel for Bouzy and Bot Sentinel in this case.
23

24           25. Non-Party – Robert David Steele (“RDS”) is a self-proclaimed retired Central

25              Intelligence Agency (“CIA”), employee and the former director of the non-profit
26

27
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1               corporation Earth Intelligence Network (“EIN”). RDS was an associate of Webb who
2
                reportedly died of Covid-19 in 2021.
3
             26. Non-Party – Kathy Steele (“Steele”) is the wife of RDS and executor of his estate.
4
                Steele replaced RDS as plaintiff in ongoing litigation against Goodman during 2021.
5

6               (See Steele et al v Goodman Case 3:21-cv-00573-JAG).

7            27. Non-Party – Steven Biss (“Biss”) is the attorney for Steele and formerly RDS. Biss is
8
                an associate of Sweigert and communicates with Sweigert through intermediaries.
9
             28. Non-party Richard Loury ("Loury") is a clerk at the U.S. District Court in the Eastern
10
                District of Michigan ("MIED").
11

12           29. Non-Party – Charles Ortel (“Ortel”) is a close and trusted associate of Goodman who

13              is innocent of any wrongdoing in this matter and may have been the initial target of
14
                suspected criminal activities of the Enterprise.
15
             30. Non-Party – Peter W. Smith (“Smith”) is a deceased former commodities investor,
16
                political activist, researcher, and former associate of Ortel.
17

18           31. Non-Party – Shane Harris (“Harris”) is a journalist and associate of Wittes who wrote

19              several news stories about Smith beginning approximately six weeks after his death.
20
                Harris coincidentally contacted Ortel by telephone unexpectedly during Ortel’s initial
21
                meeting with Goodman and Webb on June 30, 2017.
22
             32. Non-party – Oakey Marshall Richards (“Richards”) is an associate of Webb, a
23

24              confidential informant (“CI”) for the Federal Bureau of Investigation (“FBI”) and

25              journalist’s source of information to Webb regarding events in the Port of Charleston,
26
                SC on June 14, 2017, and other matters.
27
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1            33. Non-party – Roy Warren Marshall aka Steve Quest ("Marshall") is a notorious
2
                internet personality (alternately known as "Montagraph"). Marshall is infamous for
3
                antagonizing and harassing people online and fixating on toxic vendettas calculated to
4
                include real world consequences. Marshall posted videos on YouTube in the days
5

6               prior to the June 14, 2017 Port of Charleston closure that are likely to prove he and

7               other individuals had prior knowledge of a pre-planned event.
8
             34. Non-party – Scott Anthony ("Anthony") is a New Jersey Information Technology
9
                specialist and an associate of Marshall and Sweigert. Anthony posted comments on
10
                his web page and in response to videos posted by Marshall on YouTube in the days
11

12              prior to the June 14, 2017 Port of Charleston closure that are likely to prove Anthony

13              and other individuals had prior knowledge of a pre-planned event. (EXHIBIT B)
14
             35. Non-party – Jonathan Snyder (“Snyder”) is an attorney who formerly represented
15
                MSD in litigation with Defendants but withdrew citing harassment by Sweigert.
16
                                     JURISDICTION AND VENUE
17

18           36. This Court has original subject-matter jurisdiction pursuant to 18 U.S.C. § 1964(c)

19              and 28 U.S.C. § 1331 because this action arises under the Federal Racketeer
20
                Influenced and Corrupt Organizations Act (“RICO”).
21
             37. This Court also has subject matter jurisdiction pursuant to 28 U.S.C. § 1332 because
22
                the amount in controversy exceeds $75,000, exclusive of interest and costs and there
23

24              is complete diversity of citizenship between Plaintiff and the Defendants.

25           38. This Court has jurisdiction over Plaintiff’s related state and common law claims
26
                pursuant to the doctrine of supplemental jurisdiction, 28 U.S.C. § 1367.
27
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1            39. This Court has personal jurisdiction over Defendants under 18 U.S.C. § 1965(b)
2
                because pursuant to the RICO statute, an action brought in any U.S. District Court
3
                allows that Court to summon parties residing in another district to its own if the “ends
4
                of justice require” as is the case in this instant matter.
5

6            40. This Court has personal jurisdiction over Defendants because they deliberately

7               directed their conduct at this forum, at Goodman in New York, and at the Court itself.
8
             41. This Court has personal jurisdiction over Bouzy because he directed conduct at this
9
                forum when he participated in the Enterprise. The exercise of jurisdiction over Bouzy
10
                is reasonable because he conspired with Defendants to destroy Goodman’s business
11

12              and reputation and terminate his access to social media using Bot Sentinel technology

13              under his own control with the objective of harming Goodman. This Court has
14
                personal jurisdiction over Bouzy because he participated in a scheme in violation of
15
                18 U.S. Code § 1513 to retaliate against Goodman for bringing legal action against
16
                him and Bot Sentinel. This Court also has personal jurisdiction over Bouzy under 18
17

18              U.S. Code § 1965(b) which allows any District Court to summon parties from another

19              district if the “ends of justice require” it.
20
             42. This Court has personal jurisdiction over Bot Sentinel because it directed conduct at
21
                this forum when it participated in the Enterprise. Exercise of jurisdiction over Bot
22
                Sentinel is reasonable because it conspired with Defendants to destroy Goodman’s
23

24              business and reputation and terminate his access to social media using Bot Sentinel

25              technology under Bouzy’s control with the objective of harming Goodman. This
26
                Court also has personal jurisdiction over Bot Sentinel because it participated in a
27
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1               scheme in violation of 18 U.S. Code § 1513 to retaliate against Goodman for bringing
2
                legal action against it and Bouzy. This Court also has personal jurisdiction over Bot
3
                Sentinel under 18 U.S.C. § 1965(b) which allows any District Court to summon
4
                parties from another district if the “ends of justice require” it.
5

6            43. This Court has personal jurisdiction over Sweigert because he directed conduct at this

7               forum when he participated in the Enterprise. The exercise of jurisdiction over
8
                Sweigert is reasonable because he conspired with Defendants to destroy Goodman’s
9
                business and reputation and terminate his access to social media by conspiring with
10
                Bouzy to use Bot Sentinel technology under Bouzy’s control with the objective of
11

12              harming Goodman. This Court also has personal jurisdiction over Sweigert because

13              he participated in a scheme in violation of 18 U.S. Code § 1513 to retaliate against
14
                Goodman for filing an Amicus Curiae brief in support of Cable News Network
15
                (“CNN”) by ghost writing vexatious pleadings on behalf of Webb in violation of
16
                NYCL - EDN § 6512. This Court also has personal jurisdiction over Sweigert under
17

18              18 U.S.C. § 1965(b) which allows any District Court to summon parties from another

19              district if the “ends of justice require” it.
20
             44. This Court has personal jurisdiction over Webb because he directed conduct at this
21
                forum when he participated in the Enterprise. The exercise of jurisdiction over Webb
22
                is reasonable because he conspired with Defendants to destroy Goodman’s business
23

24              and reputation and terminate his access to social media with the objective of harming

25              Goodman. This Court also has personal jurisdiction over Webb because he
26
                participated in a scheme in violation of 18 U.S. Code § 1513 to retaliate against
27
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1                 Goodman for filing an Amicus Curiae brief in support of CNN by filing a frivolous
2
                  retaliatory case against Goodman. This Court also has personal jurisdiction over
3
                  Webb under 18 U.S.C. § 1965(b) which allows any District Court to summon parties
4
                  from another district if the “ends of justice require” it.
5

6              45. This Court has personal jurisdiction over Wittes because he directed conduct at this

7                 forum when he participated in the Enterprise. The exercise of jurisdiction over Wittes
8
                  is reasonable because Wittes conspired with Defendants to destroy Goodman’s
9
                  business and reputation and terminate his access to social media by directing Bouzy
10
                  to use Bot Sentinel technology under Bouzy’s control with the objective of harming
11

12                Goodman. This Court also has personal jurisdiction over Wittes because he

13                participated in a scheme in violation of 18 U.S. Code § 1513 to retaliate against
14
                  Goodman for bringing legal action against Bouzy and Bot Sentinel by retaining
15
                  Ballard Spahr and funding the Enterprise’s legal defense. This Court has personal
16
                  jurisdiction over Wittes under 18 U.S.C. § 1965(b) which allows any District Court to
17

18                summon parties from another district if the “ends of justice require” it.

19             46. This Court has personal jurisdiction over Jankowicz because she directed conduct at
20
                  this forum when she participated in the Enterprise. The exercise of jurisdiction over
21
                  Jankowicz is reasonable because she conspired with Defendants to destroy Plaintiff’s
22
                  business and reputation and terminate his access to social media by making false
23

24                claims in violation of 22 U.S. Code § 612 with the objective of harming Goodman.

25                This Court has personal jurisdiction over Jankowicz under 18 U.S.C. § 1965(b) which
26

27
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1                 allows any District Court to summon parties from another district if the “ends of
2
                  justice require” it.
3
               47. This Court has personal jurisdiction over Sharp because he directed conduct at this
4
                  forum when he participated in the Enterprise. The exercise of jurisdiction over Sharp
5

6                 is reasonable because he conspired with Defendants to destroy Goodman’s business

7                 and reputation and terminate his access to social media by wrongfully bringing action
8
                  against Goodman’s dormant corporation MSD, with the objective of deliberately
9
                  harming Goodman. This Court also has personal jurisdiction over Sharp because he
10
                  wrongfully caused tax-exempt funds to be used in violation of New York Not-For-
11

12                Profit Corporation Law - NPC § 712-a and failed to disclose his interest in a private,

13                for-profit business while employed as CEO of a tax-exempt corporation. This Court
14
                  also has personal jurisdiction over Sharp because he participated in a scheme to
15
                  commit fraud on the Court in violation of 18 U.S. Code § 1343 by falsely claiming
16
                  his private, for-profit corporation Sharp Things, LLC was inactive. This Court has
17

18                personal jurisdiction over Sharp under 18 U.S.C. § 1965(b) which allows any District

19                Court to summon parties from another district if the “ends of justice require” it.
20
               48. This Court has personal jurisdiction over Esquenet because she directed conduct at
21
                  this forum when she participated in the Enterprise. The exercise of jurisdiction over
22
                  Esquenet is reasonable because she conspired with Defendants to destroy Goodman's
23

24                business and reputation and terminate his access to social media by participating in a

25                scheme to wrongfully bring action against MSD, with the objective of deliberately
26
                  harming Goodman. This Court also has personal jurisdiction over Esquenet because
27
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1                 she wrongfully accepted tax-exempt funds used in violation of New York Not-For-
2
                  Profit Corporation Law - NPC § 712-a. This Court also has personal jurisdiction over
3
                  Esquenet because she participated in a scheme to commit fraud on the Court in
4
                  violation of 18 U.S. Code § 1343 and New York Judiciary Law - JUD § 487 with the
5

6                 express intent of harming Goodman by falsely claiming Sharp’s private, for-profit

7                 corporation Sharp Things was inactive. This Court has personal jurisdiction over
8
                  Esquenet under 18 U.S.C. § 1965(b) which allows any District Court to summon
9
                  parties from another district if the "ends of justice require" it.
10
               49. This Court has personal jurisdiction over ATAS because it directed conduct at this
11

12                forum when it participated in the Enterprise. The exercise of jurisdiction over ATAS

13                is reasonable because it conspired with Defendants to financially damage Goodman
14
                  by wrongfully bringing action against Goodman’s dormant New York corporation
15
                  MSD, with the objective of harming Goodman. This Court also has personal
16
                  jurisdiction over ATAS because it violated its own by-laws and authorized tax-
17

18                exempt purpose by wrongfully causing tax-exempt funds to be used in violation of

19                New York Not-For-Profit Corporation Law - NPC § 712-a. This Court also has
20
                  personal jurisdiction over ATAS under 18 U.S.C. § 1965(b) which allows any District
21
                  Court to summon parties from another district if the “ends of justice require” it.
22
               50. This Court has personal jurisdiction over Berlin because he directed conduct at this
23

24                forum when he participated in the Enterprise. The exercise of jurisdiction over Berlin

25                is reasonable because he conspired with Defendants to intimidate Goodman with
26
                  harassing extrajudicial letters after he was alerted by a Tweet sent by Sweigert and
27
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1                 prior to appearing as counsel for Defendants Bouzy and Bot Sentinel in violation of
2
                  18 U.S. Code § 1503.
3
               51. This Court has personal jurisdiction over Mishkin because he directed conduct at this
4
                  forum when he participated in the Enterprise. The exercise of jurisdiction over
5

6                 Mishkin is reasonable because he conspired with Defendants to intimidate Goodman

7                 with harassing extrajudicial letters after he was alerted by a Tweet sent by Sweigert
8
                  and prior to appearing as counsel for Defendants Bouzy and Bot Sentinel in violation
9
                  of 18 U.S. Code § 1503.
10
                                         FACTUAL BACKGROUND
11

12             18 U.S.C. § 1962 makes it unlawful for any person to receive any income derived,

13   directly or indirectly, from a pattern of racketeering activity. Defendants in this case have
14
     engaged in a wide-ranging pattern of racketeering activity that began in 2017 and began causing
15
     direct and proximate financial damage to Goodman in 2020, continuously up to and including
16
     today. Defendants attempt, in an ongoing fashion, to conceal their efforts using sophisticated
17

18   technology including encrypted and clandestine messaging techniques. Defendants employ

19   deceptive legal tactics designed to manipulate and hinder both civil and criminal justice
20
     processes and hide their individual culpability and their direct or indirect coordination. Despite
21
     strenuous efforts to conceal these alleged acts, evidence presented herein is likely to prove that
22
     Defendants formed and actively participated in the Enterprise with common objectives that
23

24   included the destruction of Goodman’s business and public reputation, extortion of money from

25   him via vexatious and fraudulent litigation, and the total elimination of his access to social
26
     media. The Enterprise operates as a dynamic online collective which Sweigert himself refers to
27
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1    as a (“Cyber Militia”). The Cyber Militia enables coordinated activity through deceptive
2
     anonymous online accounts and a multitude of clandestine, encrypted communication schemes to
3
     amplify each other’s efforts and create public perception of an authentic grass roots movement
4
     that disfavors Goodman, his investigative reporting, and his video subscription business.
5

6              I.     Multimedia System Design, Jason Goodman, and Crowdsource the Truth

7              Goodman is the sole proprietor of MSD, a corporation he founded in 1994 originally
8
     focused on computer network design and maintenance for graphic arts and multimedia
9
     professionals. As years passed, the focus of the company shifted toward the creation of 3D
10
     animation and multimedia software-based business presentations rather than computer hardware
11

12   services. In May of 1998, Goodman applied for and received the assumed name “Multimedia

13   Software Design” to better reflect the evolving nature of the business. Years later, the company
14
     focused even more closely on 3D animation and stereoscopic video production. Goodman again
15
     applied for an assumed name with the New York Department of State and established “21st
16
     Century 3D”. (EXHIBIT C)
17

18             Goodman had a lucrative career in Hollywood for many years where he became

19   internationally recognized as one of the world’s foremost experts in stereoscopic cinematography
20
     and 3D camera design and development. Multimedia System Design, INC., D.B.A. 21st Century
21
     3D operated offices in New York and Los Angeles. In or around 2013, 3D moviegoing and
22
     production crashed and virtually all of Hollywood’s 3D providers including 21st Century 3D
23

24   ceased operation. Goodman returned to New York in or around 2015 and worked to re-establish

25   himself in a market that no longer demanded stereoscopic cinematographers. MSD remained
26
     active and in good standing but Goodman’s role as CEO focused on rare, occasional, specialized
27
     AMENDED COMPLAINT FOR FRAUD, DEFAMATION, ABUSE OF PROCESS, CIVIL
28   CONSPIRACY, AND RACKETEERING
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1    3D work and eventually turned to selling the company’s large inventory of valuable professional
2
     camera equipment. At the same time, Goodman engaged in the separate unrelated endeavor of
3
     creating news, information and entertainment videos using inexpensive mobile phones owned by
4
     Goodman on a YouTube channel called “Jason Goodman” with shows bearing the brand name
5

6    “Crowdsource the Truth” and unrelated to MSD. Leveraging his experience as a producer and

7    cinematographer, and emerging skills as a journalist and talk show host, Goodman built an
8
     audience on YouTube and eventually monetized the effort by creating a subscription video
9
     service through which individual viewers become monthly sponsors and gain access to sponsor
10
     exclusive content on www.patereon.com (“Patreon”), www.subscribestar.com (“SubscribeStar”)
11

12   and www.odysee.com (“Odysee”). MSD is not associated with these platforms or their payment

13   services. Goodman is the sole and exclusive owner of intellectual property and artistic works
14
     created by Goodman under the brand name Crowdsource the Truth.
15
               II.    The Cyber Militia
16
               For many years, Sweigert has written white papers and blog posts and conducted online
17

18   video seminars about his perceived need for a Digital National Guard to protect the country

19   against cybersecurity threats to critical U.S. Infrastructure. (EXHIBIT D)
20
               Sweigert’s proposed civilian staffed Cyber–National Guard unit could be stood up on
21
     demand to act defensively or offensively according to Sweigert. He uses the phrase “Cyber
22
     Militia” as he addresses his online pupils stating in part, “I'm working around waiting for
23

24   consensus from government people or industry people or people like that. We're moving ahead

25   with the actual scenario that's going to be used by actual infrastructure operators. I guarantee you
26
     what we're doing right now is going to be documented and it's going to be read by several dozen
27
     AMENDED COMPLAINT FOR FRAUD, DEFAMATION, ABUSE OF PROCESS, CIVIL
28   CONSPIRACY, AND RACKETEERING
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1    key people That run the critical infrastructure of the United States.”
2
     (https://vk.com/video731682021_456239025)
3
               Sweigert has posted numerous videos that he disseminates to members of his Cyber
4
     Militia using coded hashtags and other clandestine communication techniques. Like the 1960s
5

6    television series Misson: Impossible, Sweigert’s video messages self-destruct, or rather he

7    voluntarily spoliates them quickly making it difficult to track this activity or provide evidence to
8
     the Court. Goodman has successfully archived some of these videos, despite repeated efforts by
9
     Sweigert to threaten the video hosting web sites used to preserve the evidence. Several of the
10
     videos have been preserved on a website hosted outside the U.S. which Sweigert has been unable
11

12   to threaten with litigation, allowing the Court to evaluate his activities related to the education,

13   coordination, and deployment of his online cyberstalking gang masquerading as a makeshift
14
     military adjunct in his ongoing efforts to accuse Goodman of crimes he has not committed and
15
     otherwise harass and antagonize Goodman.
16
     (https://vk.com/video731682021_456239067)
17

18   (https://vk.com/video731682021_456239073)

19             III.   The Sweigert Brothers and the Port of Charleston Incident
20
               Goodman first interacted with the Sweigert Brothers’ Cyber Militia without his
21
     knowledge when he began collaborating with Webb in or around May of 2017. Goodman and
22
     Webb collaborated for a period of approximately three months, voluntarily cooperating to create
23

24   video news reports primarily on YouTube. On June 13, 2017, Webb introduced Goodman

25   telephonically to RDS who claimed, without evidence, to be a former employee of the CIA. The
26
     three engaged in a video conference interview that was broadcast live on Goodman’s YouTube
27
     AMENDED COMPLAINT FOR FRAUD, DEFAMATION, ABUSE OF PROCESS, CIVIL
28   CONSPIRACY, AND RACKETEERING
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1    channel but has since been removed by YouTube as a proximate result of multiple fraudulent
2
     complaints filed by Sweigert and his co-conspirators.
3
                     Goodman alleges Defendants used tactics including “mass reporting” from a large
4
     number of inauthentic accounts to create the false impression of public outrage and prompt the
5

6    removal of numerous videos and ultimately Goodman’s entire YouTube channel while hiding

7    evidence of their actions. Plaintiff has preserved the RDS interview and re-uploaded it to an
8
     alternate video host. No similar complaints have forced the removal of the same video from
9
     other platforms. (https://odysee.com/@Crowdsourcethetruth:d/Robert-David-
10
     Steele:3?r=73LTQ7izBcj8qkyQcMRLcevmePnUuBoJ and https://rumble.com/vm2gg7-robert-
11

12   david-steele-on-crowdsource-the-truth-june-13-2017.html). Shortly after the initial June 2017

13   video conference and events resulting inter alia in the arrest of Webb and the closure of the Port
14
     of Charleston in South Carolina, RDS brought legal action against Goodman, (See Steele et al v
15
     Goodman et al, Case 3:17-cv-00601-MHL) alleging defamation and other claims. The case was
16
     dismissed without prejudice by Judge M. Hannah Lauck on September 25, 2020 (See Steele et al
17

18   v Goodman et al Case 3:17-cv-00601-MHL ECF No. 217). In defiance of Judge Lauck’s order,

19   RDS brought his claims back in the Eastern District of Virginia Alexandria Division (See Case
20
     1:20-cv-01140-RDA-IDD Document 12). The case was transferred back to the Richmond
21
     Division. RDS is now reportedly deceased, (https://nypost.com/2021/08/30/ex-cia-spy-first-to-
22
     call-covid-a-hoax-dies-from-the-virus/) but his estate remains represented in the case against
23

24   Goodman. A motion for contempt against the substituted Plaintiff and attorney Biss is pending,

25   (See Steele v Goodman Case 3:21-cv-00573-JAG ECF No. 39). Sweigert has attempted to
26

27
     AMENDED COMPLAINT FOR FRAUD, DEFAMATION, ABUSE OF PROCESS, CIVIL
28   CONSPIRACY, AND RACKETEERING
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1    intervene in both iterations of Steele v Goodman but has been denied (See Case 3:17-cv-00601-
2
     MHL Document 152 and Case 1:20-cv-01140-RDA-IDD ECF No. 8).
3
               In or around June 2022, Goodman discovered a video published by Marshall on June 11,
4
     2017, three days prior to the events related to the Port of Charleston closure. In the video,
5

6    Marshall includes images of a sinking cargo ship along with the message “George Webb & Jason

7    Goodman are inches away from being superstars for all the wrong reasons”. The video also
8
     features a message to “Hollywood Executives Worldwide” alerting them to false claims made by
9
     Marshall (https://youtu.be/KysTO2GoRB0). This remarkable coincidence is highly suggestive
10
     that Marshall and others had foreknowledge of the events that would take place only three days
11

12   later in the Port of Charleston, for which Goodman would be blamed by Sweigert and RDS.

13   Notably, in a separate video posted by Sweigert in approximately the same timeframe, Sweigert
14
     addresses Goodman, making a point of his intention to “call all your Hollywood friends and I’ll
15
     talk to them and say hey we’re gonna make a lot of money on this” perhaps foretelling
16
     Sweigert’s future communication with Sharp. (https://vk.com/video731682021_456239066).
17

18             IV.    The Suspicious Death of Peter W. Smith

19             During Goodman’s brief collaboration with Webb, Webb arranged a meeting with Ortel
20
     who Goodman had not previously known. During that meeting, Ortel received a phone call
21
     about the suspicious suicide of his colleague Smith who had died six weeks prior. The caller,
22
     Harris, was a Wall Street Journal reporter at the time and unknown to Ortel. Harris rudely
23

24   inquired about details allegedly related to a story he would publish about the death of Smith.

25   https://www.wsj.com/articles/gop-operative-sought-clinton-emails-from-hackers-implied-a-
26
     connection-to-flynn-1498770851). Due to the suspicious circumstances surrounding Smith’s
27
     AMENDED COMPLAINT FOR FRAUD, DEFAMATION, ABUSE OF PROCESS, CIVIL
28   CONSPIRACY, AND RACKETEERING
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1    death, and the curiously coincidental way the information came about, Goodman became
2
     intrigued by the incident and began investigating further. Goodman traveled to the Rochester,
3
     MN hotel where Smith died. Police crime scene photos revealed two tanks of helium gas that
4
     were determined to be the cause of self-inflicted asphyxiation. On that trip, Goodman gathered
5

6    evidence, including video surveillance footage of Smith purchasing only one helium tank at a

7    nearby Walmart. Interviews with hotel employees and others, provided Goodman with what the
8
     Rochester Police described as more evidence than they had prior to closing the case. Goodman’s
9
     suspicions prompted him to contact Wittes via Twitter because he had hosted Harris on several
10
     Lawfareblog podcasts and seemed to be covering the story closely. The term “lawfare”
11

12   generally refers to the weaponization of legal process and is suggestive of Wittes preferred

13   modus operandi. Wittes did not respond to Goodman’s numerous inquiries related to the large
14
     amount of evidence Goodman had obtained which contradicted major portions of Harris’ and
15
     Wittes’ reporting. After nearly three years of ignoring Goodman, on or around December 19,
16
     2020, Wittes agreed to engage in a text interview with Goodman over Twitter. Although Wittes
17

18   agreed to participate voluntarily, he avoided answering pertinent questions and prematurely

19   terminated the session directly coincident with the unexpected interruption of unwanted,
20
     disruptive, and insulting public Twitter messages from Bouzy.
21
               V.     Twitter, Christopher Bouzy, and Bot Sentinel
22
               Recent events have brought new scrutiny to inauthentic social media accounts known as
23

24   “bots”. Billionaire investor Elon Musk purchased Twitter in 2022 based on his stated goal to

25   eliminate the large number of inauthentic accounts and protect the first amendment rights of
26
     Twitter users. (https://finance.yahoo.com/news/musk-calls-twitter-explanation-bot-
27
     AMENDED COMPLAINT FOR FRAUD, DEFAMATION, ABUSE OF PROCESS, CIVIL
28   CONSPIRACY, AND RACKETEERING
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1    071116182.html). Inauthentic so-called “bot” accounts call into question the true value of
2
     Twitter as a company and may implicate its board of directors or other former employees
3
     including Sharp in Federal Trade Commission and Securities and Exchange Commission
4
     violations. Bot Sentinel claims to be a benevolent tool that is free to use and financially
5

6    supported by donations from magnanimous donors. The truth is, Bot Sentinel is a tool deployed

7    by Bouzy to engage in cyber harassment for hire intended to thwart anyone he opposes and a
8
     vehicle through which he can receive anonymous payments. Bouzy frequently boasts of his
9
     special relationship with Twitter insiders. Bouzy is a social media hit man who uses Bot
10
     Sentinel to target, defame, and destroy the accounts and public reputations of his perceived
11

12   enemies. Goodman alleges Wittes engaged Bouzy’s services to harass Goodman and eliminate

13   his access to social media including Twitter and others, after Goodman published information
14
     that was unfavorable to Wittes concerning the death of Smith. Goodman’s initial contact with
15
     Bouzy came during the Twitter conversation with Wittes. Bouzy’s effort to disrupt the Wittes
16
     conversation consisted of false claims so offensive and insulting, they prompted Goodman to
17

18   search the internet for Bouzy’s phone number, call him up and speak for more than one hour,

19   (https://odysee.com/@Crowdsourcethetruth:d/BOUZYBOTSENTINEL:a?r=73LTQ7izBcj8qky
20
     QcMRLcevmePnUuBoJ). During the call, Bouzy revealed his direct knowledge of Smith’s
21
     death and his personal familiarity with Wittes, Harris, and other associates of Lawfareblog.
22
     After the phone call, Bouzy began a days-long Twitter defamation campaign against Goodman
23

24   that included false, baseless, and unsubstantiated claims alleging Goodman had committed the

25   crime of rape. These heinous allegations are inherently damaging and were made with the sole
26
     intention of injuring Goodman’s reputation and business. Despite these horrendous actions, and
27
     AMENDED COMPLAINT FOR FRAUD, DEFAMATION, ABUSE OF PROCESS, CIVIL
28   CONSPIRACY, AND RACKETEERING
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1    due to Goodman’s demanding schedule, he decided to ignore Bouzy and put the harassment and
2
     defamation out of mind. Almost one year later, with no further provocation from Goodman, on
3
     December 17, 2021, Bouzy republished the same series of defamatory tweets, giving rise to this
4
     instant action. Despite explicit warnings from Goodman in 2020, Bouzy chose to join the
5

6    Enterprise established by the Sweigert Brothers. Not satisfied with mere reputation destruction,

7    Bouzy took further steps to destroy the social media accounts that he knew were critical to
8
     Plaintiff’s daily business operations. Bouzy received information from Sweigert that he
9
     amplified in his efforts to defame and harass Goodman while destroying his business and his
10
     access to social media in violation of 18 U.S. Code § 1513.
11

12             VI.    Years Long Lawfare Assault Against Goodman

13                    a. Steele et al v Goodman et al
14
               Beginning in September of 2017, the Defendants and other non-parties participated in a
15
     series of vexatious and abusive lawsuits calculated to harm Goodman. These suits did not seek to
16
     cure any legitimate injury but rather to extort Goodman into terminating video broadcasts
17

18   including evidence from his investigations that is likely to implicate Defendants in criminal

19   activity. The first such suit was Steele et al v Goodman et al (See Case 3:17-cv-00601-MHL).
20
     Sweigert attempted and failed to intervene in this case and shortly thereafter, brought separate
21
     action citing the same Port of Charleston incident and many of the same parties (See Sweigert v
22
     Goodman Case 1:18-cv-08653-VEC-SDA). Steele v Goodman was incompetently prosecuted
23

24   by the frequently sanctioned Biss and was dismissed without prejudice in September 2020.

25   Sweigert v Goodman was voluntarily dismissed in March 2022 after more than three years of
26
     vexatious litigation. The constantly scheming Sweigert engaged in myriad extrajudicial attacks
27
     AMENDED COMPLAINT FOR FRAUD, DEFAMATION, ABUSE OF PROCESS, CIVIL
28   CONSPIRACY, AND RACKETEERING
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1    during the course of all of the malicious legal action, calculated to complicate Goodman’s ability
2
     to mount a proper defense while simultaneously disrupting Goodman’s daily news broadcasts in
3
     the ongoing effort to destroy Goodman’s business. Due to Sweigert’s ongoing failure to defeat
4
     Goodman as a pro se defendant, Goodman alleges Sweigert devised a scheme to financially
5

6    damage Goodman by making the fraudulent representation that the corporation MSD controlled

7    and was liable for intellectual property owned exclusively by Goodman including images and
8
     video content created for Crowdsource the Truth broadcasts, in logical contradiction to 47 U.S.
9
     Code § 230. This gave rise to a series of attempts to fraudulently sue Goodman’s corporation
10
     compelling him to hire counsel at great expense rather than exercising his right to proceed pro se.
11

12                    b. Sweigert v Goodman (SDNY)

13             On June 14, 2018, by his own admission in celebration of the one-year anniversary of the
14
     Port of Charleston incident, Sweigert commenced new legal action against Goodman in the U.S.
15
     District Court for South Carolina. The complaint alleged that Goodman was a cult leader and his
16
     news reporting constituted racketeering. (See Sweigert v Goodman 2:18-cv-01633-RMG).
17

18   Sweigert v Goodman was transferred sua sponte pursuant to 8 U.S.C. §§ 1404(a), 1406(a) to the

19   Southern District of New York on September 17, 2018 (See Case 1:18-cv-08653-VEC). After
20
     more than three years of extensive motion practice, and substantial burden on Goodman, on
21
     March 1, 2022, Sweigert voluntarily withdrew his claims, and the case was dismissed with
22
     prejudice. (See Case 1:18-cv-08653-VEC-SDA ECF No. 381). Sweigert, apparently dissatisfied
23

24   with this outcome and determined to bring back the same claims in another U.S. District Court

25   where he might further harass Goodman, submitted a motion for reconsideration seeking to grant
26
     dismissal without prejudice. The motion was denied. (See Sweigert v Goodman Case 1:18-cv-
27
     AMENDED COMPLAINT FOR FRAUD, DEFAMATION, ABUSE OF PROCESS, CIVIL
28   CONSPIRACY, AND RACKETEERING
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1    08653-VEC-SDA Document 383). Despite the dismissal with prejudice, and admonishment by
2
     the judge for excessive filing, Sweigert has continued to file in the case. Most recently a
3
     completely inappropriate letter was sent to chambers on Christmas eve raising incoherent claims
4
     related to Steele et al v Goodman and other matters. (See Sweigert v Goodman Case 1:18-cv-
5

6    08653-VEC-SDA Document 387)

7                     c. Sweigert v CNN
8
               On October 31, 2020, Webb brought action against Cable News Network ("CNN") in the
9
     Eastern District of Michigan ("MIED") as a pro se Plaintiff including allegations of defamation
10
     and other things. (See Webb v CNN Case 2:20-cv-12933-GAD-KGA). Despite their own public
11

12   claims that the Sweigert Brothers are estranged and not in regular communication, Sweigert filed

13   a motion to intervene in his brother Webb's case less than one week later on November 6, 2020.
14
     The motion additionally sought to transfer the case to SDNY claiming it was related litigation
15
     and citing the still ongoing at the time Sweigert v Goodman.
16
               Evidence presented to the MIED court is likely to prove that Sweigert fraudulently
17

18   submitted filings on his brother Webb's behalf, practicing law without a license in the State of

19   Michigan in violation of Michigan Legislature - Section 600.916 and for the express purpose of
20
     entangling Goodman in more vexatious litigation. On July 20, 2021, Goodman filed an Amicus
21
     Curiae brief in support of defendant CNN's motion to dismiss which presented evidence that is
22
     likely to prove that Webb and Sweigert conspired with a clerk of the court, Loury, to cause a
23

24   fraudulent document to be filed on the docket, in violation of 18 U.S. Code § 1343 attributed to

25   Webb, but authored by Loury, and outside the normal procedure of the MIED Court's Pro Se
26
     Electronic Filing website. (See Case 2:20-cv-12933-GAD-KGA ECF No. 20)
27
     AMENDED COMPLAINT FOR FRAUD, DEFAMATION, ABUSE OF PROCESS, CIVIL
28   CONSPIRACY, AND RACKETEERING
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1              On September 21, 2021, presiding Judge Gershwin Drain issued a notice of motion
2
     hearing set for December 16, 2021. The order was sent by U.S. Postal Service to Goodman,
3
     summoning Goodman to the hearing (See Case 2:20-cv-12933-GAD-KGA ECF No. 24). On
4
     November 1, 2021, an order replacing the in-person motion hearing with a December 20, 2021
5

6    Zoom telephonic hearing was issued (See Sweigert v CNN Case 2:20-cv-12933-GAD-KGA ECF

7    No. 28). On December 14, 2021, another order was issued rescheduling the motion hearing for
8
     an in-person hearing. (See Sweigert v CNN Case 2:20-cv-12933-GAD-KGA ECF No. 34).
9
     Goodman traveled to MIED as ordered at his own expense. Only hours after arriving, one day
10
     before the scheduled hearing, an email was sent by Teressa McGovern from Judge Drain's
11

12   chambers stating in part, "The Court is adjourning tomorrow's hearing. The Court will reach out

13   at a later date to reschedule this hearing.”
14
               The hearing was not adjourned but rather canceled and never rescheduled. On March 14,
15
     2022, Goodman filed a motion seeking leave to file an amended Amicus Curiae brief and
16
     included a substantially larger amount of evidence that is likely to prove Webb and Sweigert
17

18   conspired with Loury to file a fraudulent pleading on the docket (See Case 2:20-cv-12933-GAD-

19   KGA ECF No. 55). On March 21, 2022, without oral arguments or examination of Goodman’s
20
     evidence, Judge Drain issued an order inter alia granting CNN's motion to dismiss, striking
21
     Goodman’s amicus curiae brief, denying Sweigert's request for change of venue, denying non-
22
     party Goodman’s motion for leave to file amended amicus curiae brief and dismissing the action.
23

24   It is noteworthy that Judge Drain mistakenly attributed Sweigert's request for change of venue to

25   plaintiff Webb, providing evidence that the brother's interoperability succeeded in confusing the
26
     court.
27
     AMENDED COMPLAINT FOR FRAUD, DEFAMATION, ABUSE OF PROCESS, CIVIL
28   CONSPIRACY, AND RACKETEERING
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1                     d. Sweigert v Goodman (MIED)
2
               Concurrent with his case against CNN and ostensibly as retaliation for filing the well-
3
     founded accusations in the Amicus Brief, on January 3, 2022, Webb brought action against
4
     Goodman in MIED alleging defamation for the privileged statements in the amicus brief. (See
5

6    Sweigert v Goodman Case 2:22-cv-10002-GAD-KGA). Four days later on January 7, 2022, non-

7    party Sweigert began interfering again filed a request for criminal referral against Goodman.
8
     Sweigert made a facially ridiculous attempt to deceive the court by miscategorizing Goodman’s
9
     rightful response to Judge Drain's order that he attend a hearing as an effort to stalk Webb in
10
     Michigan. Sweigert goes on to falsely state "Mr. Goodman worked as a camera operator on a
11

12   Bryan Singer film, X-Men" and adds "There were alleged accusations that orbited the drugging

13   and rape of underaged actors at parties supposedly attended by Mr. Goodman." Goodman has
14
     never worked as a camera operator on a Bryan Singer film, has never attended any party where
15
     anyone was drugged and raped and has never met Singer. No such allegations exist apart from
16
     false allegations promulgated by the Sweigert brothers and their associates including Defendant
17

18   Bouzy. (See Sweigert v Goodman Case 2:22-cv-10002-GAD-KGA). On April 1, 2022, Judge

19   Drain transferred the case to SDNY. After clogging the docket with spurious false allegations,
20
     wasting more of Goodman’s time and money, and burdening him with additional vexatious
21
     litigation, on July 19, 2022, Webb voluntarily withdrew the case in a manner remarkably similar
22
     to Sweigert’s previous action. (See Case 1:22-cv-02788-LGS-BCM ECF No. 73). Evidence on
23

24   the docket is likely to prove this case was brought by Sweigert in his brother Webb's name, in

25   violation of 18 U.S. Code § 1343, Michigan Legislature - Section 600.916, and NYCL - EDN §
26
     6512. Sweigert had learned from his previous voluntary withdrawal that failure to request
27
     AMENDED COMPLAINT FOR FRAUD, DEFAMATION, ABUSE OF PROCESS, CIVIL
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1    dismissal without prejudice, left the decision to the judge. His choice to seek dismissal without
2
     prejudice is strong evidence that Sweigert authored the pleading and filed on Webb's behalf.
3
               VII.   The Television Academy and Multimedia System Design, Inc.
4
               By August 2020, the Jason Goodman YouTube channel had grown to amass
5

6    approximately 119,000 subscribers and had generated tens of millions of video views. This

7    channel provided a large and rapidly growing pool of new potential customers for Goodman’s
8
     paid video subscription service which is his primary source of income. Unlike many popular
9
     YouTube channels, Goodman does not rely on Google advertising revenue to earn a living. This
10
     is primarily due to Goodman’s objection to corporate sponsorship of news and his opinion that
11

12   the practice puts interests of paying corporations ahead of individual viewers. In addition to

13   revolutionizing the video production of news programming by utilizing low cost, high-definition
14
     video cameras embedding in inexpensive mobile phones and operating as “one man band” to
15
     produce sophisticated broadcasts normally associated with network television, Goodman was
16
     very early to the market of direct to consumer, rather than corporate sponsored programming.
17

18   This disruptive business model flies in the face of the traditional approach relied upon by

19   broadcast television and Defendant ATAS and may further their motivation to destroy Goodman.
20
               On June 12, 2020, Goodman produced a video called the “Crony Awards” which featured
21
     a thumbnail image including a parody of the Television Academy’s well known EMMY statue.
22
     Section 107 of the Copyright Act states in part “In the United States, parody is protected by the
23

24   First Amendment as a form of expression. However, since parodies rely heavily on the original

25   work, parodists rely on the fair use exception to combat claims of copyright infringement.” It is
26
     widely recognized that copyright creators are likely to disfavor parodies of their work as they are
27
     AMENDED COMPLAINT FOR FRAUD, DEFAMATION, ABUSE OF PROCESS, CIVIL
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1    often the target of the parodist’s criticism as is the case here. Goodman believes the television
2
     industry and Sharp’s academy that supports it have been corrupted by greed and the corporate
3
     drive for increasing profits. To this end, Goodman created a program that was intended to mock
4
     corporate television news broadcasts and shows that award them for poor coverage of, and
5

6    contribution to, the widespread panic and societal destruction caused by the Covid pandemic.

7              Contrary to Defendants’ ridiculous claims, Goodman’s broadcast of the “Crony Awards”
8
     was not an actual awards show. No nominees or guests were invited, no actual awards were
9
     given. The broadcast was itself a parody of those events and focused on countries around the
10
     world that had remarkably better outcomes in their public health policies toward Covid-19 than
11

12   the United States. More than two months after the publication of the Crony Awards video, on or

13   around August 20, 2020, the Jason Goodman YouTube channel received a Copyright Complaint
14
     resulting in a penalty from YouTube known as a strike. This strike on the YouTube channel is a
15
     stain that impacts the channel and a user’s access to it in several ways. First and foremost, at that
16
     time in 2020, YouTube policy prevented any new broadcasts for a period of ninety days. This
17

18   was especially troubling given that it threatened to prevent Goodman from broadcasting during

19   the historic and now controversial 2020 Presidential election.
20
               Goodman has suspected from the outset of the dispute that this was the true motivation
21
     behind the fraudulent YouTube copyright complaint, filed in violation of 18 U.S. Code § 1343
22
     and the subsequent equally fraudulent lawsuit. Rather than expeditiously curing the perceived
23

24   injury at no cost, Sharp sought to abuse regularly issued civil process in a perverted manner with

25   the collateral objective of forcibly preventing Goodman from broadcasting during the 2020
26
     election. Beyond the immediate damage of lost revenue and subscriber growth during an
27
     AMENDED COMPLAINT FOR FRAUD, DEFAMATION, ABUSE OF PROCESS, CIVIL
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1    historic, once in a lifetime event, as YouTube strikes accumulate, a total of three strikes
2
     permanently deletes the channel and this was the ultimate outcome in this case. The total
3
     removal of Goodman from the internet including YouTube has been the stated goal of Sweigert
4
     and his Cyber Militia for many years. It is unlikely Sharp would randomly encounter a two-
5

6    month-old video as initially alleged. Given the specific timing of the complaint relative to the

7    2020 election and Sweigert’s incredibly persistent, near daily pursuit of Goodman, it appeared
8
     highly likely that Sweigert concocted a scheme with Sharp to file the complaint with YouTube in
9
     August so the ninety-day penalty would preclude Goodman from broadcasting during the
10
     election. Even if there were no preconceived plan between Sweigert and Sharp, Defendants’
11

12   original complaint filed in NATAS v MSD reveals that the alleged “gross” trademark violation

13   was reported via an “anonymous” email on Tuesday July 28, 2020. (See Case 1:20-cv-07269
14
     ECF No. 1 page 9 paragraph 33). If the alleged infringement was so offensive, it would logically
15
     follow that a YouTube complaint would be issued immediately or within days. No other
16
     circumstance can explain the nearly one-month delay in filing the complaint against the Jason
17

18   Goodman YouTube channel followed by the rush to litigation once Goodman appealed the

19   complaint and restored his ability to broadcast. Under YouTube rules, the initiation of litigation
20
     reinstates the penalty after a YouTube appeal has lifted it and resumes blockage of broadcasting,
21
     pending resolution of the lawsuit.
22
               Goodman alleges, Sweigert, Sharp, ATAS, and Esquenet conspired to calculate the false
23

24   copyright infringement claim and subsequent lawsuit for the ulterior purpose of applying a

25   ninety-day penalty and blocking Goodman from broadcasting prior to and during the election on
26
     his popular and widely viewed YouTube channel which favored candidate Donald Trump.
27
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1              This horrendous breach of Bar Association ethics, the rules, the law, and basic morality is
2
     beyond the pale. Defendants have gone to extraordinary lengths to prevent Goodman from
3
     learning the true identity of the owner of the stipulated confidential email address that was the
4
     genesis of their malicious abuse of process against Goodman and his corporation. This is also
5

6    further evidence that only Sweigert could be responsible for sending the anonymous email that

7    alerted Sharp of the alleged infringement. Sharp declined to respond to emails sent in response
8
     to the YouTube complaint. From the outset, Goodman warned Sharp of his serious concern that
9
     an outside party was intent on drawing Sharp and the non-profit Television Academy into
10
     expensive protracted litigation. Goodman offered several suggestions including the total
11

12   removal of the offensive image but got no response from Sharp. (EXHIBIT E)

13             Instead of entertaining Goodman’s no-cost proposal of deleting the parody image, Sharp
14
     immediately retained Finnegan. The firm is one of the largest in the field of intellectual property
15
     law and likely expensive to retain. This approach made very little sense to Goodman,
16
     particularly for a non-profit that ordinarily would compel executives to operate in its own best
17

18   financial interest and not rush to litigate the way a for profit private sector company might.

19   Goodman engaged with Esquenet initially by email and soon after by telephone. Goodman
20
     reiterated his well-founded belief that Sweigert was deliberately interfering in this matter, had
21
     likely alerted Sharp of the parody image and did so with the express intent of drawing Sharp and
22
     ATAS into litigation against Goodman, which did happen immediately thereafter as if
23

24   preordained. Further to Goodman’s surprise, his corporation MSD, which had nothing to do

25   with the broadcast or Goodman’s intellectual property contained therein and is not even
26
     mentioned anywhere on the YouTube channel, was the target of the suit. Goodman alleges this
27
     AMENDED COMPLAINT FOR FRAUD, DEFAMATION, ABUSE OF PROCESS, CIVIL
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1    was a calculated plan, formulated by Sweigert, Sharp, ATAS, and Esquenet to compel Goodman
2
     to hire legal counsel to defend his corporation because he had proven too difficult to defeat as a
3
     pro se defendant. To wit, there is no conceivable way Sharp or Esquenet could know of
4
     Goodman’s ownership of MSD if not for being informed by Sweigert. Defendants will fail to
5

6    prove they learned of the corporation in any other way. This is the essence of their scheme to

7    maliciously sue the unrelated MSD in contradiction to 47 U.S. Code § 230 and violation of 18
8
     U.S. Code § 1343, for the ulterior purpose of forcibly terminating Goodman’s popular broadcasts
9
     during the 2020 Presidential election because they disagree with him politically.
10
               Throughout the course of National Academy of Television Arts and Sciences v
11

12   Multimedia System Design, (“NATAS v MSD”), Sweigert continued his vexatious interference,

13   not only trying and failing once again to intervene (See Case 1:20-cv-07269-VEC-OTW ECF
14
     No. 84) but also aggressively harassing MSD’s counsel Snyder. Snyder ultimately withdrew
15
     after failing to represent MSD according to Goodman’s instructions specifically citing
16
     Sweigert’s harassment as his reason (See Case 1:20-cv-07269-VEC-OTW ECF No. 102-2).
17

18   Despite this incredibly inappropriate and highly strategic interference, even while simultaneously

19   presiding separately over Sweigert v Goodman (See Case 1:18-cv-08653-VEC-SDA), Judge
20
     Valerie Caproni took no action whatsoever to curtail Sweigert’s grossly inappropriate conduct
21
     which violated 18 U.S. Code § 1503 and 18 U.S. Code § 1513. Sweigert interfered further with
22
     near daily agitating emails directed at Goodman and the attorneys at Finnegan including
23

24   Esquenet who Sweigert addressed as his “team”.

25             Esquenet and her associates behaved in ways that confirmed Sweigert’s assertion that
26
     they operated as a clandestine team despite overt denial of that allegation. During discovery in
27
     AMENDED COMPLAINT FOR FRAUD, DEFAMATION, ABUSE OF PROCESS, CIVIL
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1    the case, Esquenet utilized information received from Sweigert, requesting MSD produce emails
2
     sent from the address CSTT72@protonmail.com. This email address is not owned or controlled
3
     by Goodman or MSD, but rather is believed to be controlled by a British national named James
4
     Bembridge who is an associate of Sweigert, and a member of the Cyber Militia engaged in
5

6    harassing Goodman. Just as with Goodman’s corporation, there is simply no way Defendants

7    could have learned of this email address without the direct or indirect cooperation of Sweigert.
8
               Unable to obtain new counsel after Snyder’s astonishing withdrawal, MSD ultimately
9
     defaulted in the case which is currently on appeal with the Second Circuit (See Cass 22-592).
10
     Goodman is in the process of writing a 60(b)(3) motion to be filed with the District Court. In
11

12   addition to the information presented herein, subsequent to the default judgment, Goodman has

13   learned that in 2009 while serving as the first in history General Counsel of the FBI, Judge
14
     Caproni appeared on C-SPAN3 during the time Sharp was Executive Producer and Programming
15
     Director. The subject of Judge Caproni’s appearance was a problem she described as the FBI
16
     “Going Dark”. This referred to the proliferation of digital communications technologies that
17

18   were becoming increasingly difficult for the FBI to penetrate and monitor in the due course of

19   criminal investigations. Starting in 2022, and continuing today, Twitter has come under
20
     increasing scrutiny as evidence released by its new management indicates that the FBI has
21
     inappropriately commandeered a troubling degree of control over first amendment protected user
22
     content published by American citizens on Twitter. It is important to note that Sharp became
23

24   Twitter’s first in history U.S. Government liaison only one year after Judge Caproni’s discussion

25   of the FBI’s concerns on C-SPAN3. In December 2022, Goodman released a comprehensive
26
     investigative report entitled “The Twitter Coup” (EXHIBIT F) in which he details well founded
27
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1    allegations that suggest an inappropriate, hidden relationship between Judge Caproni, Sharp, the
2
     FBI, and Twitter that was not disclosed during the case giving rise to the forthcoming 60(b)(3)
3
     motion alleging newly discovered fraud.
4
               VIII. Nina Jankowicz and the DHS Disinformation Governance Board
5

6              On or about April 27, 2022, Department of Homeland Security Secretary Alejandro

7    Mayorkas announced the creation of the Disinformation Governance Board and the appointment
8
     of Executive Director Jankowicz. Many Americans bristled at the announcement finding the
9
     concept of a government agency policing social media content and subjectively rejecting first
10
     amendment protected speech that Jankowicz found “lawful but awful” to be a gross abuse of
11

12   power and fundamentally unconstitutional. Goodman was one of those people. No process was

13   defined for adjudicating exactly what Jankowicz determined to be information or disinformation.
14
     By all measures the determination appeared to be arbitrary and left to Jankowicz in her sole
15
     discretion. Goodman published an investigative report on a YouTube channel established after
16
     the destruction of the Jason Goodman channel (“Crowdsource the Truth 5”) on or around May
17

18   16, 2022. The report contained information and evidence related to Jankowicz and her role at

19   DHS. Specifically, Goodman discovered public fillings made by Jankowicz that appeared to
20
     indicate she was receiving funds from foreign non-profit organizations funded by the British,
21
     Canadian, and Italian governments while she was working for the U.S. Government and policing
22
     the first amendment protected speech of American citizens. Goodman’s broadcast asked the
23

24   fundamental question why Jankowicz was not registered as a foreign agent pursuant to 22 U.S.

25   Code § 612, the Foreign Agent Registration Act (“FARA”). The following day, the video was
26
     permanently removed from YouTube, along with Goodman’s Crowdsource the Truth 5 channel
27
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1    with its over 10,000 subscribers. Separately, on the same day, a fraudulent complaint was filed
2
     with Patreon in violation of 18 U.S. Code § 1343, alleging Goodman had violated the rules
3
     against publishing private information. Two days later on May 18, 2022, Secretary Mayorkas
4
     announced the dissolution of the board and Jankowicz’ resignation.
5

6    (https://www.cnn.com/2022/05/18/politics/dhs-disinformation-board-paused/index.html).

7              Jankowicz claimed she had been the victim of disinformation but did not cite Goodman’s
8
     reporting and neither she nor the DHS denied Goodman’s claims or refuted the evidence he
9
     presented. Goodman alleges Jankowicz conspired with Sweigert to strategically attack
10
     Goodman’s Patreon account. Sweigert is specifically aware this account is used to process credit
11

12   card payments and represents a substantial portion of Goodman’s annual income. For years,

13   Sweigert has threatened Patreon with frivolous legal action related to Goodman’s posts on the
14
     site. It is unlikely Jankowicz would be aware of the comparatively obscure Patreon account and
15
     its inherent value to Goodman without being informed by Sweigert. Sweigert’s own web page
16
     features a photo of Jankowicz along with the message “call me”. (EXHIBIT G)
17

18             Goodman did not post personal information, nor did he post disinformation. Goodman

19   presented information contained in public filings he obtained from business records available on
20
     websites hosted by the Virginia Secretary of State and others, voluntarily filed by Jankowicz. In
21
     November 2022, Jankowicz returned to public view when the UK funded Centre for Information
22
     Resilience announced they had hired Jankowicz and that she had registered as a foreign agent,
23

24   (EXHIBIT H). This sequence of facts further supports Goodman’s allegations regarding

25   Jankowicz. Goodman’s primary business Twitter account (“@csthetruth”) which was followed
26
     by nearly 30,000 Twitter users had been permanently suspended due to the malicious efforts of
27
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1    Bouzy and Sweigert’s Cyber Militia members on or around March 18, 2022, in retaliation for
2
     filing this lawsuit and in violation of 18 U.S. Code § 1513. (EXHIBIT I)
3
               The account was reactivated under the new policies of Twitter’s new management in
4
     January 2023. Within hours of reactivation, Goodman posted several links to Crowdsource the
5

6    Truth videos that resulted in four new paid subscribers the same day, further demonstrating the

7    proximate damage caused by deliberate deactivation of Goodman’s social media accounts.
8
     Goodman also posted a link to his original report concerning Jankowicz’ failure to register as a
9
     foreign agent while employed by DHS and her subsequent November 18, 2022, FARA
10
     registration that confirmed Goodman’s initial reporting. Despite the fact that the FARA unit
11

12   explicitly states that it makes registration information available to the public to inform the public

13   about the activities of foreign agents within the United States, Jankowicz reiterated her
14
     fraudulent claim and filed a complaint with Twitter alleging Goodman had posted private
15
     information. Jankowicz’ claim resulted in the re-suspension of @csthetruth which remains
16
     deactivated today despite numerous appeals citing 22 U.S. code § 612 and its legal requirements.
17

18             Goodman alleges Jankowicz specifically calculated this fraud to conceal facts that U.S.

19   citizens have a legal right to know and that she would have further coordinated with Sweigert
20
     and or Bouzy to violate Goodman’s first amendment rights and increase damage to Goodman’s
21
     business property by informing Twitter to ignore the well-founded appeal and citations of law,
22
     by wrongfully deactivating @csthetruth once again. (EXHIBIT J)
23

24             This violation of 18 U.S Code § 1343 is another element in the consistent pattern of

25   racketeering the Enterprise has engaged in over the past five years with the express intent of
26
     harming Goodman. The tweet posted by Goodman contained a URL link to Jankowicz’ own
27
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1    public filing which included the address of a P.O. Box at a UPS Store in Arlington Virginia and
2
     not Jankowicz’s personal address. Even if Goodman referenced a filing containing a home
3
     address or other personal information, the decision to include such information in a public FARA
4
     registration would convert it into public information and legally mandate its disclosure pursuant
5

6    to the statute. Jankowicz deliberately deceived or otherwise coordinated with Twitter, with the

7    express intent of harming Goodman and in violation of law, for the purpose of seeking revenge
8
     against Goodman for revealing true facts that were disfavored by Jankowicz.
9
                                            FIRST CAUSE OF ACTION
10
                                                        Fraud
11

12             52. Plaintiff incorporates by reference each and every allegation set forth in the preceding

13                   paragraphs as if fully stated herein.
14
               53.      Defendants caused a fraudulent pleading to be transmitted to the U.S. District
15
               Court for the MIED in violation of 18 U.S. Code § 1343, 18 U.S. Code § 1503, and 18
16
               U.S. Code § 1513 when Loury altered the date of a pro se pleading filed with the Court
17

18             on June 21, 2021, attributed to Webb but authored by Loury at Sweigert’s direction.

19             54.      In furtherance of their fraud, Defendants brought legal action and submitted
20
               pleadings over the internet violating 18 U.S. Code § 1343 when Webb sued alleging
21
               privileged statements made in an Amicus Curiae brief were defamatory but provided no
22
               evidence to refute the well-founded allegations of document forgery and fraud.
23

24             55.      Plaintiff suffered special damages as a proximate cause of Defendant’s fraudulent

25             representations and malicious actions when he was compelled to travel to Detroit,
26

27
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1              Michigan at his own expense to attend a hearing directly related to Defendants’
2
               fraudulent acts at the orders of Judge Gershwin Drain and additional costs and fees.
3
               56.    Defendant Sharp violated 18 U.S. Code § 1343 when he transmitted a false
4
               statement to YouTube over the internet in the form of a fraudulent copyright
5

6              infringement complaint that he knew to be false at the time. Sharp did this with the

7              express intent of depriving Goodman of his property in the form of software and
8
               intellectual property Goodman stored on YouTube. Sharp engaged in this fraudulent
9
               behavior for the express purpose of damaging Goodman and denying access to property.
10
               57.    Defendants Sharp, ATAS, and Esquenet participated in a scheme to commit fraud
11

12             on the Court in violation of 18 U.S. Code § 1343 by initiating fraudulent litigation for an

13             improper purpose when they sued Goodman’s corporation in The National Association of
14
               Television Arts and Sciences v Multimedia System Design with the express intent of
15
               wrongfully denying Goodman his right to a fair trial, denying his access to the courts and
16
               denying his right to defend himself pro se.
17

18             58.    Defendant Esquenet violated 18 U.S. Code § 1343 when she knowingly

19             transmitted fraudulent pleadings to the Court in the course of litigation brough for a
20
               malicious purpose and the ulterior motive of damaging Goodman.
21
               59.    Defendants Sharp, ATAS, and Esquenet participated in a scheme to commit fraud
22
               on the Court in violation of 18 U.S. Code § 1343 by falsely claiming Sharp’s private, for-
23

24             profit corporation Sharp Things, LLC was inactive during the course of litigation in The

25             National Association of Television Arts and Sciences v Multimedia System Design.
26

27
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1              60.    Defendant Jankowicz violated 18 U.S. Code § 1343 when she knowingly
2
               transmitted a fraudulent privacy complaint to Patreon.com over the internet with
3
               malicious intent to destroy Goodman’s business property and terminate his access to a
4
               credit card payment processing account his subscription video business relied upon.
5

6              61.    Defendant Jankowicz violated 18 U.S. Code § 1343 when she knowingly

7              transmitted a fraudulent privacy complaint to Twitter.com over the internet with
8
               malicious intent to destroy Goodman’s business property and terminate his access to a
9
               valuable branded social media account she knew Goodman’s business relied upon.
10
                                       SECOND CAUSE OF ACTION
11

12                                                 Defamation

13             62.    Plaintiff incorporates by reference each and every allegation set forth in the
14
               preceding paragraphs as if fully stated herein.
15
               63.    Defendants Webb, Sweigert and Bouzy defamed Goodman when they knowingly
16
               published false and defamatory statements about the Plaintiff to third parties on Twitter
17

18             and elsewhere on the internet when they made claims likely to cause third parties to

19             believe Goodman stood accused of raping Sports Illustrated supermodel Halima Aden, an
20
               individual who has never made such claims and who Goodman has never met.
21
               64.    Defendants Webb, Sweigert and Bouzy defamed Goodman when they knowingly
22
               published false and defamatory statements in general that accused Goodman of rape
23

24             when they knew such statements to be false and inherently damaging per se libel.

25             65.    The Defendants made these statements to third parties knowing they were false
26
               and without privilege, while deliberately ignoring the true facts of the matter.
27
     AMENDED COMPLAINT FOR FRAUD, DEFAMATION, ABUSE OF PROCESS, CIVIL
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1              66.    Defendants made these statements with actual malice, and with intent to expose
2
               Goodman to public hatred and loss of professional and personal reputation with the
3
               express intent of damaging Goodman in his business and profession.
4
               67.    Defendant Bouzy defamed Goodman when he knowingly published false
5

6              conclusory statements to third parties on Twitter declaring Goodman had falsely accused

7              Wittes of deliberately misleading the public with regard to the death of Peter W. Smith.
8
               68.    Defendant Bouzy made these defamatory statements with the full knowledge that
9
               Goodman is a professional investigative journalist and his reputation for truthfulness is
10
               inherently valuable in his profession.
11

12             69.    Defendant Bouzy made these statements even though he himself agreed in a

13             phone call that the death was suspicious and the police investigation was superficial.
14
               70.    Defendant Bouzy made these statements with actual malice and the express intent
15
               of damaging Goodman in his professional reputation and causing proximate pecuniary
16
               damages to Goodman.
17

18             71.    At the time the Defendants made the statements, they knew the statements to be

19             false and defamatory or alternately, chose to deliberately ignore the truth.
20
               72.    Defendants made these false and defamatory statements with actual malice, and
21
               the express intent to malign and injure the Plaintiff.
22
               73.    Defendant Bouzy has hundreds of thousands of Twitter followers, dozens of
23

24             which read, and acknowledged or responded to Defendants’ false and defamatory

25             statements clearly indicating they had been published to third parties without privilege or
26
               authorization.
27
     AMENDED COMPLAINT FOR FRAUD, DEFAMATION, ABUSE OF PROCESS, CIVIL
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1                                            THIRD CAUSE OF ACTION
2
                                                    Abuse of Process
3
               74.    Plaintiff incorporates by reference each and every allegation set forth in the
4
               preceding paragraphs as if fully stated herein.
5

6              75.    Defendant Sweigert abused regularly issued civil process with the intent to harm

7              Goodman without a legitimate excuse or justification, and perverted use of the process to
8
               achieve the collateral objective of destroying Goodman’s business and overwhelming
9
               him with vexatious litigation when he brought multiple civil actions and attempted to
10
               intervene in existing civil actions against Goodman across a wide range of U.S. District
11

12             Courts including South Carolina, the Southern District of New York, the Eastern District

13             of Michigan and the Eastern District of Virginia.
14
               76.    Defendant Sharp abused regularly issued civil process with intent to harm
15
               Goodman when he endeavored to create a fraudulent excuse in his wrongful attempt to
16
               justify vexatious litigation against a company owned by Goodman for a parody image
17

18             posted on the internet by Goodman in violation of 47 U.S. Code § 230. Sharp perverted

19             the use of the process and applied the power of the Court in a manner not intended by the
20
               law to achieve the collateral objective of destroying Goodman’s popular subscription
21
               video service for the improper purpose of preventing Goodman from broadcasting during
22
               the 2020 election. Sharp did this with malicious intent and for the improper purpose of
23

24             his own political and financial benefit and that of his preferred Presidential candidate.

25             77.    Defendants violated 18 U.S. Code § 1503 when Sweigert harassed Snyder, the
26
               attorney retained to represent Goodman’s corporation. Defendants abused regularly
27
     AMENDED COMPLAINT FOR FRAUD, DEFAMATION, ABUSE OF PROCESS, CIVIL
28   CONSPIRACY, AND RACKETEERING
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1              issued civil process with intent to harm Goodman for the express purpose of denying him
2
               the right to a fair trial and the right to defend himself pro se causing proximate harm to
3
               Goodman in the form of significant financial damages, damages to his business and
4
               reputation, and loss of property in the form of his valuable branded social media accounts
5

6              that his business relied upon.

7                                               Fourth Cause of Action
8
                                                    Civil Conspiracy
9
               78.    Plaintiff incorporates by reference each and every allegation set forth in the
10
               preceding paragraphs as if fully stated herein.
11

12             79.    Defendants Sweigert, Sharp, ATAS, and Esquenet entered into a civil conspiracy

13             when they agreed to create a pretext under which they intended to sue a corporation
14
               owned by Goodman for an internet post made by Goodman in his personal capacity in
15
               violation of 47 U.S. Code § 230 and with the express intent of harming Goodman and
16
               extorting him into ceasing news broadcasts during the 2020 Presidential election.
17

18             80.    In furtherance of the civil conspiracy, Sweigert caused an email to be sent from an

19             allegedly anonymous email address in violation of 18 U.S. Code § 1343 with the express
20
               intent of creating a pretext for a lawsuit against a corporation owned by Goodman that
21
               Sharp, ATAS, and Esquenet had no knowledge of prior to entering the conspiracy with
22
               Sweigert. The conspiracy caused acute proximate pecuniary damage to Goodman by
23

24             forcing him to retain an attorney who failed to defend Goodman’s corporation according

25             to Goodman’s instructions and then withdrew as a direct result of harassment by the
26

27
     AMENDED COMPLAINT FOR FRAUD, DEFAMATION, ABUSE OF PROCESS, CIVIL
28   CONSPIRACY, AND RACKETEERING
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1              Enterprise. Defendants calculated their actions specifically to harm Goodman or
2
               otherwise should have known his injuries were a foreseeable result of their conspiracy.
3
               81.    Defendants Webb and Sweigert entered into a civil conspiracy with non-party
4
               Loury in violation of 18 U.S. Code §§ 1343 and 1513 when they caused a fraudulent
5

6              document to be filed with the Court in the Eastern District of Michigan.

7              82.    Defendants did this with the express intent of harming Goodman by denying him
8
               his rights to a fair trial and with the express intent of damaging Goodman with costs and
9
               fees associated with defending malicious, vexatious litigation.
10
               83.    Defendants committed this overt act, knowing the case would otherwise be
11

12             dismissed if not for the conspiracy to file the fraudulent document. Defendants

13             proceeded with the full knowledge that their actions would proximately damage
14
               Goodman and they did so with malicious intent.
15
               84.    Defendants knew or otherwise should have known the actions of their conspiracy
16
               would harm Goodman in the form of pecuniary damages due to burdensome litigation.
17

18             85.    Defendants Sweigert and Webb engaged in a pattern of racketeering activity

19             beginning in 2017 and including the creation and operation of an association in fact
20
               enterprise consisting of multiple individuals including each Defendant and additional
21
               non-parties to this case.
22
               86.    Defendants Sweigert and Webb engaged in a pattern of racketeering activity,
23

24             which included extortion, and fraud, with the express intent of harming Goodman.

25

26

27
     AMENDED COMPLAINT FOR FRAUD, DEFAMATION, ABUSE OF PROCESS, CIVIL
28   CONSPIRACY, AND RACKETEERING
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1              87.     Defendants Sweigert and Webb enlisted each of the other defendants to cooperate
2
               with them for a common purpose and towards a common goal of damaging Goodman and
3
               wrongfully denying him access to his property.
4
               88.     The Defendants racketeering was proximately related to the Enterprise and
5

6              furtherance of the various conspiracies it engaged in as set forth herein.

7              89.     The Defendants’ racketeering activity affected interstate commerce by
8
               proximately damaging Goodman in the state of New York while utilizing coconspirators
9
               in New Jersey, Connecticut, Washington D.C. and other states and also through the
10
               transmission of false statements over the wires of the internet and or phones to service
11

12             providers and social media platforms in California, Wyoming and New Hampshire.

13             90.     Defendants Webb, Bouzy and Jankowicz at a minimum, derived income as a
14
               direct or indirect result of their participation in the Enterprise.
15
               91.     Defendant Wittes invested money derived directly or indirectly from his
16
               involvement with the Enterprise when he financed the civil defense of Bouzy and Bot
17

18             Sentinel by retaining Ballard Spahr attorneys Berlin and Mishkin.

19             92.     Plaintiff Goodman suffered reputational damage and substantial pecuniary
20
               damage to his business and his valuable branded social media properties as a proximate
21
               result of the Defendants’ racketeering activity.
22
                                             PRAYER FOR RELIEF
23

24             WHEREFORE, Plaintiff prays the Court will enter judgement in his favor and issue an

25   order for the following relief:
26
               1. Declaring that the Defendants statements were libelous and defamatory.
27
     AMENDED COMPLAINT FOR FRAUD, DEFAMATION, ABUSE OF PROCESS, CIVIL
28   CONSPIRACY, AND RACKETEERING
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1              2. Declaring Defendants vexatious litigants and mandating that each first seek leave
2
                  of this Court before bringing future litigation against Goodman or any company
3
                  owned or utilized by Goodman effective immediately and on into perpetuity.
4

5              3. Granting an order compelling Defendants ATAS, Sharp and Esquenet to issue a

6                 public apology to be approved by Goodman prior to publication admitting to their
7
                  wrongdoing and absolving Goodman and MSD of false claims. The release is to be
8
                  issued in the Hollywood Reporter, Variety, and Bloomberg Law and must occupy
9

10                at least as much editorial space as the September 4, 2020 article entitled

11                “Television Academy Sues After Emmy Statuette Given Coronavirus”
12
               4. Granting Goodman relief for money damages for all economic losses
13
                  including, but not limited to, lost past and future earnings; and for
14

15                compensatory damages; and for punitive damages; and for interest at the

16                maximum legal rate on all sums awarded; and for such other and such further
17
                  relief as the Court deems just and proper.
18

19

20   Signed this 17th day of January 2023

21   Respectfully submitted,
22
                                       ____________________________________________________
23                                                              Jason Goodman, Plaintiff, Pro Se
                                                                          252 7th Avenue Apt 6s
24                                                                        New York, NY 10001
                                                                                 (323) 744-7594
25
                                                                  truth@crowdsourcethetruth.org
26

27
     AMENDED COMPLAINT FOR FRAUD, DEFAMATION, ABUSE OF PROCESS, CIVIL
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       Jason Goodman George Webb Cyber
       Stalking Alt-Right DEFANGO Robert
       David Steele Larry Klayman




All Posts                                                                         Log in / Sign up




                                                  [SDNY] Hindenburg Lawfare: the
                                                  Jason Goodman v. Chris Bouzy
                                                  disaster court les




                                                  [SDNY] Jason Goodman's mysterious
                                                  choking attack, "we have no record"
                                                  says NYPD




                                                  [SDNY] Tavistock social engineering
                                                  exposed by #LAWTUBE lawyers guided
                                                  by Jason Goodman
                                                                                 Let's Chat!
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                                      [SDNY] #LAWTUBE rape culture in
                                      Chris Bouzy, Jason Goodman and
                                      George Webb lawsuit




                                      [SDNY] Rape allegations won't go
                                      away for Jason Goodman and Chris
                                      Bouzy SDNY lawsuit




                                      [SDNY] Fans fear Jason Goodman may
                                      slip into a depression after the loss of
                                      Pu the Magic Dragon
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                                      [SDNY] TWITTER BUFFS ZERO IN ON
                                      "VITAL COUNTER POLICY" DEFENSE
                                      FOR CHRIS BOUZY - BOT SENTINEL




                                      [SDNY] FURIOUS LARP LAWFARE AS
                                      CHRIS BOUZY FOLLOWS CEASE AND
                                      DESIST SCRIPT




                                      [SDNY] New Jersey Attorney General
                                      apparently getting privacy complaints
                                      about Chris Bouzy




                                      [SDNY] Deja Vu "LawTube" community
                                      a ame with Chris Bouzy & Bot
                                      Sentinel vicarious liability talk
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                                      [SDNY] Jason Goodman enemy
                                      Christopher Bouzy in lawsuit
                                       restorm over Twitter fraud




                                      [SDNY] Virginia court rules against
                                      Jason Goodman, Robert David Steele
                                      lawsuit moves forward




                                      [SDNY] Crazy Conspiracy Theorist
                                      Jason Goodman exploiting more
                                      insane viewers on 9/11-THON for cash
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                                      [SDNY] LBRY, INC., ODYSEE
                                      HOLDINGS, INC., and Jason Goodman
                                      to be sued for racketeering




                                      [SDNY] George Webb's e orts to
                                      obtain Special Master for Trump
                                      explained in Atlanta federal court




                                      [SDNY] PFC Patrick Bergy orbits
                                      possible Wall Street blood bath using
                                      I.I.A. software on 9/11/2022




                                      [SDNY] The dark gures of Odysee
                                      and LBRY exposed by REUTERS --
                                      Jason Goodman poster child
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                                      [SDNY] Crypto's LBRY, Inc and the
                                      skeleton in the closet of Josh Finer,
                                      MBA ("the well born few")




                                      [SDNY] Should NYC issue a concealed
                                      gun permit to alleged sadist Jason
                                      Goodman of Chelsea




                                      [SDNY] Jason Goodman ordered to
                                      Detroit by Judge Gershwin Drain --
                                      road trip from hell
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                                      [SDNY] Russian doomsday agents run
                                      lawsuit cover-up of Crimean-Congo
                                      hemorrhagic fever outbreak




                                      [BREAKING] - MASS ARRESTS
                                      PLANNED FOR CLERK OF COURT STAFF
                                      AUGUST 4TH, FREE HOT DOGS




                                      [SDNY] Jason "Peter Pansexual"
                                      Goodman faces doom after George
                                      Webb's Meghan "Crazy Ivan" Markle




                                      [SDNY] Over-con dent Jason "Peter
                                      Pan" Goodman blind-sided by George
                                      Webb's change of venue
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                                      [SDNY] BREAKING: GEORGE WEBB
                                      TELLS JUDGE HE HAS COVID-19 TO
                                      AVOID JASON GOODMAN




                                      [SDNY] Federal Judge Valerie E.
                                      Caproni throws Jason Goodman's
                                      lawsuit in the trash bin




                                      [SDNY] GETTR lawsuit over Jason
                                      Goodman's videos heats up -- another
                                      ODYSEE default?
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                                      [SDNY] Jason Goodman and ODYSEE
                                      now in default -- Mr. Counter Lawfare
                                      Fail




                                      [SDNY] Christopher Bouzy releases
                                      the lawyer hounds on ole' Jason
                                      Goodman - NOW IN DEFAULT




                                      [SDNY BOMBSHELL] GEORGE WEBB
                                      FACES DEALEY PLAZA ON 7/20/2022
                                      IN S.D.N.Y. (DALLAS)
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                                      [SDNY] PATREON walks into so-called
                                      litigation chainsaw with allegations of
                                      racketeering




                                      [SDNY MORGUE] Jason Goodman's
                                      trail of mental health incidents:
                                      terrorizing women




                                      [SDNY WHITE HOUSE] Vice President's
                                      Task Force gets FULL REPORT on
                                      MEGHAN MARKLE




                                      [SDNY] Kamala Harris Task Force will
                                      be fully briefed on Christopher E.
                                      Bouzy and George Webb
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                                      [USCG] Have a good "dirty bomb
                                      hoax" laugh at the Port of Charleston
                                      on June 14th, 2017




                                      [SDNY ALERT] SPUTNIK wife beater
                                      Lee Stranahan loses defamation
                                      lawsuit, can you spell l o s e r ?




                                      [RUSSIAN DOOMSDAY] IS A NUCLEAR
                                      EVENT, A LA PORT OF CHARLESTON, IN
                                      OUR FUTURE?
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                                      [ALERT SDNY] Russian friendly Jason
                                      Goodman kicked o YouTube -- two
                                      more channels term'ed




                                      [ALERT SDNY] Judge issues orders in
                                      "Amber Heard" Christopher E. Bouzy
                                      @cbouzy lawsuit




                                      [ALERT DHS] JASON GOODMAN
                                      REPORTED TO FEDS -- 3 TWITTER
                                      ACCOUNTS TERM'ED
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            Sunday, June 11, 2017



            Researchers Being Attacked By Crowdsource The Truth Member
            Jason Goodman: Credibility Called Into Question
            Good morning,

            Today is Sunday, June 11, 2017.

            I am providing this video and a written response as a matter of public record, in response to a video uploaded and broadcast on the
            social media platform YouTube on this date approximately four and a half hours ago, entitled “Deep State Attack on George Webb &
            Crowdsource the Truth”.




            Like almost all of you watching this video, and indeed, the ones uploaded by either George Webb or Jason Goodman and any
            subsequent livestreams either individually or collectively (also known as “Crowdsource the Truth” hereinafter referred to as CTT), I
            believe that we all would like to see the rapid apprehension and prosecution for the persons responsible for either the murder or
            disappearance of the individual we have come to know as “Seth Rich”. For many, the story of Seth Rich and his alleged homicide
            evokes a visceral reaction for justice. I concur with the need for justice in the case of any unsolved homicide, abduction, or any other
            capital offense or felony. After all, we are a “nation of laws” in the United States of America, and it is woven within our founding father’s
            words of wisdom that all people shall enjoy "Life, Liberty and the Pursuit of Happiness".

            Disturbingly, on this date, and prior to this date, a trend had been developing on both Mr. Webb’s and Mr. Goodman’s channels and
            the videos they have been uploading: what had at first seemed like a novel idea to “storyboard” and “crowdsource” an open
            investigation into potential crimes committed against innocent Americans by a host of entities and individuals that have been named by
            Mr. Webb and Mr. Goodman within their video content, has crossed into the realm of what I consider highly unethical, dangerous, and
            potentially illegal behavior. It is for these reasons that I can no longer sit idly by as Mr. Webb and Mr. Goodman utilize various
            psychological tactics to illicit responses from their viewers.

            While Americans enjoy a “Free Press” and the right to ensure that those who have committed crimes are held accountable, there are
            well established methods and processes to ensure that information is accurately reported, and those accused of potential crimes are
            afforded due process. In America, we are free to say what we like, without fear or prejudice, as long the safety of others or their civil
            rights is not violated. Regarding the Rule of Law however, there are a host of safeguards in place to ensure that the right person is
            tried for the right crime and is judged by a jury of their peers utilizing constitutional protections. For this reason, and almost this reason
            alone, America has been one of the beacons of liberty around the globe since our nation was founded.

            In the video broadcast earlier today, Jason Goodman issued what I believe was designed to be a “call-to-action” video: that is, he
            created it with the intent to utilize psychological tactics to illicit a response. The average person may not be aware such tactics are
            being utilized. This is understandable as they are very subtle by design. I believe the purpose of Jason's video was to encourage
            others to start investigating a person known on YouTube as “Defango”, also known as Manuel Chavez. However, there are implied
            messages as well, as you will see throughout this call-to-action video. This is how I perceived the messaging in the above named
            video, and while it is impossible for me to state with certainty that was Mr. Goodman’s intent, perception is reality in many instances.
            Thus, a reasonable person may likely draw the same conclusions I have regarding the intent of his video.



            It should be noted that while Mr. Goodman has made it clear that his relevant employment history and experience is comprised of the
            creation of 3D Stereoscopic cameras and/or other inventions for Hollywood filmmaking, Mr. Goodman has never indicated former
            employment or experience in the fields of journalism, law enforcement, or the legal profession at large. This is an important distinction
            because he very likely lacks the fundamental and basic education required to conduct a large-scale investigation into criminal activities
            as the CTT library entails. It should also be noted that at no time have I witnessed Mr. Webb state that he possesses the requisite
            professional training to conduct criminal investigations in the same manner.

            In reviewing the library and archived video evidence that both Mr. Webb and Mr. Goodman have catalogued on their channels, there is
            ample evidence that lack of appropriate training in investigations and law enforcement easily places the public at risk. In no particular
            order, and by no mean a comprehensive list, some of the more obvious issues may be:


                  1. Implicating or accusing an innocent person of wrong-doing, including being part of a criminal conspiracy;
                  2. Revealing the identity of an otherwise private individual with no knowledge of the investigation to the Crowdsource audience;
                  3. The potential for over-eager and inexperienced “researchers” to commit acts of harassment towards innocent persons;
                  4. The potential for large numbers of viewers to contact family, friends, co-workers of the stated victims (which would fall under
                     the aforementioned harassment issue)
                  5. The potential for inexperienced investigators to place themselves into dangerous scenarios during the canvassing and
                     interviewing of potential witnesses;
                  6. Exposing actual witnesses of a criminal investigation where their protection might otherwise be afforded by law;
                  7. The inherent lack of ability to control the direction of the investigation, all of which could compromise or undermine actual
                     investigations currently underway


            In contrast, I am publishing this as a matter of record from the viewpoint of a person who has been employed as a law enforcement




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          official, although it is not my current profession. Currently, I am licensed and Board Certified healthcare practitioner able to assess and
          treat conditions, injuries, and illnesses across the age spectrum, including mental health. It is both my prior and current occupations
          that afford me the insight, formal training, and ability to detect even subtle nuances in the human condition the average person might
          overlook.


          I understand that my assessment will be met with resistance from many. I accept that many of you will continue to follow Mr. Goodman
          and Mr. Webb regardless of the information I provide. However, it is my hope that those who may feel compelled to take any actions
          against any individuals named within this video, or any prior or subsequent videos that Mr. Webb, Mr. Goodman, or their “Associates”
          produce and publish, will pause and think through the ramifications if the actions taken are based off of faulty investigative techniques,
          lack of appropriate citations, sources and methods during their investigation, and not least of all, the potential criminal and civil rights
          violations that might incur as a result of actions taken simply because Mr. Goodman has created a sense of urgency. The case of Seth
          Rich is nearing the one-year mark since the alleged crime has occurred. Urgency has long since passed, and this investigation is now
          in the long-haul phase where accurate and methodical law enforcement tactics should be used to bring those who committed the
          crimes against Seth Rich to justice.


          Based on viewer reactions to the George Webb / Jason Goodman video series, and based on a variety of videos now being published,
          many of which touch upon the topic of what appears to be a somewhat reckless and potentially dangerous crowdsourced investigation
          process, it is my opinion that other individuals are detecting something amiss with the ethics of CTT's crowdsourced investigation.


          Posted by Scott Anthony at 7:12:00 PM
          Reactions:




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                        connection to web.archive.org.
          Links to this post
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          Labels: Agent19 , George Webb , Intelligence , Investigation , Jason Goodman , Montagraph , Online , Open
          Source , Persona , Review




          Wednesday, June 7, 2017



          Ex-FBI Director James Comey Releases His Opening Statement Prior
          To June 8th Hearing Before Congress
                                                               - BREAKING NEWS ITEM-
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                                                      Department of State
                                                       Division of Corporations

                                                      Entity Assumed Name History

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 Entity Details


ENTITY NAME: MULTIMEDIA SYSTEM DESIGN, INC.                                   DOS ID: 1830828
FOREIGN LEGAL NAME:                                                           FICTITIOUS NAME:
ENTITY TYPE: DOMESTIC BUSINESS CORPORATION                                    DURATION DATE/LATEST DATE OF DISSOLUTION:
SECTIONOF LAW: 402 BCL - BUSINESS CORPORATION LAW                             ENTITY STATUS: ACTIVE
DATE OF INITIAL DOS FILING: 06/21/1994                                        REASON FOR STATUS:
EFFECTIVE DATE INITIAL FILING: 06/21/1994                                     INACTIVE DATE:
FOREIGN FORMATION DATE:                                                       STATEMENT STATUS: PAST DUE DATE
COUNTY: NEW YORK                                                              NEXT STATEMENT DUE DATE: 06/30/1996
JURISDICTION: NEW YORK, UNITED STATES                                         NFP CATEGORY:


                             ENTITY DISPLAY   NAME HISTORY    FILING HISTORY          MERGER HISTORY   ASSUMED NAME HISTORY




 Search




     File Date           Assumed Name                                        Assumed Name ID               Status               Principal Location

     10/10/2002          21ST CENTURY 3D                                     206900                        Active
     05/15/1998          MULTIMEDIA SOFTWARE DESIGN                          206899                        Active

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            Integration of cyber security incident response within
                  holistic incident management systems to
          strengthen resiliency of the nation's critical infrastructure

                                              Part two of a series
                                                  June2013

                       Author: Dave Sweigert, M.Sci., CISSP, CISA, PMP

                                                   ABSTRACT

Response and recovery methods for severe cyber security incidents need
traceable integration within incident management systems, which should be
offered as a tool-set within the Executive Order 13636 Cybersecurity Framework.



Background                                                  (CIKR)2, albeit via voluntary compliance
                                                            with a new Cybersecurity Framework
In September 2010, a 30-inch diameter
                                                            (CSF)).
natural gas pipeline exploded near a
residential neighborhood of San Bruno,
                                                            E.O. 13636 seeks to "explore the use of
California. A fire followed which quickly                   existing regulation to promote cyber
engulfed nearby homes. As the site was                      security'     while "understanding the
two miles West of San Francisco Airport                     cascading consequences of infrastructure
initial responders believed a jetliner had                  failures..3'·.This paper intends to meld
crashed in the area. It took the private                    both goals to better explore ways in which
operator, PG&E 90 minutes to shut off                       existing policy frameworks can be
the gas after the explosion.                                leveraged to further particularize the CSF
                                                            with practical solutions.
Preventing severe incidents caused by
technology is one of the goals of the
White House as expressed in Executive
                                                            2
Order 136361 . E.O. 13636 seeks to                           Critical Infrastructure: Assets, systems and
                                                            networks, whether physical or virtual, so vital to the
strengthen the protection of Critical                       United States that the incapacity or destruction of
Infrastructure and Key Resources                            such assets, systems or networks would have a
                                                            debilitating impact on security, national economic
                                                            security, public health or safety, or any combination
                                                            of those matters.
1
  Executive Order - Improving Critical Infrastructure       Key resources: Publicly or privately controlled
                                     z.
Cybersecurity, 2/12/2013. See: Sec. Baseline                resources essential to the minimal operations of the
Framework to Reduce Cyber Risk to Critical                  economy and the government.
                                                            3
Infrastructure                                                  Presidential Polic.yDirective (PPD) 21

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Industry check-box attitudes                        about          To illustrate, the static GIP standard
cyber-security compliance                                          009, "Recovery Plans for Critical Cyber
                                                                   Asset!", requires the creation of a
Although CSF is voluntary in nature,                               "recovery plan" for "cyber assets". CIP-
some private sector operators of CIKR                              009 does not require integration of such
have voiced their concern that severe                              a stand-alone recovery plan within the
incidents may require cohesive and                                 organization's overall severe incident
coordinated    rapid    response    and                            response. So, cyber-incident escalation
recovery, which is not addressed by                                triggers that activate other response
technology-based      standards    (see                            plans may or may not be addressed.
responses to the U.S. National Institute
of Standards and Technology (NIST),                                To be CIP-009 compliant, an entity only
Request for Information (RFl) 4).                                  needs a cyber-incident response9 plan
                                                                   to react to cyber hygiene focused
Real CIKR resiliency may require                                   events;     e.g.   sabotage    reporting,
examination of how an organization's                               privilege escalation, security perimeter
response capabilities align with public or                         breaches, etc. However, a response
private partners and understanding                                 team may need visibility into the
those functional interdependencies.                                cascading consequences caused by
                                                                   network or system outages on critical
In contrast, the Critical Infrastructure                           infrastructure and may need to
Protection (CIP)5 Reliability Standards                            understand when and how to trigger a
program (a Bulk Electric System (BES)                              larger response to the unfolding event.
industry6 framework) has imposed a fine-
based compliance scheme on the BES
                                                                   comprehensive and effective cybersecurity. Specifically,
industry. GIP critics complain it is an                            experts told us that utilities focusing on achieving
administrative-based set of disjointed                             minimum regulatory requirements rather than designing a
                                                                   comprehensive approach to systems security. In addition,
standards which foster a "check the box                            one expert stated that security requirements are
mentality" and has failed in achieving                             inherently incomplete, and having a culture that views the
                                                                   security problem as being solved once those requirements
tangible "comprehensive and effective                              are met will leave an organization vulnerable to cyber
cybersecurity."7                                                   attack. Consequently, without a comprehensive approach
                                                                   to security, utilities leave themselves open to unnecessary
                                                                   risk." United States Government Accountability Office,
4 Docket No. 130208119-3119-0l, Industry responses to
                                                                   Electricity Grid Modernization Progress Being Made on
NIST Request for Information.                                      Cybersecurity Guidelines, but Key Challenges Remain to be
s North American Electric Reliability Corporation's (NERC)         Addressed (Report to Congressional Requesters), GAO-11-
Critical Infrastructure Protection (CIP} Standards for Cyber       117 (Washington, DC: U5. Government Accountability
Security                                                           Office, January 2011), 23,
6
http://www.nerc.net/standardsreports/standardssu
mmary.aspx                                                         http://www.gao.gov/products/GA0-11-117.
7
   'Utilities are focusing on regulatory compliance instead
                                                                   8
of comprehensive security. The existing federal and state           http://www.nerc.com/files/CIP-009-3.pdf
                                                                   9
regulatory environment creates a culture within the utility         Computer Security Incident Response Capability (CSIRC)
industry of focusing on compliance with cybersecurity              or team (as defined within NIST Special Publication 800-
requirements, instead of a culture focused on achieving            61)

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Alignment of the Cl P-009 plan with other                      " ..An IMS is designed to enable effective
planning documents may be a prudent                            and      efficient   domestic     incident
objective; e.g. integration with the                           management         by    integrating     a
Emergency Operations Plan (governed                            combination of facilities equipment,
by yet another BES standard, the EOP-                          personnel,         procedures,        and
001 Emergency Operations Planning10                            communications operating within a
standard).                                                     common organizational structure ... "

Incident management system (IMS) a                             An IMS creates a response structure
more fully integrated approach                                 that can respond to dynamic conditions
                                                               associated with severe incidents. It
The National Infrastructure Protection                         represents a doctrine and set of
Plan (NIPP) Energy Sector Specific Plan                        principles to organize response activities
(2010) states as a goal the need to                            and capabilities.
achieve "comprehensive emergency
disaster, and continuity of business                           Summary
planning"11 .
                                                               Cyber-centric response activities can be
Severe incident response can be                                integrated within an IMS approach to
managed with an incident management                            guide the creation of a holistic capability
system (IMS) to "direct control and                            that can respond to severe incidents.
coordinate response and recovery                               NFPA 1600 may provide private and
operations."12                                                 public operators with the guidance they
                                                               need to integrate cyber-response plans
An approach endorsed by Congress13                             into a holistic response framework.
and the U.S. Department of Homeland
Security14 is contained in the National                        About the author: Dave Sweigert is a
Fire Prevention Association (NFPA)                             Certified Information Systems Security
Standard 1600 (Disaster/Emergency                              Professional       Certified  Information
Management and Business Continuity                             Systems Auditor Project Management
Programs); quoted in relevant part:                            Professional and holds           Master's
                                                               degrees in Information Security and
                                                               Project Management.           He is a
                                                               practitioner of IMS principles in his role
10
     http://www.nerc.com/files/EOP-001-0_1 b.pdf               as a volunteer Emergency Medical
11
 2010 Energy Sector-Specific Plan, Page 8                      Technician and has attended more than
12
     National Fire Protection Standard 1600, Standard on
                                                               500 hours in IMS related training. He
Disaster/Emergency Management and Business Continuity
Programs.                                                      specializes in assisting organizations in
13
   Intelligence Reform and Terrorism Prevention Act of         institutionalizing NFPA 1600 into their
2004
14
   June 2010, OHSSecretary Napolitano formally adopts          cyber response plans.
NFPA1600 as a standard.

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            Expanding the role of National Guard Cyber Units
               to support disaster response and recovery
                    and make a Cyber Militia a reality

                                    January 2014

                 Author: Dave Sweigert, M.Sci., CISSP, CISA, PMP

                                     ABSTRACT

Private organizations would be well advised to be aware of the involvement of
National Guard cyber warfare units in responding to attacks on critical
infrastructure. Increased interaction with Guard units may be appropriate for
entities concerned with community-wide cyber resiliency.

Background                                     accomplish political objectives.  The
                                               Chinese Eagle Union Hacker Group is
This year the passage of the National          one example of a “Cyber Militia”.
Defense Authorization Act (NDAA) by
the U.S. Congress (used to supply the          Attacks launched by such groups that
Pentagon with another year’s budget)           breach network cybersecurity are
came     with   cybersecurity  strings         classified as “cyber warfare” by the
attached – the requirement for a               Pentagon. Doomsday scenarios predict
comprehensive domestic cyber warfare           everything from massive failures of the
assessment of how the National Guard           power grid to the destruction of medical
would support defensive cyber warfare          data as a consequence of an act of
operations and support missions of the         cyber war by such groups, creating
U.S. Department of Homeland Security.          “cyber anxiety”.

In sum, there is likely to be a new            Many observers have suggested that
cybersecurity player in the Critical           the language of the 2014 NDAA is a Dr.
Infrastructure – Key Resources (CIKR)          Strangelovian attempt to “close the
arena, the National Guard.                     cyber militia gap” and keep up with the
                                               creation of such militias in Russia, Iran,
Is this the creation of a Cyber Militia?       and North Korea.
Cyber Militias: these are non-state            Cyber Warfare:      Both the National
sponsored collections of volunteers that       Guard Bureau (NGB) and the National
can act in a militant offensive and            Governor’s Association (NGA) have
defensive manner in cyber space.               openly endorsed the idea of Guard units
These groups can be loosely organized          engaged in civilian defensive cyber
and operate with technical know-how to         warfare operations.

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Domestic Cyber Missions                         The Whole Community Approach to
                                                Preparedness promoted by Presidential
Until now, the number of Guard units            Policy Directive 8 (PPD-8: National
involved in civilian cybersecurity events       Preparedness) is a comprehensive and
could be counted with one hand.                 integrated approach to community
Examples:                                       preparedness for disasters – to include
Prior to the 2010 Winter Olympics the           man made cyber events and their
network supporting Washington State’s           cascading consequences.
Division of Motor Vehicles (DMV) was            The increased interaction of public
assessed by a Guard cyber warfare unit.         safety agencies and private entities with
Networks      supporting    the    2012         these National Guard cyber units in
Presidential Inauguration were protected        support of PPD-8 should be addressed
by such units and State networks                by the Pentagon. Alignment of Guard
supporting Emergency Management                 cyber capabilities to jointly respond with
(E.M.) activities have also been                other Whole Community partners in a
accessed by these groups.                       realistic approach to a CIKR cyber event
Such activities fall within the National        (and       the    associated      potential
Prevention Framework “cybersecurity”            downstream effects on public utilities,
category as a PROTECTION capability.            medical facilities, transportation arteries,
                                                etc.) should be planned for.
With the desire of Congress to “close
the gap” the scope of such support by           Joint planning would help define how
Guard units in domestic cyber missions          these Guard units could more effectively
could be expanding.         Cascading           interface with other response agencies
consequences created by a cyber event           during cyber events and disasters. This
are addressed within the National               would give Congress the Cyber Militia
Response       Framework      as     a          capability they are searching.
RESPONSE and RECOVERY activity.                 About the author: Dave Sweigert holds
State Governors could certainly activate        certifications as a Certified Information
such units during man-made cyber                Systems Security Professional, Certified
disasters and to support response and           Information Systems Auditor, and
recovery operations in natural disasters,       Project Management Professional. He
as well as provide support to the U.S.          has earned Master’s degrees in
Department of Homeland Security                 Information     Security    and    Project
missions. However, only a handful of            Management. An Air Force veteran, he
such states have these elite cyber              is a practitioner of cybersecurity,
warfare units.                                  incident     management      and    CIKR
                                                protection. He has consulted to Kaiser
Integration with the Whole                      Permanente, J2 Global, NASA and the
Community Concept                               U.S. Army.
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                 How to take down the 911 call center
                                 -- or --
         The integration of ESF 18 with NFPA 1221, Chapter 13

                                   October 10, 2015

         Author: Dave Sweigert, M.Sci., CISA, CISSP, HCISPP, PMP, SEC+



                                      ABSTRACT

HYPOTHESIS: The next Boston Marathon style attack will be a blended operation
that will include attacks on telecommunications infrastructure, to include Public
Safety Answering Points (PSAPs) and public safety telecommunication services.

ASSUMPTIONS: That public safety PSAP operators may have become narrow-
minded about the security of their organizations and the resolve of their
adversaries.



BACKGROUND                                       emergency response tapes from the
                                                 PSAP center via a penetration attack.
The sophistication of c)ber attacks on
public safety facilities has been                These attacks demonstrate that the era
increasing at an alarming rate. Recent           of general annoyance and nuisance
examples include:                                attacks is yielding to sophisticated
                                                 penetration attacks on infrastructure by
James Boyd DDoS Attack.                 A
                                                 cyber adversaries that are coordinating
Distributed Denial of Service (DDoS)
                                                 such attacks with other acti1,,1ties.
attack on the City of Albuquerque (New
Mexico) Police Department web-site --            These attacks should serve as a wake-
coordinated with a display of civil unrest       up call that more blended and
-- following the office inv0lved shooting        coordinated attacks are yet to come.
of a homeless man named James Boyd.              The Fire Service would be well served
                                                 to recall that one reason for the high
Confiscation of Michael Brown
                                                 death toll (343) on the day of the World
Dispatch Tapes. Following the Michael
                                                 Trade Center (WTC) attacks was the
Brown shooting in Ferguson (Missouri)            technical communications issues with
the "black hat" group Anonymous
                                                 fire department radios on 9/11/2001.
claimed it was able to seize the 911

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Therefore, coordinated attacks that               Case in point.       The Payment Card
disrupt    communications       channels          Industry (PCI) promulgates the Data
(whether 911 intake or public safety              Security Standard (DSS) for those
communications) can result in loss of life        entities processing, transmitting and
and property damage and should be                 storing credit card data. The PCI DSS
taken seriously.                                  requires        quarterly      vulnerability
                                                  assessments and yearly penetration
To this end, the National Fire Protection         tests    of    the core      infrastructure
Association (NFPA) has promulgated                processing credit card data.
standard 1221, "Standard for the
Installation, Maintenance, and Use of             In contrast, 1221 Chapter 13 requires: a
Emergency Services Communications                 Data Security Plan composed of a
Systems".      A new effort seeks to              Policy Statement, Procedures for
formalize Chapter 13 into the 1221                Security,     Assignment         of Roles,
standard, entitled "Data Security Plan".          Identification of Training Requirements,
                                                  Security Related Training Records, etc.
h sum, the proposed Chapter 13                    This is a commendable first step; but,
represents a first-step for PSAP
                                                  may be "too little -- too late".
operators to develop cyber hygiene for
their organizations. It is a good first           Emergency Support Function no. 18
step.
                                                  Simultaneous with the development of
However, like many other compliance               1221 Chapter 13 is the slow
driven    frameworks      (see   Health           development of ESF no. 18 -- Cyber
hsurance Portability and Accountability           Security -- primarily occurring in the
Act (HIPAA) Security Rule) there is the           State of California. There have been
temptation to treat a 1221 Data Security          initial  exploratory   meetings    and
Plan as a check-box compliance item.              preliminary task force gatherings to
                                                  promote the development of ESF no. 18
Paper-driven compliance is now
                                                  -- Cyber Security.
obsolete
                                                  There will continue to be a culture clash
Most industries that have had a decade
                                                  between those individuals that actively
or more experience with compliance                support the hformation Technology
frameworks (like HIPAA and the Critical
                                                  (I.T.) core infrastructure of a public
hfrastructure Protection (CIP) standard
                                                  safety organization and those first
for the electrical power grid industry) are       responders that are primarily operations
moving away from a paper-driven
                                                  focused. This will be the Achilles heel
compliance framework and adopting a               that cyber adversaries will exploit to
more active vulnerability assessment              cause loss of life and property damage
process.
                                                  during a blended attack.


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Now is the time to use the aegis of ESF          servers and devices on the I.T. core
no. 18 as an augmentation to efforts             infrastructure.
associated with NFPA 1221, Chapter 13
and bring greater awareness to the               The Operating Systems (O/S) of web-
                                                 facing servers are being identified using
cyber threat.
                                                 widely available tools. Once the O/S is
htegration of cyber personnel into the           identified, it is compared with published
hcident Command System (ICS) must                lists of known vulnerabilities to identify
begin soon, and ESF no. 18 offers the            possible vulnerabilities that can be
appropriate framework. Cyber experts             exploited with malicious code.
can be classified as "Technical
                                                 Enumeration and Scanning
Specialists" under the CS structure and
can work within the Communications               Cyber adversaries are developing a
Unit Leader (COML) function.                     comprehensive network map of the
                                                 PSAP facility. Servers and workstations
Realistic exercise planning should
                                                 are being identified - again, through the
include the loss of cyber assets due to
                                                 use of widely available tools. Cyber
an adversary attack and promote the
                                                 information probes are easily launched
interaction of cyber security experts with
operations personnel.                            to    circumvent Intrusion Detection
                                                 Systems (IDS) and Host-based Intrusion
Reconnaissance and Footprinting                  Detections Systems (HIDS).

Cyber       adversaries     are  already         PSAP servers can be easily identified.
"footprinting" PSAP centers.       Open          Software    patches      released     by
Source htelligence (OSNT) sources                Computer-Aided      Dispatch      (CAD)
are used to collect data from biogs, job         vendors can be collected. Attacks can
boards, social media, vendor press               be fashioned that exploit recent patches
announcements public hearings, etc.              to CAD software on known servers.
This information is being analyzed to
identify the Internet and networking             In short, it is not a question of "if" a
                                                 cyber attack with hit a PSAP; but,
"footprint" of the organization.
                                                 "when".
For instance, a treasure trove of
                                                 About the author: Dave Sweigert is an
information about a PSAP facility can be
obtained from the look-up services for           Emergency Medical Technician (EMT)
                                                 who holds several cyber security
the Domain Name Service (DNS).
                                                 industry certifications. An Air Force
Lookup services provide physical
                                                 veteran, he is also an expert in auxiliary
addresses of facilities, contact names of
                                                 communications techniques used in
key personnel, e-mail addresses, and
htemet protocol (I.P.) addresses of              disaster response. He holds Masters
                                                 degrees in Information Security and
                                                 Project Management.

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                  The application of racketeering and wire fraud laws
                        to combat CrowdStalking hoax news sites
                                           July 2017
                                            Author:
                                 Dave Sweigert, M.Sci.
                  Non-attorney engaged in scholarly cyber-legal research

                                           ABSTRACT
Racketeering laws can be used to suppress CrowdStalking cyber harassment, one
of the favorite operational vectors relied upon to distribute cognitive threats that
are based upon deception. Hoax news sites use these techniques to attack critical
infrastructure operators, federal employees, and infrastructure security advisors
to create chaos in critical sectors.
The weaponization of information1                  Stalking gangs and cognitive hackers
Blended cyber-attacks that combine                 Social media stalkers can combine
assaults on (1) technical security                 information about hobbies, professional
controls, and (2) cognitive integrity may          associations, fraternal organizations, etc.
represent the most dangerous (and most             to craft deceptive and false messages for
misunderstood) threat on the landscape.            the purpose of supporting cyber
                                                   intrusions and social engineering.
Cognitive integrity may be a new term for
the reader. To explain, imagine the                In the previous example, random bites of
mental state of a senior C-level executive         information are coalesced into a modern
that receives a targeted spear phishing e-         cyber weapon – the cognitive threat.
mail message that appears to be urgent
                                                   Cyber stalking gangs, encouraged by
and from the Chief Executive Officer
                                                   financial gain, have begun experimenting
(CEO). Cognitive integrity has been
                                                   with CrowdStalking as a valid attack
broken with the sense of urgency. The
                                                   vector. Armies of social media vandals,
subordinate unwittingly follows orders of
                                                   well trained in areas like reputational
the hoax message and connects to a
                                                   destruction, are guided by paid social
honeypot web-site where money transfer
                                                   media personalities to attack targets.
passwords can be captured. Within
minutes,     millions   of    dollars    in        CrowdStalking has turned into a type of
unauthorized money wire transfers are              sport or social media scavenger hunt.
executed      with    stolen     password          LiveStream technology has enabled a
credentials.                                       mass group think (mob) approach.

1See The Weaponization of Information:
The Need for Cognitive Security, By Rand
Waltzman

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Suppression of the cognitive threat                While masquerading as “news sites” and
                                                   “Internet investigators”, these Internet
Critical infrastructure (C.I.) operators
                                                   hoaxers and hatemongers deprive the
should take these cognitive threats
                                                   general public (and their subscribers) of
seriously. Losses in the millions of
                                                   the expectation of honest services with
dollars can result from these cognitive
                                                   their distorted “news articles”.
attacks.
                                                   The vicious cycle of hoax news sites
The closure of the Port of Charleston by
a dirty bomb hoax is the latest example.           YouTube revenue is increased by viewer
                                                   traffic, which is then sustained by
Legal remedies to thwart such deceptive
                                                   sensationalized deception in a vicious
attacks should be explored. Examples
                                                   cycle. This cycle drives increasingly
made of CrowdStalking entrepreneurs,
                                                   more bizarre claims about individuals
facing serious legal consequences from
                                                   and institutions. Thus, revenue intake is
their actions, can only help build a
                                                   based upon the consumption of
preventative deterrent to such menacing
                                                   falsehoods and misrepresentations by
attacks.
                                                   naïve subscribers that expect honest
The use of the patch-work of state and             services and instead receive deception.
federal racketeering and wire fraud laws
                                                   Profiting from the destruction of an
as a deterrent is a developing area of
                                                   individual’s career or institution’s
litigation.
                                                   reputation by trafficking in falsehoods is
In general, to establish a baseline for            a popular tactic of these hoax channel
racketeering jurisdiction a plaintiff must         operators.
demonstrate the defendant’s:
                                                   CrowdStalking personalities manipulate
    1. use of either mail or wire                  followers (subscribers) with promises of
    2. for a scheme to defraud                     “exposing” a target. This creates the
    3. involving a material deception              necessary dramatic backdrop to have
    4. with the intent to deprive another of       followers engage in spreading a
    5. either property or honest services.2        deceptive narrative.
YouTube provides hoax news operators               Reputational shamming and destruction
and entrepreneurs advertiser revenue               may provide the needed damages to
via monetization payments for videos               state a racketeering claim (consult with a
without regard to content value.                   licensed attorney). Properly classifying
The YouTube deception merchants are                such activities as cyber-stalking under
highly motivated (see the vicious cycle)           cognizant state law may help the
to receive more revenue by broadcasting            judiciary understand the significance of
increasingly more deceptive falsehoods.            these unlawful acts.



2
    Mail and Wire Fraud: A Brief Overview of       Federal Criminal Law by Charles Doyle,
                                                   Senior Specialist in American Public Law

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The deception entrepreneurs                       Enough is Enough
Nathan Stolpman (38) of San Luis                  C.I. operators would be wise to discuss
Obispo, California, appears to represent          the scenarios described above with the
the new era of the hoax news site                 corporate risk officer and legal counsel in
entrepreneur. Stolpman seemingly holds            the context of blended cyber-attacks.
a notorious reputation of using many of
                                                  A leaning forward legal strategy may
the tactics described above. Stolpman
                                                  include the consideration of claims for
operates three YouTube channels (LIFT
                                                  injunctive relief when hoax news sites
THE VEIL, LIFT THE VEIL TOO, and
                                                  and CrowdStalkers attack an institution’s
LIFT THE VEIL LIVE) as they are all in
                                                  reputation, an individual employee or
apparent various stages of “warnings”
                                                  executive.
and “community strikes” (deactivation).
                                                  National Organization for Women, Inc. v.
YouTube personality Jesse Spottswood
                                                  Scheildler, 114 S.Ct. 798 (1994); (anti-
Moorefield of Knoxville, Tennessee,
                                                  abortion protestors) is instructive on this
operates the channel “JESSE SPOTS”.
                                                  point; quoting in relevant part:
Moorefield allegedly distributed videos
claiming a federal employee of the U.S.            “We are persuaded instead that the text of the
National Institute of Standards and                RICO3 statute, understood in the proper light,
                                                   itself authorizes private parties to seek
Technology (N.I.S.T.) was deeply                   injunctive relief.”
connected with the author, as both
shared the same surname. The N.I.S.T.
employee was accused by Moorefield of             State cyber-stalking laws should be
being an integral part of a transhumanist         consulted to establish a predicate
underground that was pushing an                   criminal act as the underpinning for a
agenda to replace mankind by 2030 with            potential federal racketeering claim (see
robots. All this deception was directed at        Penal Code 646.9 in California or
a mere secretary and office coordinator,          Maryland Annotated Criminal Law § 3-
which included the display of her office          801).
symbol, telephone, home community,                About the author: Dave Sweigert
relatives, etc.                                   became the target of crowdstalkers
Stolpman and Moorefield act as                    shortly after his estranged brother
associates-in-fact by coordinating their          (George Webb Sweigert) was linked to
“news events” and alleged attacks on              the Port of Charleston dirty bomb hoax
their victims.                                    on 6/14/17. The author’s background in
                                                  computer security was seized upon as
Like Stolpman, Moorefield received                “proof” that he was an agent for
several notifications (cease and desist) to       government surveillance and espionage
halt the dissemination of falsehoods.             against YouTube “truth tellers” like
                                                  Stolpman and Moorefield.

3RICO = Racketeering Influenced and Corrupt
Organizations.

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  From:    Jason Goodman truth@crowdsourcethetruth.org
Subject:   YouTube copyright complait
   Date:   August 21, 2020 at 11:38 AM
     To:   xxxsharp@xxxxxxx
    Cc:    Camxxx@

       Mr. Sharp,

       I have just received notice that you have filed a copyright complaint with YouTube concerning a parody image that appeared in one of
       our videos. The image in question is a PARODY of the Emmy award statute and as such, you have no legitimate claim of copyright
       infringement. I am writing to request that you withdraw the copyright complaint immediately as it is having a direct impact on my
       business that may result in money damages.

       Parody relies on the style of the original work and is closely imitated for comic effect and to provide criticism and commentary. This
       use is 1st amendment protected free speech and is also protected under Section 107 of the Copyright Act which provides for fair use
       under these specific circumstances. The statue is NOT depicted in its original form holding the Emmy globe but rather has been
       modified in a transformative way. It is shown holding a representation of a coronavirus particle and this is the essence of the comical
       criticism and commentary which requires the close imitation of the original for its parody effect. Parody is SPECIFICALLY protected
       under the digital millennium copyright act, the very same act that protects YouTube from lawsuits from third parties.

       Rather than relying on further legal action, I would like to resolve this with you and I am open to discussing options that could include
       removing the image, the video or other remedies. What is the best way for me to reach you or your legal counsel regarding this
       matter?

       Jason Goodman
       323-744-7594
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THE TWITTER COUP Part 1




Twitter’s former Government Liaison Adam Sharp has stars in his eyes as he stares longingly at President Barack
                       Obama during the Twitter Townhall @thewhitehouse July 6, 2011


Preliminary Statement

Over the past four years, U.S. District Court Judge Valerie Caproni has presided over
three cases in which the author was a litigant.
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(Case 1:18-cv-08653-VEC-SDA, Case 1:20-cv-07269-VEC-OTW, Case 1:21-cv-10627-VEC)

In two of the cases, the author was opposed by Adam Sharp. Facts surrounding an
alleged relationship between Caproni and Sharp were unknown prior to researching
and writing this article in December 2022. A motion to disqualify Caproni was denied
on January 10, 2022 (Case 1:21-cv-10627-VEC Document 17).

Recusal is warranted in cases where, “a reasonable person, knowing all the facts would
have doubts about the judge’s ability to be impartial in the case.” Judges may also
recuse themselves to avoid the appearance of conflicts of interest.

The Fundamental Transformation of America

Elon Musk’s “Twitter Files” reveal a deeply troubling, previously hidden relationship
between federal law enforcement and private sector social media companies, but an
important question remains unanswered. Who could have executed such a vast
government infiltration of private industry and how could they overcome the technical
and legal hurdles? As implausible as it seems, this all occurred in plain sight right
under our noses over the past two decades.

Evidence in the public domain is likely to prove that former President Barack Obama,
former FBI General Counsel Valerie Caproni, and Twitter’s former Government Liaison
Adam Sharp, were the three most important conspirators at the outset. It appears they
worked together and with others to launch one of the most sinister and sophisticated
crimes in our nation’s history.

From Weatherman to U.S. President — The Rise of Barack Obama

Just after his historic Presidential win, the New York Times ran a story about “How
Obama Tapped Into Social Networks’ Power”. Journalist David Carr wrote, “In February
2007, a friend called Marc Andreessen, a founder of Netscape and a board member of
Facebook and asked if he wanted to meet with a man with an idea that sounded
preposterous on its face.” Carr never reveals the identity of Andreessen’s friend but
goes on to depict Obama as the genius behind a grass roots campaign facilitated by
emerging technology.
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In 2015, long after Ayers and Dohrn helped the obscure Illinois State Senator rise to
international prominence, President Obama held a technology summit at Stanford
University. After delivering remarks on the future of technology and industry, Obama
signed Executive Order 13691 Promoting Private Sector Cybersecurity Information
Sharing. In it, the President commanded that, “private companies, nonprofit
organizations, executive departments and agencies (agencies), and other entities must
be able to share information related to cybersecurity risks and incidents and
collaborate to respond in as close to real time as possible.” Stanford students in
attendance were probably unaware, but this order codified long standing FBI demands
to supersede the fourth amendment and investigate anyone they wanted. This paved
the way for the Neo-fascism now being exposed in the ongoing releases of the “Twitter
Files”.

Making good on his campaign promise, Obama ensured that America would be
fundamentally transformed from a Constitutional Republic into a Neo-fascist
Technocratic Autocracy. This new authority would be enforced by a digitally enabled
Super-Stasi made up of FBI InfraGard members, (https://www.infragard.org/) and other
contractors including hundreds, perhaps even thousands of ordinary citizens
patrolling on-line as America’s Secret Police.

Such an Orwellian overthrow would be calculated to happen without anyone noticing
until it was too late. The merger of government and corporate technological power
enabled a class of politically aligned bureaucratic elites to maintain control by
monitoring and stifling opposition rather than allowing open debate in a free
marketplace of ideas. These traitors have trampled the Constitution and destroyed the
most fundamental aspect of American greatness.

Part two of this series will explore Congressional allegations of criminal malfeasance
within the FBI.




  Twitter      FBI     Obama      Corruption   Elon Musk
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THE TWITTER COUP Part 2




Accusations of Criminal Malfeasance in the FBI General Counsel’s Office
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On April 14, 2010, the House Judiciary Subcommittee held a hearing on the Inspector
General’s “Report on the FBI’s Use of Exigent Letters and Other Informal Requests for
Telephone Records”. Committee Chair John Conyers (D-Mich.) issued a harsh rebuke of
FBI General Counsel Valerie Caproni, when he said, “Today’s hearing showed that the
FBI broke the law on telephone records privacy and the General Counsel’s Office,
headed by Valerie Caproni, sanctioned it and must face consequences.”

Conyers went on to say he was “outraged” that the FBI Office of the General Counsel
had invented exigent letters apparently out of whole cloth, “It’s not in the Patriot Act. It
never has been. And its use, perhaps coincidentally, began in the same month that Ms.
Valerie Caproni began her work as general counsel.”

Given the most recent revelations of Elon Musk’s “Twitter Files” concerning the FBI,
Conyers’ closing statement in a letter to then FBI director Mueller is eerily prescient,
“I’m extremely disappointed that every time Congress has tried to plug potential civil
rights and civil liberties violations in our counterterrorism activities, the FBI seems to
have figured out a way to get around it.”

Chairman Conyers implored Mueller to take action and fire the responsible parties in
Caproni’s Office. No records of any action in response could be located and the press
release has been removed from the House Judiciary web page.

Rather than face any consequences for her actions, Caproni would leave the FBI to join
Northrup Grumman as Deputy General Counsel in 2011. She was nominated for a
District Court Judge position in the Southern District of New York by Barack Obama in
2012.

During the course of her contentious Senate confirmation, Ranking Member of the
Judiciary Committee Chuck Grassley sent a letter to the Dept. of Justice Office of the
Inspector General. The letter detailed Senator Grassley’s concerns about undue
resistance to the committee’s requests for documents and transcripts related to
Caproni’s ongoing constitutional abuses including repeated inappropriate use of
National Security Letters and the even more urgent “exigent letters” throughout her
tenure. The Grassley letter describes a culture of autocracy at the FBI that obstructed
oversight, ignored the law and operated with impunity.
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Valerie Caproni was confirmed by the Senate in 2013 and still serves as a U.S. District
Court Judge for the Southern District of New York where she continues her abuse of
citizens’ constitutional rights to this day.

Part three will discuss how technical and legal barriers were overcome in the effort to
destroy Americans’ constitutional protections.




  FBI      Twitter   Valerie Caproni    Corruption   Congress
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THE TWITTER COUP Part 3




 President George W. Bush and a gaggle of neocon cronies delight in laying the groundwork for the destruction
                                           of the U.S. Constitution


Overcoming Legal Hurdles Takes a Village
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The groundwork was laid by the George W. Bush Administration. In the wake of the
national trauma of 9/11, the Patriot Act was passed under the guise of increased
security. This unconstitutional statute called for the creation of the National Cyber
Investigative Joint Task Force, an interagency intelligence sharing organization led by
the FBI. It also granted federal law enforcement new tools in their self-declared “war
on terror”. For the first time since the signing of the Bill of Rights, federal agents were
granted unilateral authority to surveil any person they deemed a national security
threat without first establishing probable cause or providing any evidence to a judge.
Due process was bypassed, the need for warrants ignored, and newly created National
Security Letters decimated the Fourth Amendment.

No longer were We the People “secure in our persons, houses, papers, and effects,
against unreasonable searches and seizures”. The FBI and other Federal agencies could
simply send a National Security Letter to your phone company or internet provider
seeking any information associated with any account for any reason. Although
National Security Letters do not have the same legal force and effect as Court Orders or
properly issued search warrants, the practical impact is virtually identical with an
historical record nearing 100% compliance by providers.

During her tenure as general counsel at the FBI, Valerie Caproni coined the phrase
“Going Dark”. The term purported to describe an increasing proliferation of digital
communications technologies and a widening gap in law enforcement’s ability to
penetrate those technologies in the due course of criminal investigations. Things like
end-to-end encryption and automatically decimated chat logs had investigators in the
dark according to Caproni.

The FBI’s proposed solution was to create new legislation granting agencies unfettered
access to all digital communications in real time. Setting aside the unrealistic network
bandwidth and storage requirements of such a concept, the idea was controversial to
say the least. Caproni and the FBI aimed to compel all technology companies to modify
their products with “back doors” that would bypass primary security measures and
allow federal investigators instant and full access to any account upon receipt of a
National Security Letter.

Caproni would come under fire throughout her career for gross abuses of the process
including the arbitrary creation of so called “exigent letters” which have no statutory
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basis in the Patriot Act and the reliance on false statements to open alleged
counterintelligence investigations.

https://www.c-span.org/video/?197219-1/fbi-national-security-letters

https://www.grassley.senate.gov/imo/media/doc/judiciary/upload/Caproni-03-19-13-
letter-to-OIG-requesting-information.pdf

https://www.techdirt.com/2013/09/09/former-fbi-lawyer-who-oversaw-years-fourth-
amendment-violations-agency-nominated-federal-judge-seat/

https://www.washingtonpost.com/world/national-security/former-fbi-official-
questioned-on-abuse-of-intelligence-gathering-tools/2013/02/04/b228c4dc-6eef-11e2-
aa58-243de81040ba_story.html

Caproni and her successors Andrew Weissman and James Baker went as far as
suggesting modifications that amounted to hobbling the most sophisticated products
available. These products’ creators admonished FBI luddites and articulated how the
changes would dramatically weaken security and expose all users to data theft and
hacking. Despite a fundamental lack of subject matter knowledge, for years the FBI
continued to make demands that industry experts argued would pose too great a risk
for everyone should they be compelled to comply.

A Decade of “Going Dark”

Nearly eight years after Valerie Caproni delivered an address at Lewis & Clark Law
School on “Crimes, War Crimes, and the War on Terror”, the New York Times reported,
“Obama Won’t Seek Access to Encrypted User Data”. Perhaps this was true of encrypted
data, but perhaps this was just a lawyerly way of talking around a new cooperative plan
to intercept data at the source, before it was encrypted or after it had been decrypted.
Going back as far as 2005, Caproni had made the FBI’s position on “Going Dark”
extremely clear, it was a top priority. The persistence with which the FBI pursued this
agenda cannot be overstated, nor can the public resistance to it.

Would secretly planting FBI operatives directly inside Twitter allow agents to address
management’s “Going Dark” concerns without the need to crack encryption keys or
reveal their efforts to the public? Could such a cozy relationship indicate that Twitter
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had agreed to implement the long-sought FBI back door without informing
unsuspecting users? Twitter’s new CEO has revealed emails indicating reimbursements
to Twitter from the FBI for the fulfilment of requests related to investigations. While
Twitter’s CEO may have incorrectly characterized the nature and purpose of the
payments, it is not denied that the payments were made.

Was Twitter motivated to comply with FBI investigation requests by law or by financial
incentives? Did the FBI need warrants to investigate, penetrate or terminate the private
Twitter accounts of U.S. citizens? These and other questions remain open. Many may
ask, would the FBI do something illegal? Would they take action even if it had no basis
in law? House and Senate oversight of the FBI General Counsel’s Office and the
Inspector General’s report on the matter indicate they were in a regular practice of
doing exactly that.

Part four will reveal how the U.S. Government essentially became one with private
industry when it infiltrated Twitter.




  Twitter    Elon Musk    FBI     Patriot Act   Valerie Caproni
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THE TWITTER COUP Part 4




    President Barack Obama and Twitter CEO Jack Dorsey at the Whitehouse Twitter Town Hall July 6, 2011


The Marriage of the U.S. Government and Social Media

Although Barack Obama does not consider himself a luddite, during a 2022 address at
the Stanford Internet Observatory he admitted he has to ask his “daughters how to
work basic functions” on his phone. Even fifteen years after joining Twitter, Barack
Obama’s background, experience and technological profile is inconsistent with that of
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someone who could have foreseen the impact social media would have on politics all
the way back in 2007.

It is impossible to understand the U.S. Government’s infiltration into Twitter without
exploring the role of the man who is most likely to have presided over this unholy
union. Today, he is the President and CEO of the National Academy of Television Arts
and Sciences (“NATAS”), an obscure individual named Adam Sharp. Before handing out
EMMY awards, Sharp joined Twitter in its pre-IPO days, early in November of 2010. Hot
topics in DC at that time included regulation of social media firms. It was quietly
coming out that many had hired lobbyists to get in front of the issue. Just prior to Sharp
joining Twitter, in October of 2010, the LA Times ran an op-ed reporting “Facebook
lobbies California on online privacy act (but shhh — don’t tell anyone).

Evidence indicates Sharp’s interest in Twitter began long before he was hired there.
While serving as an Executive Producer for C-SPAN in 2009, Sharp launched a public
affairs database that included “Twitter and Facebook API integration”. API stands for
application programming interface and describes a set of software tools provided to
developers to enable customization and integration with other products. Sharp’s
utilization of Twitter’s development API is an indication that he was very familiar with
the inner workings and unrealized potential of Twitter at least by 2009, likely prior.

Sharp’s online resume fails to discuss Valerie Caproni’s appearance on C-SPAN3 in June
of 2009 during the time he was the Executive Producer and managed primetime
programming. It is difficult to imagine that the Executive Producer would not interact
at all with such an important FBI guest. At very least, as programming manager, Sharp
would be aware of the content of the broadcast in which Caproni articulated the FBI’s
goals to penetrate online communications. It remains unknown if any interaction
occurred between Sharp and Caproni. Even in the event that there was none, Sharp
was very likely aware of the FBI’s concerns about “Going Dark” as long ago as 2009.

While at Twitter, Sharp made incredible inroads both for the company and the U.S.
Government. https://www.cnn.com/2015/02/03/politics/twitter-washington-office

Throughout his time at Twitter, Sharp separately owned and operated Sharp Political
Consulting, LLC. Sharp incorporated this firm in April of 2007. This is notably close in
time proximity to the March 5, 2007 creation of the @barackobama Twitter account
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cited in the Atlantic Magazine article, “You’re Not Really Following @BarackObama on
Twitter”.

Creation of Obama’s now famous Twitter account is especially notable because Twitter
was virtually unknown in 2007. Jack Dorsey had published the world’s first Tweet less
than one year prior on March 21, 2006. Obama was not only one of the first politicians
to join Twitter, but he was also among the first of all users. Technology moguls
including current Twitter CEO Elon Musk, and former Microsoft CEO Bill Gates would
not join until years later in June 2009. No other person fits the profile or was in the
position to put Barack Obama and Twitter together in the way Adam Sharp clearly was.

Journalist Phillip Bump told Atlantic Magazine readers that Obama’s “Twitter account
was created by a staffer on March 5, 2007, two months before he formally announced
his Presidential candidacy.” The Senate staffer has never been identified, but Sharp was
serving as Deputy Chief of Staff for Senator Mary L. Landrieu at the time. An election
postmortem from the New York Times citing Obama’s genius in leveraging social
media declared an anonymous “friend” brought Marc Andreessen to the Obama
campaign. Could both of these anonymous King Makers be Sharp? The answer remains
a mystery, but it is likely ‘yes’.

Even after Sharp became Twitter’s official Government Liaison, Sharp Political
Consulting, LLC remained active and engaged in matters that do not seem to have clear
connections to Twitter.

Sharp Political Consulting made over $50,000 in political contributions to Democrat
candidates in 2014.

In January 2016, pollsters calculated a 71% likelihood of a Hillary Clinton presidential
win. For reasons that are unclear, Sharp voluntarily dissolved Sharp Political
Consulting, LLC on January 29, 2016. In December 2016, less than one year later and
precisely one month after Donald Trump’s largely unexpected victory over Clinton,
Sharp abruptly left his beloved Twitter and promptly formed SharpThings, LLC, just
one week after the press release announcing his departure. Sharp would spend a lot of
time lecturing about Disinformation in various public speaking engagements from
2016 through 2018 and then during his tenure as CEO of NATAS beginning in 2018. Was
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Sharp’s departure motivated by an urgent need to step up la Résistance to Donald
Trump?

Part five will bring the story up to today and connect the suspected conspirators to the
events being exposed in The TWITTER FILES.




  Obama      Jack Dorsey   Twitter    FBI     Elon Musk
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THE TWITTER COUP Part 5




  President Barack Obama, Twitter Head of News, Politics and Elections Adam Sharp, Twitter General Counsel
   Alexander Macgillivray and other staff members celebrate their success at the Whitehouse on July 6, 2011


Operational Deployment of FBI–Twitter
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For more than a decade, FBI leadership was acutely focused on a “Going Dark” public
relations campaign. James Comey and Christopher Wray each spoke about it
throughout their respective tenures as FBI Director.

But it was Valerie Caproni’s disciples in the FBI General Counsel’s office that finally
made the plans operational. Her direct successor Andrew Weissman led the Mueller
Investigation into Russian Collusion with the Donald Trump Presidential Campaign.
This investigation was marred by the abuse of the secret FISA Court process and was
distinctly categorized by Mueller’s team as a Counterintelligence investigation rather
than a criminal investigation. This distinction allowed investigators to access the
unconstitutional and disputed powers imbued upon the FBI by Caproni. Ultimately, no
evidence was found to substantiate the Mueller accusations.

Because the mere suggestion of Russian interference with a U.S. Presidential election
represents a national security threat, the accusation alone absent evidence, was legally
sufficient to open an investigation under the Patriot Act. This would have allowed
Andrew Weissmann to use National Security Letters to merely allege that Trump
represented a national security threat and initiate the years long and highly disruptive
probe. This is perhaps the clearest example of naked abuse of the Patriot Act since its
inception and provides good grounds for its termination.

Weissmann’s successor James Baker. Director Comey appointed Baker General Counsel
of the FBI on January 15, 2014. Baker was reassigned by Wray in 2017 and then resigned
amid accusations that he leaked classified documents related to the Mueller
investigation of Trump.

Senior Fellow in Governance Studies at the Brookings Institution, Benjamin Wittes was
the likely recipient of the leak. Wittes is the editor of Lawfare, an online publication of
the Brookings Institution that James Comey told an audience he reads every day. Wittes
has claimed to be among James Comey’s closest friends. Baker would transition to
Brookings and Lawfare after departing the FBI and prior to becoming Twitter’s Deputy
General Counsel. The Brookings Institution is a non-profit think tank and a potential
incubator for domestic coup d’etats, perhaps along the lines of what was done with
Twitter. Baker appeared on MSNBC as recently as 2019 restating unconstitutional FBI
demands to access everyone’s data at any time.
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FBI All in at Twitter

On or around May 28, 2020, a new Twitter policy began adding warnings to “fact check”
users’ Tweets. After warnings were applied to Tweets sent from @realDonaldTrump,
the President issued executive order 13925 titled “Preventing Online Censorship”. The
order sought to curb perceived abuse of 47 USC § 230, the infamous Communications
Decency Act that shields online service providers from liability even if they editorialize
content that does not violate the law or civil torts. If implemented, the proposed
changes threatened to expose Twitter to thousands of civil legal actions. Less than
three weeks after Trump’s order, former FBI General Counsel Baker joined Twitter as
Deputy General Counsel. Was this a coincidence or was Baker still serving the demands
of his long-time FBI colleagues? Baker had transitioned through the FBI revolving door
of non-profit think tanks, including the Brookings Institution, Lawfare and the R Street
Institute, following the plan articulated in Obama’s 2015 Stanford inspired order.

It has now been widely reported that during Baker’s time as Deputy General Counsel,
Twitter suppressed a true and accurate news story published by the New York Post that
likely affected the outcome of the 2020 Presidential election. Dr. Michael Shellenberger
provides evidence of communications between FBI Special Agent Elvis Chan and
employees of Twitter in the Twitter Files 7.

The communications indicate the FBI had foreknowledge of facts that would be
asserted by the New York Post and knew them to be true, but falsely informed Twitter it
was the product of a Russian “hack and leak” operation.

Now we stand at the brink of world war in Ukraine. Even stating the opinion “Joe Biden
and Twitter rigged the 2020 election with the help of the FBI” is considered spreading
disinformation. The FBI and CISA have determined disinformation is a national
security threat. This logically could lead to the FBI investigating you if they decide
something you say is false.

America has been transformed right before our eyes, and all that was needed was a pen
and a phone.

Sources and Additional Information
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U.S. Department of Justice                                                        Exhibit A to Registration Statement
Washington, DC 20530                                                              Pursuant to the Foreign Agents Registration Act of
                                                                                  1938, as amended

INSTRUCTIONS. Furnish this exhibit for EACH foreign principal listed in an initial statement and for EACH additional foreign principal acquired
subsequently. The filing of this document requires the payment of a filing fee as set forth in Rule (d)(1), 28 C.F.R. § 5.5(d)(1). Compliance is
accomplished by filing an electronic Exhibit A form at https.7/www.fara.gov.
Privacy Act Statement. The filing of this document is required by the Foreign Agents Registration Act of 1938, as amended, 22 U.S.C. § 611 er seq.,
for the purposes of registration under the Act and public disclosure. Provision of the information requested is mandatory, and failure to provide this
information is subject to the penalty and enforcement provisions established in Section 8 of the Act. Every registration statement, short form
registration statement, supplemental statement, exhibit, amendment, copy of informational materials or other document or information filed with the
Attorney General under this Act is a public record open to public exammation, inspection and copying during the posted business hours of the
FARA Unit in Washington, DC. Statements are also available online at the FARA Unit’s webpage: https://www.fara.gov. One copy of every such
document, other than informational materials, is automatically provided to the Secretary of State pursuant to Section 6(b) of the Act, and copies of
any and all documents are routinely made available to other agencies, departments and Congress pursuant to Section 6(c) of the Act. The Attorney
General also transmits a semi-annual report to Congress on the administration of the Act which lists the names of all agents registered under the Act
and the foreign principals they represent. This report is available to the public in print and online at: https://www.fara.gov.

Public Reporting Burden. Public reporting burden for this collection of information is estimated to average .22 hours per response, including the
time for reviewing instructions, searching existing data sources, gathering and maintaining the data needed, and completing and reviewing the
collection of information. Send comments regarding this burden estimate or any other aspect of this collection of information, including suggestions
for reducing this burden to Chief, FARA Unit, Counterintelligence and Export Control Section, National Security Division, U.S. Department of
Justice, Washington, DC 20530; and to the Office of Information and Regulatory Affairs, Office of Management and Budget, Washington, DC 20503.


1. Name of Registrant                                                                                                                       2. Registration Number
   Ms. Nina Jankowicz                                                                                                                          7192



3. Primary Address of Registrant
   1405 S Fern St #547, Arlington, VA 22202




4. Name of Foreign Principal                                                         5. Address of Foreign Principal
   Centre for Information Resilience6 7 8                                               International House, 24 Holborn Viaduct
                                                                                        London, United Kingdom
                                                                                        UNITED KINGDOM ECIA 2BN



6. Country/Region Represented
   UNITED KINGDOM


7. Indicate whether the foreign principal is one of the following:
              Government of a foreign country1
              Foreign political party
         0 Foreign or domestic organization: If either, check one of the following:
                       Partnership                          Committee
                  E Corporation                          Voluntary group
                               Association                                  Other (specify)
              Individual-State nationality

8. If the foreign principal is a foreign government, state:
            a) Branch or agency represented by the registrant



            b) Name and title of official with whom registrant engages



1 "Government of a foreign country," as defined in Section 1(e) of the Act, includes any person or group of persons exercising sovereign de facto or de jure political jurisdiction
over any country, other than the United States, or over any part of such country, and includes any subdivision of any such group and any group or agency to which such sovereign de
facto or de jure authority or functions are directly or indirectly delegated. Such term shall include any faction or body of insurgents within a country assuming to exercise
governmental authority whether such faction or body of insurgents has or has not been recognized by the United States.

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 9. If the foreign principal is a foreign political party, state:
          a)   Name and title of official with whom registrant engages



          b)   Aim, mission or objective of foreign political party




10. If the foreign principal is not a foreign government or a foreign political party:
          a) State the nature of the business or activity of this foreign principal.
               Non-profit social enterprise focused on countering disinformation, documenting human rights abuses,
               and combating online harms against women and minorities




          b) Is this foreign principal:
          Supervised by a foreign government, foreign political party, or other foreign principal                       Yes      No 0
          Owned by a foreign government, foreign political party, or other foreign principal                            Yes      No 0
          Directed by a foreign government, foreign political party, or other foreign principal                         Yes      No 0
          Controlled by a foreign government, foreign political party, or other foreign principal                       Yes      No S
          Financed by a foreign government, foreign political party, or other foreign principal                         Yes 0 No
          Subsidized in part by a foreign government, foreign political party, or other foreign principal               Yes      No S


11. Explain fully all items answered "Yes" in Item 10(b).
    Item 10(b) Financed: CIR is financed in part by grants from the UK Government, including the Foreign,
    Commonwealth, and Development Office.




12. If the foreign principal is an organization and is not owned or controlled by a foreign government, foreign political party or other
    foreign principal, state who owns and controls it.
    CIR is a non-profit social enterprise founded and directed by a UK citizen, Adam Rutland, and a dual UK-US
    national, Ross Burley.




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                                                         EXECUTION
In accordance with 28 U.S.C. § 1746, and subject to the penalties of 18 U.S.C. § 1001 and 22 U.S.C. § 618, the undersigned swears or
affirms under penalty of perjury that he/she has read the information set forth in this statement filed pursuant to the Foreign Agents
Registration Act of 1938, as amended, 22 U.S.C. § 611 et seq., that he/she is familiar with the contents thereof, and that such contents
are in their entirety true and accurate to the best of his/her knowledge and belief.


         Date                             Printed Name                                          Signature


 11/18/2022               Nina Jankowicz                                          /s/Nina Jankowicz




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In accordance with 28 U.S.C. § 1746, and subject to the penalties of 18 U.S.C, § 1001 and 22 U.S.C. § 618, the undersigned swears or
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         Date                             Printed Name                                      Signature


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U.S. Department of Justice                                            Exhibit B to Registration Statement
Washington, DC 20530                                                  Pursuant to the Foreign Agents Registration Act of
                                                                      1938, as amended

INSTRUCTIONS. A registrant must furnish as an Exhibit B copies of each written agreement and the terms and conditions of each oral agreement
with his foreign principal, including all modifications of such agreements, or, where no contract exists, a full statement of all the circumstances by
reason of which the registrant is acting as an agent of a foreign principal. Compliance is accomplished by filing an electronic Exhibit B form at
https://www.fara.gov.

Privacy Act Statement. The filing of this document is required for the Foreign Agents Registration Act of 1938, as amended, 22 U.S.C. § 611 et seq.,
for the puiposes of registration under the Act and public disclosure. Provision of the information requested is mandatory, and failure to provide
the information is subject to the penalty and enforcement provisions established in Section 8 of the Act. Every registration statement, short form
registration statement, supplemental statement, exhibit, amendment, copy of informational materials or other document or information filed with the
Attorney General under this Act is a public record open to public examination, inspection and copying during the posted business hours of the
FARA Unit in Washington, DC. Statements are also available online at the FARA Unit’s webpage: https://www.fara.gov. One copy of eveiy such
document, other than informational materials, is automatically provided to the Secretary of State pursuant to Section 6(b) of the Act, and copies of
any and all documents are routinely made available to other agencies, departments and Congress pursuant to Section 6(c) of the Act. The Attorney
General also transmits a semi-annual report to Congress on the administration of the Act which lists the names of all agents registered under the Act
and the foreign principals they represent. This report is available to the public in print and online at: https://www.fara.gov

Public Reporting Burden. Public reporting burden for this collection of information is estimated to average .32 hours per response, including the
tune for reviewing instructions, searching existing data sources, gathering and maintaining the data needed, and completing and reviewing the
collection of information. Send comments regarding this burden estimate or any other aspect of this collection of information, including suggestions
for reducing this burden to Chief, FARA Unit, Counterintelligence and Export Control Section, National Security Division, U.S. Department of
Justice, Washington, DC 20530; and to the Office of Information and Regulatory Affairs, Office of Management and Budget, Washington, DC 20503.


1. Name of Registrant                                                      2. Registration Number
     Ms. Nina Jankowicz                                                      7192




3. Name of Foreign Principal
     Centre for Information Resilience




                                                             Check Appropriate Box:

4. 0 The agreement between the registrant and the above-named foreign principal is a formal written contract. If this box is
     checked, attach a copy of the contract to this exhibit.

5.      There is no formal written contract between the registrant and the foreign prmcipal. The agreement with the above-named
        foreign principal has resulted from an exchange of correspondence. If this box is checked, attach a copy of all pertinent
        correspondence, including a copy of any initial proposal which has been adopted by reference in such correspondence.

6.      The agreement or understanding between the registrant and the foreign principal is the result of neither a formal written
        contract nor an exchange of correspondence between the parties. If this box is checked, give a complete description below of
        the terms and conditions of the oral agreement or understanding, its duration, the fees and expenses, if any, to be received.

7. What is the date of the contract or agreement with the foreign principal?              09/29/2022


8. Describe fully the nature and method of performance of the above indicated agreement or understanding.

      Jankowicz works regularly via online communication platforms with CIR employees based in the UK in order
      to further the goals of CIR.




                                                                                                                                          FORM NSD-4
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9. Describe fully the activities the registrant engages in or proposes to engage in on behalf of the above foreign principal.
    Jankowicz supervises research, executes business strategy, oversees the establishment of CIR's research,
    communicates with the media, and briefs individuals and officials on CIR's research.




10. Will the activities on behalf of the above foreign principal include political activities as defined in Section l(o) of the Act1.
           Yes          No |x]

   If yes, describe all such political activities indicating, among other things, the relations, interests or policies to be influenced
   together with the means to be employed to achieve this purpose. The response must include, but not be limited to, activities
   involving lobbying, promotion, perception management, public relations, economic development, and preparation and
   dissemination of informational materials.




11. Prior to the date of registration2 for this foreign principal has the registrant engaged in any registrable activities, such as political
   activities, for this foreign principal?

           Yes S          No


   If yes, describe in full detail all such activities. The response should include, among other things, the relations, interests, and
   policies sought to be influenced and the means employed to achieve this purpose. If the registrant arranged, sponsored, or
   delivered speeches, lectures, social media, internet postings, or media broadcasts, give details as to dates, places of delivery,
   names of speakers, and subject matter. The response must also include, but not be limited to, activities involving lobbying,
   promotion, perception management, public relations, economic development, and preparation and dissemination of
   informational materials.

    Set forth below a general description of the registrant's activities, including political activities.
    Jankowicz interfaced with the media using her CIR affiliation. Those instances are below. From September
    29-present, she also engaged on social media (Twitter, Linkedln, Instagram) as a CIR principal.




    Set forth below in the required detail the registrant's political activities.

    Date             Contact                           Method                            Purpose
     09/23/2022       info-res.org                     Website                           Announcing joining CIR, work on gender
                                                                                         and abuse
     09/29/2022      Washington Post                    Print                            Discuss tools to scrub personal
                                                                                         information from internet for online
                                                                                         safety
     10/20/2022      Connecticut Public                Radio                             Discuss online abuse and disinformation
                     Radio
     10/23/2022      NPR                               Radio                             Discuss Russian disinformation in the
                                                                                         Ukraine war
     10/31/2022      Inkstick Media                    Podcast                           Discuss online disinformation and abuse
     11/08/2022      NPR                               Radio                             Discuss Russian disinformation ahead of
                                                                                         the 2022 midterms
     11/11/2022      Radio Free Asia                    Print                            Quote about G20 condemnation of Russia




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   12. During the period beginning 60 days prior to the obligation to register31 for* this foreign principal, has the registrant received from
       the foreign principal, or from any other source, for or in the interests of the foreign principal, any contributions, income, money,
       or thing of value either as compensation, or for disbursement, or otherwise?

                 Yes E              No


         If yes, set forth below in the required detail an account of such monies or things of value.

         Date Received            From Whom                                           Purpose                                                             Amount/Thing of Value
         10/17/2022                CIR                                                 Remuneration for services rendered                                  $              12,115.18
         11/17/2022                CIR                                                 Remuneration for services rendered                                  $              12,071.41




                                                                                                                                                           $              24,186.59

                                                                                                                                                            Total

    13. During the period beginning 60 days prior to the obligation to register4 for this foreign principal, has the registrant disbursed or
         expended monies in connection with activity on behalf of the foreign principal or transmitted monies to the foreign principal?

                 Yes                 No S


         If yes, set forth below in the required detail and separately an account of such monies, including monies transmitted, if any.

         Date                    Recipient                                             Purpose                                                              Amount




    1 "Political activity," as defined in Section l(o) of the Act, means any activity which the person engaging in believes will, or that the person intends to. in any way influence
      any agency or official of the Government of the United States or any section of the public within the United States with reference to formulating, adopting, or changing the
      domestic or foreign policies of the United States or with reference to the political or public interests, policies, or relations of a government of a foreign country or a foreign
      political party.
2,3,4 Pursuant to Section 2(a) of the Act, an agent must register within ten days of becoming an agent, and before acting as such.


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                                                          EXECUTION

In accordance with 28 U.S.C. § 1746, and subject to the penalties of 18 U.S.C. § 1001 and 22 U.S.C. § 618, the undersigned swears or
affirms under penalty of perjury that he/she has read the information set forth in this statement filed pursuant to the Foreign Agents
Registration Act of 1938, as amended, 22 U.S.C. § 611 et seq., that he/she is familiar with the contents thereof, and that such contents
are in their entirety true and accurate to the best of his/her knowledge and belief.



          Date                             Printed Name                                          Signature


  11/18/2022               Nina Jankowicz                                          /s/Nina Jankowicz




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In accordance with 28 U.S.C. § 1746, and subject to the penalties of 18 U.S.C, § 1001 and 22 U.S.C. § 618, the undersigned swears or
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         Date                             Printed Name                                      Signature


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Sophias Strategies, LLC, c/o Nina Jankowicz, Founder.




Centre for Information Resilience
International House
24 Holborn Viaduct
London
ECIA 2 BN

Dear Nina

    •   This engagement letter (“Letter of Engagement”) between you, Nina Jankowicz, as the
        Consultant and the Centre for Information Resilience C.I.C ("CIR”) together with the Terms of
        Reference at Annex 1, the General Terms and Conditions at Annex 2 and the Statement of
        Compliance at Annex 3 constitute the entire agreement between the parties whereby the
        Consultant will provide the services set out in the Terms of Reference. In the event of and only to
        the extent of any conflict between the various parts of the Agreement, the order of priority shall
        be as follows: (i) special conditions; (ii) Letter of Engagement, (iii) General Terms and Conditions,
        (iv) Terms of Reference. In respect of the General terms and Conditions these must be
        considered and applied at all times as an integral part of the Contract.

        “Services” means:

        The Consultant will work with the CIR team to undertake the tasks outlined in the Terms of
        Reference;

        In undertaking the Services the Consultant will be contractually responsible to CIR for the
        appropriateness, quality and timeliness of the work done. Day to day tasking, and the
        completion and agreement of deliverables will be a matter for the Consultant to handle with the
        nominated representative of CIR, Adam Rutland, or their nominate substitute

        Remuneration

        Remuneration for this contract is input based plus Reimbursable Expenses (See clause 4 below)
        calculated as follows:

        The day rate of £450 per day, for 12 months plus VAT/GST (if applicable) for the consultant’s time
        properly occupied in or in connection with the Services during the Duration, agreed before the
        event with the Project Director and accurately recorded in a timesheet using CIR’s agreed
        timesheet template.

        We assume a five-day working week and an eight-hour working day, unless agreed otherwise
        with CIR, and one day travel per overseas visit.



    •   Reimbursable Expenses:

        CIR shall reimburse the Consultant for reasonable out of pocket expenses for travel,
        accommodation, subsistence and incidental expenses incurred directly in the provision of the
        Services and agreed in advance with the Project Director, and only where supported by receipts




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        or other such written support for the expenditure. All hotel receipts, actually used air tickets and
        boarding passes MUST be retained and submitted along with invoices to CIR.

        For clarification, CIR will reimburse the adviser for the cost of travel (economy flights, airport
        transfers, in-country transport), subsistence, accommodation and visas incurred by the
        Consultant during the provision of the Services overseas, in line with the provisions set out in
        CIR’s HR Handbook. Originals of receipt must be retained and provided to CIR upon request.
        Failure to provide receipts may result in the inability of CIR to reimburse all or part of expenses
        incurred, or may require the company to deduct the amounts involved from a subsequent
        payment if absence of the receipts has prevented CIR from receiving payment from its client.

        Itemised expenses must be submitted to CIR as a sub-section of the Consultant’s Invoice (see
        general terms and conditions), with receipts attached as an Annex. In the event the expense is
        incurred in a different currency to the currency of payment of the Remuneration (in section 3
        above), the Consultant must use XE (www.xe.com) to convert the expense into the applicable
        currency using the rate from the date on which the expense was incurred.

        Duration

        It is anticipated that the Consultant will be required to carry out the Services from 5th
        September 2022 until 5th September 2023 or until such other later date as may be agreed in
        writing between the Parties. An input of 5 days per week is anticipated, as specified in the Terms
        of Reference.

        Either party may terminate this Letter of Engagement at any time in accordance with clause 12
        of the General Terms and Conditions. CIR and the Consultant shall agree any further term giving
        the Consultant a minimum of 14 days notice. The General Terms and Conditions shall continue to
        apply to any new or extended contract agreed between CIR and the Consultant.

        Contact details

        “Project Director” means Adam Rutland or such person that may be named in their place by CIR

        Additional Requirements

        By signing this letter of engagement, the Consultant agrees to accept CIR’s Consultant General
        Terms and Conditions as set out in Annex 2.

For an on behalf of the Centre for Information Resilience

    Ross Burley                   29/09/2022
I confirm that I have read, understood and agree to the terms and conditions of this agreement

    Nina Jankowicz                29/09/2022
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Annex 1 Terms of Reference: Vice President, U.S.




About the Role




The Centre for Information Resilience is a UK based, independent, non-profit social enterprise. We

counter disinformation, expose human rights abuses through open source and combat online harms

targeting women and minorities.




We have established ourselves as a trusted, innovative NGO among UK media and policymakers. We

work frequently with UK government colleagues to help in the areas above. We are now looking for an

experienced disinformation expert to raise our profile among policymakers, media and potential donors

based in the United States. This is a key role in a growing organisation. You will work closely with the co­

founders and will be a leadership figure - mentoring and leading more junior members of the

organisation.




We require a self-starter, comfortable with taking the initiative and seizing opportunities. You will be

adept at briefing senior policymakers and talking to US media organisations, both on and off the record.




You will be ambitious to build networks, with a focus on government, congress, tech and philanthropic

organisations. Helping CIR to secure funding - through grants / donations will be a priority. Should you

be successful, designing and building up a larger CIR team based in the US will be encouraged /

supported.




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As well as the outward facing aspects of the role, you will be a valued researcher, able to help talented

researchers develop methodologies / investigations to counter disinformation. We require an

outstanding communicator, able to explain complex, difficult subjects into easy to understand written

and spoken language.




Specific tasks will include:


        Provide leadership in the delivery of investigations, including providing technical inputs into, and

        quality assurance of, research methodologies, activities and outputs - ensuring CIR research is

        delivered to time, budget and in line with client/CIR quality and ethical standards

        Identify and take forward business development opportunities, including developing project

        bids/proposals and client presentations

        Act as an ambassador for CIR on the Hill, within the Federal Government, media, among tech

        companies / Silicon Valley, on “K Street”, and among potential philanthropic organisations.

        Identify and build relationships within those groups, prioritizing who you think will provide

        greatest impact for a) raising awareness of CIR and b) providing funding for CIR - keeping co­

        founders aware of activities through regular updates

        Act as a spokesperson for CIR, appearing on US media organisations, in consultation with the

        Head of Media / co-founders. Develop relationships with key US outlets, and advise the Head of

        Media on where specific investigations may land / be appropriate for partnerships




Person Specification


Essential Criteria:


        Excellent written and verbal communication skills, including the ability to translate technical

        terminology for lay audiences and to produce clear, concise language

        Established outstanding credentials in identifying and exposing disinformation and influence

        operations; a record working with governments / multilateral institutions or the media to

        identify or counter disinformation

        Excellent stakeholder and relationship management skills

        Significant experience with media, including experience with live broadcasts




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        Strong research experience - able to design methodologies and lead research teams.


Management arrangements


This role will report to the Co-Founders.




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Annex 2: General Terms and Conditions

October 2020

                                      CENTRE FOR INFORMATION RESILIENCE

                                   CONSULTANT GENERAL TERMS AND CONDITIONS

Interpretation of this Agreement

Any capitalised terms used but not defined herein shall have the meaning given to them in the Letter of
Engagement.

IT IS AGREED between Centre for Information Resilience C.I.C, together with its affiliates, ("CIR’’) and the Consultant
as follows:

PROVISION OF SERVICES

The Consultant agrees to provide CIR with the Services. All time spent is to be agreed before the event with the
Project Director.



The Consultant confirms that the content of his/her curriculum vitae is factually correct and does not misrepresent
the Consultant’s suitability to carry out the Services.



The Consultant confirms that he/she has provided true and accurate information to CIR to enable CIR to carry out
thorough background screening procedures on the Consultant in accordance with its own policies and any
applicable Client vetting procedures and the Consultant warrants that it will inform the Project Director as soon as
practicable if the Consultant becomes aware of any information during provision of the Services that could
reasonably cause further background screening processes to be carried out.



The Consultant undertakes to carry out the Services to at least the minimum, standard of care and technical and
professional expertise required by a reputable international management consultancy. The Consultant warrants
that he/she is appropriately qualified, experienced and in a suitable physical condition to carry out the Services.



The Consultant recognises that in carrying out the Services, he/she is doing so as a representative of CIR. As such
the Consultant shall ensure that at all times he/she acts properly and professionally in performing the Services
and does not do anything that could damage the reputations of CIR or the Client.



The Consultant shall be available to work at such times as are agreed between the Consultant and the Project
Director, from time to time, to properly perform the Services.



The Consultant acknowledges and understands that by entering into this Agreement, any further work for CIR is not
guaranteed after the Services are completed.




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In circumstances where the Consultant is unable to continue to perform the Services, the parties may agree to
appoint a suitable qualified, vetted and skilled substitute to perform the Services on the Consultant’s behalf (“The
Substitute”). In such circumstances, the Substitute shall be provided by the Consultant and required to enter into
direct undertakings with CIR, to the same level as detailed in this Agreement, including those relating to
confidentiality before any substitution of work is undertaken.



FINANCIAL ARRANGEMENTS

CIR will pay the Consultant fees and reimbursable expenses and/or per diems on the basis as set out in the Letter
of Engagement.

INPUT BASED: The Consultant shall submit invoices, along with a timesheet detailing days worked and a record of
any reasonable expenses, at the end of each calendar month, or upon any other interval to be agreed with the
Project Director. The Consultant shall comply with such other requirements for submitting invoices as CIR may
reasonably require for the purposes of complying with any client requirements. CIR will aim to pay the Consultant
within 10 working days, and at the latest within 30 days, of the date of submission of such a valid and undisputed
invoice.

In the event that invoices are not properly submitted, CIR reserves the right to withhold payment of the invoice. It
is the Consultant’s responsibility to ensure that all invoices are submitted in a timely manner. Failure to submit an
invoice within 3 months following completion of the Services could result in payment being refused by CIR.



TAX

The nature of the relationship between the parties means that the Consultant is responsible for accounting for and
making payment to the relevant authorities for any income tax, value added tax (if applicable), national insurance
contributions/social security payments, and other such taxes required to be paid within the jurisdiction(s) relevant
to the Consultant and this Agreement.

In circumstances where the relevant tax authority deems that income tax and/or other payments need to be paid
by CIR on behalf of the Consultant, the Consultant undertakes to indemnify CIR against all costs, expenses and any
penalty, fine or interest incurred or payable by CIR in connection with payments made by CIR to the Consultant for
his/her performance of the Services detailed in this contract. .CIR has the right to withhold any payments due to
the consultant, if CIR have become aware of any liabilities for costs, expenses, or any penalty, fine or interest
incurred by CIR in connection with or as a consequence of a claim against the consultant directly related to this
contract or any previous or subsequent contract between the Consultant and CIR.

The Consultant acknowledges and agrees that they have no entitlement and do not qualify to participate in or
receive any employee benefits that CIR extends to its employees.

The relationship between CIR and the Consultant is that of an Independent Consultant, therefore CIR and the
Consultant both acknowledge and agree there is no agency, partnership or joint venture between them.



INSURANCE AND LIABILITY

The Consultant shall have Professional Indemnity liability cover, taken out with a reputable provider of such cover
and/or shall indemnify CIR for any loss, liability, costs (including reasonable legal costs), damages or expenses
arising from any breach by the consultant ( or the substitute ) of the terms of this Agreement. For the avoidance of




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doubt, this includes any negligent or reckless act, omission or default in the provision of the Services. If requested
to do so by ClR, the Consultant must produce a valid document of professional indemnity liability insurance and CIR
may specify the amount of liability coverage required under this contract.

In the event the Consultant is providing any part of the Services outside their country of residence, the Consultant
shall provide details of their emergency medical insurance coverage by email to the Project Director and any
updates to those details as applicable during the provision of the Services.

In the event that CIR is required to incur medical costs on behalf of the Consultant due to the Consultant's medical
and/or travel insurance not providing adequate cover, he/she undertakes to reimburse CIR for all associated costs.

          The Consultant shall be responsible for conducting an assessment of the risks to their own health and
          safety associated with the performance of the Services. The Consultant takes full responsibility for the
          risk assessment and the risks he/she bears, as well as any liabilities arising. CIR hereby disclaims all
          responsibilities and liabilities whatsoever and howsoever arising, to the fullest extent permitted by law.



EQUIPMENT



The Consultant will take due care of any CIR equipment that is used by the Consultant during the course of the
assignment. The equipment provided remains the property of CIR at all times.

The Consultant shall, unless otherwise agreed with CIR, provide a laptop / PC computer with Microsoft Office and
ensure this is equipped with up to date anti-virus software (ensuring virus definitions are always up to date), disk
encryption and, if strictly necessary for the purpose of providing the Services, an encrypted memory stick for his or
her own use during the Services. The Consultant will take particular care to ensure that no viruses are passed to
other persons working on the project or to CIR or to the Client. The Consultant should avoid, whenever possible,
the use of public access internet use.

In the event that Consultant uses a mobile telephone for transmitting, storing, accessing or manipulating Project
Materials (defined at clause 8.3 below), such device shall be encrypted to ensure security of the data on the mobile
device and equipped with up to date anti-virus software.



CONFIDENTIALITY

The Consultant hereby undertakes with CIR that the Consultant will observe the strictest conditions of
confidentiality in performing the Services, and shall not divulge or use for purposes other than performing the
Services, any material or information (a) relating to the business or affairs of CIR or any staff member or contractor
of CIR or any Client of CIR and (b) acquired in the course of performing the Services for the Duration and this
undertaking shall survive termination of this Agreement.

In order to ensure that all necessary confidentiality restrictions are complied with, and for the purpose of quality
control and consistency in presentation, the Consultant is not permitted to submit to the Client any official
documentation including but not limited to reports and project outputs without the prior approval of the Project
Director.

The Consultant shall not, except with the prior consent of CIR or as required by law, disclose to any person, firm or
company the terms of this Agreement.

Unless otherwise agreed in advance with the Project Director, the Consultant is not permitted to publish any books




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or articles, contact the media, give any broadcasts, speeches or lectures, appear on television programmes or
participate in outside conferences where such activity relates to the work of CIR and/or the Services and/or
information about the Client as relates to the work of CIR or delivery of the Services.

In circumstances where the contract is funded by the UK Government the Consultant should be aware that the
Official Secrets Acts 1911 to 1989 may apply to him/her. It is the Consultant’s responsibility to ensure they are
familiar with and act in accordance with the Act’s provisions.



INTELLECTUAL PROPERTY RIGHTS AND RETURN OF MATERIALS



All intellectual property rights in all material (including but not limited to reports, data, and designs whether or not
electronically stored) produced by the Consultant in the course of performing of the Services (the "Material”) shall
be the property of CIR. The Consultant hereby irrevocably assigns to CIR all existing and future intellectual property
rights in the Material and all materials embodying these rights to the fullest extent permitted by law together with
all accrued rights of action in respect of infringement of such rights. Insofar as they do not vest automatically by
operation of law or under this Agreement, the Consultant holds legal title in these rights and inventions on trust for
the sole benefit of CIR and shall not transfer them to a third party or encumber them.

          To the extent that the Consultant has any rights, including “author’s rights”, "moral rights” and rights of a
          similar nature under the laws of any jurisdiction in respect of the Materials and/or all materials
          embodying such rights that cannot be assigned, the Consultant agrees unconditionally, absolutely,
          irrevocably, perpetually and in perpetuity to waive enforcement worldwide of such rights against CIR.

          The Consultant undertakes to CIR that:

He/she has not given and will not give permission to any third party to use any of the Material nor any of the
intellectual property rights in the Material;

He/she is unaware of any use by any third party of any of the Material or intellectual property rights in the
Material;

The use of the Material or the intellectual property rights in the Material by CIR will not infringe the rights of any
third party;

To keep confidential all Materials and details of their invention whenever requested to do so by CIR and in any
event on the termination of this Agreement, promptly to deliver to CIR all correspondence, documents, papers and
records on all media (and all copies or abstracts of them) recording or relating to any part of the Materials which
are in his/er possession, custody or control;

not to register nor attempt to register any intellectual property rights;

to execute all documents, make all applications, give all assistance and do all acts and things, at the request and
expense of CIR at any time during or after the term of this Agreement, as may, in the opinion of CIR, be necessary
or desirable to vest any intellectual property rights or register them in the name of CIR and to defend CIR against
any claim that any Materials infringes third party rights and otherwise to protect, maintain and enforce the
intellectual property rights relating to the Materials, and to permit CIR to represent them in any matter to which
there is a claim or other matter to which CIR has an interest and is directly associated with this contract.

For the avoidance of doubt, CIR shall not take ownership of any Consultant background intellectual property that
was created by the Consultant independently of the Services ("Consultant Background IP”). To the extent that any
Consultant Background IP becomes embedded in any of the Materials, the Consultant hereby grants to CIR, its




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affiliates and its Client a world-wide, non-exclusive, irrevocable, royalty-free licence to use the relevant Consultant
Background IP for purposes relating directly or indirectly to the objectives set out in the Terms of Reference.

The Consultant agrees to indemnify CIR and keep it indemnified at all times against all or any costs, claims,
damages or expenses, including reasonable legal and accounting fees, incurred by CIR, or for which CIR may
become liable, with respect to any intellectual property infringement claim or other claim relating to the Material
supplied by the Consultant to CIR during the course of providing the Services.

All documents, manuals, hardware and software provided for the Consultant’s use by CIR and any data or
documents (including copies) produced, maintained or stored on CIR computer systems or other electronic
equipment, including equipment owned by the Consultant, remain the property of CIR.

The Consultant acknowledges that no further remuneration or compensation other than that provided for in this
Agreement is or may become due to the Consultant in respect of the performance of his or her obligations under
this clause 7.

The provisions of this clause 7 shall survive termination of this Agreement howsoever caused.



DATA PROTECTION & DATA SECURITY



The Consultant consents to CIR and its duly authorised agents and employees holding and processing data as both
data controller and data processor, both electronically and manually relating to him/her for legal, personnel,
administrative and management purposes and in particular to the processing of any "sensitive personal data" and
any "special category data,” (as defined in the General Data Protection Regulation) relating to the Consultant
including, as appropriate:

information about the Consultant's physical or mental health or condition in order to monitor sick leave and take
decisions as to the Consultant's fitness for work;

the Consultant's racial or ethnic origin or religious or similar beliefs in order to monitor compliance with equal
opportunities legislation; and

information relating to any criminal proceedings in which the Consultant has been involved for screening and
insurance purposes and in order to comply with legal requirements and obligations to third parties.



In connection with any of the purposes described herein or any other legitimate processing of personal data,
information may be shared with the overseas offices of CIR and/or independent contractors both inside and
outside the EEA, subject to such overseas offices/entities being bound by the same data protection standards as
the CIR’s registered office in the United Kingdom and provided also that such transfer of information is necessary
for the relevant purpose. CIR may subsequently use this data to comply with relevant laws such as taxation, the
performance of this Agreement and/or any contract with the Client. The Consultant consents to CIR doing so as
may be necessary from time to time.

The Consultant shall comply with (and not cause CIR or Client to breach) any applicable data protection legislation
in any relevant jurisdiction (including the General Data Protection Regulation). If the Consultant processes any
personal data on CIR's (or Client’s) behalf the Consultant must (i) process the personal data in accordance with CIR’s
(or Client's) instructions and (ii) take all appropriate technical and organisational security measures to protect the
personal data against any unauthorised or unlawful processing and any accidental loss or destruction of, or damage
to, the personal data.




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The Consultant shall at all times act with due care and skill to minimise the risk of unauthorised access or damage
to, loss, unauthorised disclosure or unauthorised use of the data, software or systems of CIR or the data, software
or systems of Client (“Project Materials”). The Consultant shall comply with all IT and data security policies of CIR
and any Client data security policy as applicable. In the event of a data breach or suspected data breach relating to
the Project Materials, the Consultant shall notify the Project Director as soon as possible and no later than 24 hours
of becoming aware of the actual or potential data breach.

The Consultant shall make regular (at a minimum weekly) and secure back-ups of any Project Materials and such
back-ups should be saved on the relevant CIR portal or server as applicable upon completion of the project, as set
out in CIR’s Backup Policy. Upon completion of the project, the Consultant should delete all Project Materials from
his or her own laptop, mobile phone and any other electronic device and all hard copies of Project Materials shall
be submitted to CIR or immediately destroyed, as per CIR’s request.



PROTECTION OF INTERESTS

This Agreement is not intended to and shall not render the Consultant an employee, agent, or partner of CIR and
for the duration of this Agreement, the Consultant shall not undertake or offer any contractual services on behalf of
CIR with any third party.

The Consultant acknowledges and understands that the avoidance of a conflict of interest with CIR must be avoided
at all times. Therefore, the Consultant is required to declare in writing to the Project Director any conflict, or
perceived potential conflict of interest, as defined in CIR’s Conflict of Interest Policy, at the earliest opportunity.

In circumstances where the Project Director reasonably considers there to be a conflict of interest that cannot be
resolved through the implementation of ethical walls, the Consultant accepts and understands that he/she will be
prevented from taking on the assignment or project which has given rise to the potential conflict of interest until
completion of the Services.



    RESTRICTIVE COVENANTS

          The Consultant acknowledges that in the course of providing the Services the Consultant may obtain
          information or develop special relationships that could place the Consultant in a position to compete
          unfairly with CIR. The Consultant therefore undertakes to CIR that during the term of this Agreement and
          for a period of 6 months following its expiration or earlier termination (howsoever arising), the
          Consultant will not either on the Consultant’s own account or for any other person, firm or company,
          without obtaining the prior written consent of CIR:-

                   Solicit or canvas in competition with CIR any person, firm or company, including but not
                   restricted to the Client, whose work requirements the Consultant has become aware of or
                   obtained information about directly as a result of provision of the Services;

                   Solicit or endeavour to entice away from CIR any person who was employed or contracted by CIR
                   at any time whilst the Consultant was engaged under this Agreement.

          The Consultant shall at all times immediately refer any and all potential project or assignment enquiries
         relating to the Services which are raised with him/her from the Client or those associated with the Client
         to CIR and will not enter into competition with CIR for such work.



         Each of the restrictions in this clause 10 are intended to be separate and severable. If any of the




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     restrictions shall be held to be void but would be valid if part of their wording were deleted or amended,
     such restriction shall apply with such deletion and/or amendments as may be necessary to make it valid or
     effective. The Consultant acknowledges and agrees expressly to the terms contained in this clause 10 and
     confirms that they do not restrict the Consultants ability to obtain other work in the course of his/her
     business.


  COMPLIANCE WITH WORKING POLICIES



      The Consultant warrants and represents that it will observe the highest ethical standards during the
      performance of the Services and will comply with and apply business practices that are in compliance
      with the CIR Code of Conduct.

      The Consultant will apply zero tolerance to: terrorism or the financing of terrorism; bribery or corruption
      of any kind; human trafficking or modern slavery; safeguarding and child protection, money laundering,
      fraud or tax evasion; and discrimination. The Consultant agrees to use reasonable endeavours to give
      effect to any reasonable request from CIR to adjust working practices for this purpose or otherwise to
      promote positive social or environmental impact.



  TERMINATION

      Subject to clause 12.2 below, either party may terminate this Agreement prior to expiry of the Duration
      by giving to the other party not less than 14 working days written notice. For the avoidance of doubt, no
      notice is required to be provided to confirm completion of the Duration.

      The Consultant will only be entitled to be paid for those days it actually worked during the 14 working day
      notice period and for which there was an unrescinded agreement from CIR that the Consultant would
      work.

      Notwithstanding the provisions of clause 12.1 above, CIR may terminate this Agreement with immediate
      effect and with no liability to make any further payment to the Consultant (other than in respect of
      amounts accrued before the Termination Date) if at any time the Consultant:

                    commits any gross misconduct affecting the business of CIR and/or the Client;

                    commits any serious or repeated breach or non-observance of any of the provisions of this
                    Agreement or refuses or neglects to comply

              with any reasonable and lawful directions of CIR and/or the Client;

                     is convicted of any criminal offence (other than an offence under any road traffic
                    legislation for which a fine or non-custodial penalty is imposed);

                    is incapacitated (including by reason of illness or accident) from providing the Services for
                    an aggregate period of 30 days in any 52 week consecutive period;

                    is certified by a duly qualified medical practitioner that he/she is incapable by reason of any
                    accident or infirmity of mind or body of rendering further efficient and/or proper service in
                    his/her duties;

                    commits any fraud or dishonesty or acts in any manner which in the opinion of the
                    Executive Team of CIR brings or is likely to bring the Consultant or CIR and/or the Client into




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                     disrepute;

                     commits any act of unprofessional conduct, discrimination, harassment (sexual or
                     otherwise) against an employee, contractor, officer or any other representative or contact
                     of CIR or the Client;

                    commits any offence under the Bribery Act 2010 and/or gives or offers to give anything of
                    value to a foreign government employee, officer and/or agent, or carries out any other
                    such act or omission which could, in the reasonable belief of CIR, constitute an offence
                    under the Bribery Act 2010 or the Consultant accepts anything of value from a foreign
                    government employee, officer and/or agent in circumstances which, in the reasonable
                    belief of the Company, would place that foreign government, their employee, officer
                    and/or agent in breach of the Bribery Act 2010 or any applicable local laws.

                     commits any act that is determined to be a breach of security or in violation of the security
                     rules set forth by either CIR or any security company contracted to CIR. For the avoidance
                     of doubt, it is the responsibility of the Consultant to keep informed as to changes or
                     updates in the security rules;

                    fails to use equipment for provision of the Services that meets the standards stipulated by
                    CIR as set out in clause 5.2 herein;

                    fails any ClR and/or Client background screening processes;

                     if the Client so requests;

                     is in material breach of this contract.



      The rights of CIR under clause 12.2 are without prejudice to any other rights that it might have at law to
      terminate this Agreement or to accept any breach of this Agreement on the part of the Consultant as
      having brought the Agreement to an end. Any delay by CIR in exercising its rights to terminate shall not
      constitute a waiver of these rights.

  HEALTH

      It is the Consultant's responsibility to ensure they are fit to travel and work and should not take risks that
      will impact on themselves or the project.

      The Consultant should notify ClR prior to deployment of any medical conditions that may affect their
      ability to work effectively.

      For projects that require medical clearance, Consultants must ensure that such clearance is done through
      an agency that specialises in face-to face medical evaluations for people deployed to hostile
      environments and not simply through a regular GP (unless arranged through a specialist agency).



  SOCIAL MEDIA

      The Consultant is at all times required to adhere to CIR’s policies and practices in relation to the use of
      social media as set out in CIR’s Code of Conduct.




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  SURVIVAL

      The expiration or termination of the Agreement shall not affect any of those provisions which are
      intended and expressed to apply post termination.



  NOTICE

      Notices by any party shall be given in writing and may be delivered personally or sent by letter (either by
      post or by e-mail) addressed to (in the case of CIR) its UK registered office and (in the case of the
      Consultant) the Consultant’s last known address. Any such notice given by letter shall be deemed to have
      been given at the time at which the letter would be delivered in the ordinary course of post if sent by
      post and on the date of delivery if transmitted by e-mail.



  DISPUTE RESOLUTION



      If a dispute arises in relation to or in connection with this Agreement, including any question regarding its
      existence, validity or termination, the parties will attempt to resolve it by mediation in accordance with
      the LCIA Mediation Rules before commencing legal proceedings.

      If the parties fail to resolve any dispute arising out of or in connection with this Agreement through
      mediation in a period of thirty (30) days from the date that the mediation is initiated, the dispute shall be
      referred to and finally resolved through arbitration by a sole arbitrator under the Rules of the LCIA, which
      Rules are deemed to be incorporated by reference into this clause. The seat of the arbitration shall be
      London.

      This Agreement and any dispute or claim arising out of or in connection with it or its subject matter or
      formation (including non-contractual disputes or claims) shall be governed by and construed in
      accordance with English law exclusively.



  MISCELLANEOUS



      No variation or agreed termination of this Agreement shall be effective unless it is in writing and signed
      by the parties (or their authorised representatives).

      The Consultant acknowledges that in circumstances where the contract is funded by the UK Government,
      CIR may be required to comply with the Freedom of Information Act 2000 ("FOIA”) and the Consultant
      agrees to comply with any reasonable instructions of CIR to enable CIR to co-operate with the UK
      Government on any application under FOIA.

      The failure by a party to enforce at any time or for any period any one or more of the terms or conditions
      of this Agreement shall not constitute a waiver of them or of the right at any time subsequently to
      enforce all terms and conditions of this Agreement.

      This Agreement and any documents referred to therein constitute the whole agreement between the
      parties and supersedes all previous discussions, correspondence, negotiations, arrangements,
      understandings and agreements between them.




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        Each party acknowledges that, in entering into this Agreement, it has not relied on, and shall have no
        right or remedy (other than for breach of contract) in respect of, any statement, representation,
        assurance or warranty (whether made negligently or innocently) other than as expressly set out in this
        Agreement. Nothing in this clause shall limit or exclude any liability for fraud.

        The validity, construction and performance of this Agreement (and any claim, dispute or matter arising
        under or in connection with it or its enforceability) and any non-contractual obligations arising out of or
        in connection with it shall be governed by and construed in accordance with the law of England and
        Wales exclusively.

        This Agreement may be executed in any number of counterparts and by the parties to it on separate
        counterparts, each of which will be an original but all of which together will constitute one and the same
        instrument.

        This Agreement has been executed and delivered by or on behalf of the parties on the latest date of
        signature.




Annex 3: Statement of Compliance


I confirm that I have read, understood and accept responsibility for complying with CIR’s standards of
professionalism, effectiveness, integrity and ethics as set out in the following policy documents:
• Code of Conduct

    Equality Policy

    Safeguarding Policy

    Fraud, Bribery and Anti-Corruption Policy

    Data Protection, GDPR and Information Security

   Whistleblowing Policy




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As well as the relevant sections of CIR’s Finance and HR Handbook in relation to:
•   Expenses

    Bullying and Harassment

    Conflict of Interest


[SIGNATURE]                Nina Jankowicz
[NAME]
[DATE                      29/09/2022




Annex 4: Declaration of Interest Form

This form should describe the nature of applicable outside interests and to the extent applicable how it
creates (or could create) a conflict of interest, or perception of a conflict of interest between the
interests of CIR on the one hand, and personal, professional and business interests of the Consultant on
the other.

    Category                         Please give details of the interest and whether it applies to yourself
                                     or, where appropriate, a member of your immediate family,
                                     connected persons or some other close personal connection
    Current employment and
    any previous employment in              n/a
    which you continue to have a
    financial interest___________
    Appointments (voluntary or
    otherwise) e.g. trusteeships,           n/a
    directorships, local authority
    membership, tribunals etc




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    Membership of any
    professional
    bodies____________________
    Investments in unlisted              n/a
    companies, partnerships and
    other forms of business,
    major shareholdings_______
    Any other conflicts that are
                                         n/a
    not covered by the above
    Any current or previous         Please provide proof of compliance with HMG Business Appointment
    Crown employment within         Rules if required    n/a
    the last two years__________
    Please list any other           Names of                 Client                   Dates
    assignments that you will be    Assignment
    working on whilst contracted    ----- □wu-speakiug/wi|itm^engagemeiitsv^Jbook-p£oaiotioa
    with CIR



I, the Consultant, hereby certify that the information above is true and complete to the best of my
knowledge. In the event of any material change on new interests I will update the form as appropriate
and notify the Project Director

NAME:       Nina Jankowicz               SIGNED:                                  DATE:       29/09/2022

I, the Project Director or nominated substitute, have reviewed the Conflicts of Interest recorded above.
The following mitigating actions have been agreed in writing with The Registrant as follows:



I hereby certify that the information above is true and complete to the best of my knowledge

NAME:       Ross Burley                  SIGNED:                                  DATE:       29/09/2022




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Christopher Bouzy on Twitter: "In other news, Jason Goodman's main Twitter account was suspended. https://t.co/DmXpq916ct" / Twitter               3/20/22, 2:03 PM



                                               Cweet                                                                                Search Uwitter


                                                Christopher Bouzy
         Home                                   @cbouzy                                                                      Relevant people

                                                                                                                                        Christopher Bouzy
         Explore                       In other news, Jason Goodman's main Uwitter account                                              @cbouzy
                                       was suspended.                                                                                   When I was 9, I started coding o
         Notifications                                                                                                                  Mattel Aquarius computer. I
                                                                                                                                        developed several products in m
                                                                                                                                        & 30s, and then in 2018 I launc
         Messages                                                                                                                       BotSentinel.com



         Bookmarks                                                                                                           What’s happening

                                                                                                                             War in Ukraine · LIVE
         Lists
                                                                                                                             Ten million people have fled their
                                                                                                                             homes in Ukraine, according to
         Profile                                                                                                             the UN Refugee Agency

                                                                                                                             Politics · Trending
         More                                                                                                                ?HunterBidensLaptop
                                                                                                                             Trending with OBidenCrimeFamilly


                                                                                                                             Trending in Manhattan
             Cweet                                                                                                           Elon
                                                                                                                             43.8K Uweets


                                                                                                                                Sunday Times C…    · This morning
                                                                                                                             Anne Cyler: ‘It would be foolish
                                                                                                                             but I should be allowed to write
                                                                                                                             from the viewpoint of a black
                                                                                                                             man’
                                       11:54 AM · Mar 18, 2022 · Uwitter Web App
                                                                                                                                POPSUGAR     · March 18, 2022
                                                                                                                             In Monumental News, the House
                                        42 Retweets        558 Likes
                                                                                                                             of Representatives Passes the
                                                                                                                             CROWN Act


                                                                                                                             Show more

                                                Uweet your reply                                                     Reply
                                                                                                                             Terms of Service Privacy Policy Cookie Polic
                                                                                                                             Accessibility Ads info More
                                                                                                                             © 2022 Uwitter, Inc.
                                                Natalie Eilatan ³³º¹ @natalie905 · Mar 18
                                                Replying to @cbouzy
                                                Lol


                                                          Christopher Bouzy   @cbouzy · Feb 22
                                                 The funny thing about this is that Yankee Wally and other single-
                                                 purpose hate accounts thought csthetruth would be the one who
                                                 brought Bot Sentinel down. Nope...
                                                 Show this thread


                                                                                            11


                                                DotDotDot @_Quittny · Mar 19
                                                Replying to @cbouzy
                                                But you’ll keep us updated on him, right? Not the end of his journey.
          ChrisBouzyIsGoin…                           1                                      3
          hChrisBouzy4Jail

                                                Christopher Bouzy        @cbouzy · Mar 19

https://twitter.com/cbouzy/status/1504848818344542218                                                                                                   Page 1 of 4
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                                                                                   Options




Thanks for your appeal

You appealed:

     1 Tweet



            CrowdsourcetheTruth
            @csthetruth


  #DisinfoDiva @wiczipedia is getting paid $25 grand to
  talk to you about #disinformation
  https://t.co/0r6jjdnyPN #PoorValue
  https://t.co/tEWRQttd9N
  Jan 4, 2023, 5:48 PM




Please note that while we review your appeal, you won’t be able to access your Twitter
account. We’ll take a look and will respond as soon as possible.

If you’d rather just delete the content, you can cancel your appeal.
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1                           IN THE UNITED STATES DISTRICT COURT
2

3                         FOR THE SOUTHERN DISTRICT OF NEW YORK

4    THE NATIONAL ACADEMY OF                         Case No.: 20-cv-07269-VEC-OTW
5    TELEVISION ARTS AND SCIENCES, INC.
6    and ACADEMY OF TELEVISION ARTS &                CERTIFICATE OF SERVICE
7    SCIENCES
8    Plaintiffs,
9    v.
10   MULTIMEDIA SYSTEM DESIGN, INC. d/b/a
11   “CROWDSOURCE THE TRUTH”,

12   Defendant

13   JASON GOODMAN

14                      Proposed

15                 DEFENDANT-INTERVENOR
16

17   It is hereby certified that Proposed Defendant-Intervenor, Jason Goodman, served

18   defendants’ counsel with a copy of the MOTION FOR RELIEF FROM JUDGMENT via
19
     email.
20
                     Margaret Esquenet margaret.esquenet@finnegan.com
21

22                   Brett Heavner b.brett.heavner@finnegan.com

23                   Seth Katz seth.katz@finnegan.com
24
                     Mary Kate Brennan MaryKate.Brennan@finnegan.com
25

26

27

28
     CERTIFICATE OF SERVICE - 1
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1    Signed this 24th day of January 2023
2
     Respectfully submitted,
3
                                    ____________________________________________________
4                                                            Jason Goodman, Plaintiff, Pro Se
                                                                       252 7th Avenue Apt 6s
5
                                                                       New York, NY 10001
6                                                                             (323) 744-7594
                                                               truth@crowdsourcethetruth.org
7

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     CERTIFICATE OF SERVICE - 2
